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Gregory G. Petersen (SBN 77744)
Bicvan T. Brown (SBN 201897
CASTLE, PETERSEN & KRAUSE LLP
Attorneys At Law

4675 MacArthur Court, Suite 1250
Newport Beach, California 92660
Telephone: (949) 417-5600

Facsimile: (949) 417-5641
e-mail: atty@cpk-law.com

Attorneys for Plaintiffs, for themselves,
on behalf of all others similarly situated.

UNITED STATES DISTRIG#
SOUTHERN DISTRICT OF CALI®€

ae

 

 

 

 

 

 

 

 

 

Marcus R. Abbe, individually and on
behalf of all others similarly situated;
Thomas E. Abbott Jr., individuall

and on behalf of all others similar y
situated; David G. Abrams,
individually and on behalf of all others
similarly situated; Sabin M. Abrams,
individually and on behalf of all others
similarly situated; James R. Ackley,
individually and on behalf of all others
similarly situated; Kristen B. Adams,
individually and on behalf of all others
similarly situated; Lori M. Adams,
individually and on behalf of all others
similarly situated; Robert W. Adams,
individually and on behalf of all others
similarly situated; Simon Adams,
individually and on behalf of all others
similarly situated; Robert Adauto Jr.,
individually and on behalf of all others
similarly situated; R. Elizabeth
Addington, individually and on behalf
of all others similarly situated;
Armando R. Aguilar, individually and
on behalf of all others similarly
situated; Edward R. Aguirre,
individually and on behalf of all others
similarly situated; Michael A. Aiken,
individually and on behalf of all others
similarly situated; Leslie A. Albrecht,
individually and on behalf of all others
similarly situated; Daniel T. Albright,
individually and on behalf of all others
similarly situated; Donald A. Albright,

 

CASE NO.OSCY nq DMSCTI MA

COMPLAINT FOR DAMAGES
DEMAND FOR JURY TRIAL

[CLASS ACTION]

 

 

 

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Complaint
 

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Case a je Document 1 Filed 08/16/Q5, PagelD.3 Page 3 of 230

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individually and on behalf of all others
similarly situated; Richard Allen,

2 individually and on behalf of all others

3|| | Similarly situated; Katherine E.
Allison, individually and on behalf of

4|| | all others similarly situated; Cathy N.

Allister, individually and on behalf of
5 all others similarly situated; Karen A.
Almos, individually and on behalf of
all others similarly situated; Jesse R.
Almos Jr, individually and on behalf of
3|| | all others similarly situated; Alan R.
Alvarez, individually and on behalf of
g all others similarly situated; Arnolfo B.
Ambito, individually and on behalf of
g| | all others similarly situated; Carlos A.
Amezcua, individually and on behalf
19|| | ofall others similarly situated; Annette
M. Anderson, individually and on
behalf of all others similarly situated,
Travis W. Anderson, individually and
12) | on behalf of all others similar!
situated; Mark S. Annis, individually
13|| | and on behalf of all others similarly
situated; Robert W. Anschick,
14|| | individually and on behalf of all others
similarly situated; Ricardo Apodaca,
15|| | individually and on behalf of all others
similarly situated; Oscar A. Armenta,
16|| | individually and on behalf of all others
similarly situated; Scott J. Armstrong,
17|| | individually and on behalf of all others
similarly situated; James W. Arthur,
individually and on behalf of all others

Il

 

I8 similarly situated, Christopher T.

io | Asbell, individually and on behalf of
all others similarly situated; Frank

59|| | Ashcraft, individually and on behalf of
all others similarly situated; Anthon

51} | A, Atkins, individually and on behalf
of all others similarly situated; Robert

39|| | W. Atwood, individually and on behalf

of all others similarly situated; Edward

53 || | D, Austin, individually and on behalf
of all others similarly situated; John

74\| | W. Austin, individually and on behalf
of all others similarly situated; John

354 | Autolino, individually and on behalf of
all others similarly situated; Ga

56|| | Avalos III, individually and on behalf
of all others similarly situated; Lori L.

57|| | Bach, individually and on behalf of all
others similarly situated; Michael J.

99\| | Baier, individually and on behalf of ail

 

 

 

 

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Complaint
 

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others similarly situated; Teresa
Bailey, individually and on behalf of
all others similarly situated; Robert M.
Baird Jr., individually and on behalf of
all others similarly situated; Todd R.
Baker, individually and on behalf of all
others similarly situated; James D.
Baker Jr., individually and on behalf
of all others similarly situated; Vincent
J. Bales, individually and on behalf of
all others similarly situated; Joseph P.
Bane, individually and on behalf of all
others similarly situated; Sean A.
Bannan, individually and on behalf of
all others similarly situated; Kevin S.
Barnard, individually and on behalf of
all others similarly situated; Scott T.
Barnes, individually and on behalf of
all others similarly situated; Bridget P.
Barnett, individually and on behalf of
all others similarly situated; Suzie K.
Barney, individually and on behalf of
all others similarly situated; Charles R.
Barrett, individually and on behalf of
all others similarly situated; Scott D.
Bartolomei, individually and on behalf
of all others similarly situated; Tina C.
Bassett, individually and on behalf of
all others similarly situated; Tod E.
Bassett, individually and on behalf of
all others similarly situated; David R.
Bautista, individually and on behalf of
all others similarly situated; Michael
A. Beamesderfer, individually and on
behalf of all others similarly situated;
Jana M. Beard, individually and on
behalf of all others similarly situated;
Carole J. Beason, individually and on
behalf of al! others similarly situated;
David W. Beathard, individually and
on behalf of all others similarly
situated; Edward L. Becker,
individually and on behalf of all others
similarly situated; William F. Becker,
individually and on behalf of all others
similarly situated; Paul J. Becotte,
individually and on behalf of all others
similarly situated; Steven M. Behrendt,
individually and on behalf of all others
similarly situated; Cynthia M.
Beilstein, individually and on behalf of
all others similarly situated; John P.
Beilstein, individually and on behalf of
all others similarly situated; Kevin P.

 

 

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Complaint
 

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Belland, individually and on behalf of
all others similarly situated; Brigitta J.
Belz, individually and on behalf of all
3|| | others similarly situated; Michael W.
Belz, individually and on behalf of all
4| | others similarly situated; Michael R.
Bendixen, individually and on behalf
5|| | of all others similarly situated; Teryl L.
Bernard, individually and on behalf of
all others similarly situated; Gerald F.

6] | Berner Jr., individually and on behalf

z| | ofall others similarly situated, Meryl
A. Bernstein, individually and on

g| | behalf of all others similarly situated;
David A. Bertrand, individually and on

g|| | behalf of all others similarly situated;

Rebecca E. Bigbie, individually and on
19 | behalf of all others similarly situated;
Robert R. Bigbie, individually and on
11 | | behalf of all others similarly situated;
Jeffrey J. Biletnikoff, individually and
12|) | on behalf of all others similarly
situated; Daniel M. Billberry
individually and on behalf of all others

13 similarly situated; Gregory R. Bisesto,
14|| | individually and on behalt of all others
similarly situated; Dennis Bishop,
15|| | individually and on behalf of all others

similarly situated; Betty Bixby,
1g| | individually and on behalf of all others
similarly situated; Lynn M Bixel,
17|| | individually and on behalf of all others
similarly situated; Jeffrey D.
ackford, individually and on beha
1g|| | Blackford, individually and on behalf
of all others similarly situated; Gifford
i9|| | D. Blakesley, individually and on
behalf of all others similarly situated;
ark T. Blakesley, individually and on
99| | Mark T. Blakesley, individually and
behalf of all pthers similarly situated;
> omas M. Boerum, individually an
on behalf of all others similarly
79 situated; Eugene H. Bojorquez,
individually and on behalf of all others
93 | Similarly situated; Daniel W. Boldt
individually and on behalf of all others
14 similarly situated; Donald J. Borinski,
individually and on behalf of all others
95|| | Similarly situated; Thaddeus W.
Borkowski, individually and on behalf
76 | of all others similarly situated; Nicolas

 

Borrelli, individually and on behalf of

57|| | all others similarly situated; Thomas R.
Bostedt, individually and on behalf of

all others similarly situated; Matthew

 

 

 

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4
Complaint

 

 
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E. Botkin, individually and on behalf
of all others similarly situated; Arthur
O. Bowen, individually and on behalf
of all others similarly situated; Gary L.
Bowen Jr., individually and on behalf
of all others similarly situated; Clayton
Bowers, individually and on behalf of
all others similarly situated; Edwin
Boyce, individually and on behalf of
all others similarly situated; Schuyler
V. Boyce, individually and on behalf
of all others similarly situated; James
W. Boyd, individually and on behalf of
all others similarly situated; Phillip K.
Bozarth, individually and on behalf of
all others similarly situated; Frank P.
Bradley, individually and on behalf of
all others similarly situated; James M.
Bradley, individually and on behalf of
all others similarly situated; Julie M.
Bradley, individually and on behalf of
all others similarly situated; Tracy D.
Braun, individually and on behalf of
all others similarly situated; Glenn A.
Breitenstein, individually and on

behalf of all others similarly situated;
Daniel G. Brent, individually and on
behalf of all others similarly situated;
Lisa L. Bressler, individually and on
behalf of all others similarly situated;
Robert R. Bressler, individually and on
behalf of all others similarly situated;
Daniel M. Brinkerhoff, individually
and on behalf of all others similarly
situated; Russell D. Bristol,
individually and on behalf of all others
similarly situated; Frank J. Brito,
individually and on behalf of all others
similarly situated; Kevin M Brooks,
individually and on behalf of all others
similarly situated; Ronald Broussard,
individually and on behalf of all others
similarly situated; Neal N. Browder
Jr., individually and on behalf of all
others similarly situated, Douglas M.
Brown, individually and on behalf of
all others similarly situated; Jon M.
Brown, individually and on behalf of
all others similarly.situated; Ronald O.
Brown, individually and on behalf of
all others similarly situated; Scott H.
Brown, individually and on behalf of
all others similarly situated; Troy A.
Brown, individually and on behalf of

 

 

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Complaint

 

 
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all others similarly situated; Gregory
) W. Brown Jr., individually and on
behalf of all others similarly situated;
3|| | Joy M. Brugman, individually and on
behalf of all others similarly situated;
Christopher M. Brush, individuall
and on behalf of all others similarly
5|| | Situated; Terrance L. Bryan,
individually and on behalf of all others
¢|| | Similarly situated; Mark J. Bua
individually and on behalf of all others
3|| | similarly situated; Deborah W. Burger,
individually and on behalf of all others
g|| | similarly situated; Randy P. Burgess,
individually and on behalf of all others
g|| | Similarly situated; Christina D.
Burhans, individually and on behalf of
19|| | all others similarly situated; Joshua P.
Burkhardt, individually and on behalf
11 || | of all others similarly situated,
Timothy A. Burns, individually and on
17|| | behalf of all others similarly situated;
Daniel A. Burow, individually and on
13|| | behalf of all others similarly situated;
John D. Buttle, individually and on
i4|| | behalf of all others similarly situated;
Richard A. Butts, individually and on
15|| | behalf of all others similarly situated;
Bruce T. Byrd, individually and on
ehalf of all others similarly situated;
16|| | behalf ofall others simi] tuated;
eanne M. Byrd, individually and on
J M. Byrd, individually and
17|| | behalf of all others similarly situated;
Phillip D. Cady, individually and on
behalf of all others similarly situated;
Lawrence B. Cahill, individually and
19|| | on behalf of all others similarly
situated; William D. Cahill,
99|| | individually and on behalf of all others
similarly situated; Jene L'Mont
71 Calloway, individually and on behalf
of all others similarly situated; Arthur
59|| | L.. Calvert, individually and on behalf
of all others similarly situated;
93] | Christen M. Cameron, individually and
on behalf of all others similarly
94|| | Situated; Arturo C. Campa
individually and on behalf of all others
35|| | similarly situated, William H.
Campbell, individually and on behalf
76|| | of all others similarly situated, Frank
A. Canson, individually and on behalf
57|| | of all others similarly situated; Claudia
Canto, individually and on behalf of
3|| | all others similarly situated; Ruth S.

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Complaint
 

 

Case 3:05-cv-01629-DMS-RBB Document1 Filed 08/16/05. PagelD.8 Page 8 of 230

 

Cardona, individually and on behalf of
5|| | all others similarly situated, _
TheodoreM. Carignan individually
and on behalf of all others similarly
situated; Karrie L. Carlson,
4 | individually and on behalf of all others
similarly situated; Mark A. Carlson,
5|| | individually and on behalf of all others
similarly situated; Thomas J. Carlyon
, individually and on behalf of a
IV, individually and on behalf of all
others similarly situated; Daniel P.
Caropreso, individually and on behalf
of all others similarly situated; Frank
g|| | L. Caropreso Jr, individually and on
behalf of all others similarly situated;
avier Carranza, individually and on
g|| | Javier.C individually and
behalf of all others similarly situated;
Robert T. Carroll, individually and on
behalf of all others similarly situated;
ll Scott Carter, individually and on
behalf of all others similarly situated;
12|| | Tony B. Carter, individually and on
behalf of all others similarly situated;
William J. Carter, individually and on
behalf of all others similarly situated;
oderick A. Casey, individually an
jal) | Roderick A.C dividually and
on behalf of all others similarly
situated; Roberto A. Casillas
individually and on behalf of all others
16|| | Similarly situated; Joseph B. Castillo,
individually and on behalf of all others
similarly situated; Clinton E. Castle,
individually and on behalf of all others
igi | Similarly situated; Cesar Castro,
individually and on behalf of all others
19 similarly situated; Ricky F. Castro,
individually and on behalf of all others
20 similarly situated; Rudy P. Castro Jr.,
individually and on behalf of all others
7 similarly situated; Arthur H. Cavada,
individually and on behalf of all others
39|| | similarly situated; Misty R. Cedrun,
individually and on behalf of all others
73 similarly situated; Daniel E. Cerar,
individually and on behalf of all others
54|) | Similarly situated; George Cesena,
individually and on behalf of all others
similarly situated; Carlos Chacon,
individually and on behalf of all others
56 | Similarly situated; John Chaney
individually and on behalf of all others
27 similarly situated; Mark A. Chavez,
individually and on behalf of all others
28 similarly situated; Blake A. Cheary,

 

 

 

 

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Complaint
 

 

Case 3:05-cv-01629-DMS-RBB Document1 Filed 08/16/05. PagelD.9 Page 9 of 230

 

individually and on behalf of all others
similarly situated; Jonathan C. Cheng,

*} | individually and on behalf of all others
3 similarly situated; Jon P. Cherski,
individually and on behalf ofall others
4| | Similarly situated; James H. Chiles
individually and on behalf of all others
5|| | Similarly situated; Jeffrey W. Chione,
individually and on behalf of all others
é|| | Similarly situated; Raphael R.
Cimmarrusti, individually and on
ehalf of all others similarly situated;
3} | behalf of all others similarl d

Dolores M. Cirino, individually and on
ehalf of all others similarly situated;
behalf of all oth larly d
Brent E. Cisneros, individually and on
g|| | behalf ofall others similarly situated;
Dale L. Clark, individually and on
ehalt of all otners similarly situated;
10 | behalfofall others similar! d
John C. Clark, individually and on
ehalf of all others similarly situated;
11|| | behalf of all others similar! d
Joseph A. Clark, individually and on
ehalf of all others similarly situated;
1|| | behalf of all others similar! d
Lamont H. Clark, individually and on
13|| | behalf of all others similarly situated;
Robert D. Clark, individually and on
ehali of all others similarly situated;
j4|| | behalf ofall oth larly s d
Raymond P. Clark Sr., individually
15 | and on behalf of all others similarly
situated; Deborah A. Clem,
1¢|| | individually and on behalf of all others
similarly situated; James H. Clem,
17|| | individually and on behalf of all others
similarly situated, Michael A.
1g | Clippinger, individually and on behalf
of all others similarly situated; Rex
ole Jr., individually and on behalf o
19 | Cole Jr., individually and on behalf of
all others similarly situated;
20 Christopher P. Collier individually
and on behalf of all others similarly
situated; Kimberly A. Collier,
individually and on behalf of all others
3 similarly situated; James T. Collins,
individually and on behalf of all others
33|| | similarly situated; Bernie T. Colon
individually and on behalf of all others
54| | Similarly situated; Luis M. Colon,
individually and on behalf of all others
95 | Similarly situated; Victor S. Colvin
individually and on behalf of all others
36|| | Similarly situated; Donald R. Cone
individually and on behalf of all others
37|| | similarly situated; Robert D.
Connaughy, individually and on behalf
of all others similarly situated; David

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Complaint
 

 

Case 3:05-cv-01629-DMS-RBB Document1 Filed 08/16/05 PagelD.10 Page 10 of 230

 

Contreras, individually and on behalf
5|| | of all others similarly situated; Sean R.
Conway, individually and on behalf of
3} | all others similarly situated; Lloyd E.
Cook, individually and on behalf of all
gi | others similarly situated; Robert H.
Cook, individually and on behalf of all
others similarly situated; Patrick J.

>| | Cooley, individually and on behalf of
6 all others similarly situated; Phil B.

Cooper, individually and on behalf of
3|| | all others similarly situated; Noe F.

ordero, individually and on behalf o
Cordero, individually and on behalf of
g|| | all others similarly situated; Brian K.
Cornell, individually and on behalf of
g|| | all others similarly situated; Jeannette
L. Corneli, individually and on behalf
of all others similarly situated; Gary F.
Corner, individually and on behalf of
11 || | all others similarly situated; Robert M.
Cornett, individually and on behalf of
12|| | all others similarly situated; Henry D.
Corrales, individually and on behalf of
13|| | all others similarly situated; Deborah
A. Cotellessa, individually and on
i4|| | behalf of all others similarly situated;
Carol V. Council, individually and on
15|| | behalf of all others similarly situated;
Chad E. Crenshaw, individually and on
16 | behalf of all others similarly situated;
Marco A. Crisostomo, individually and
17|| | on behalf of all others similarly
situated; Tyrone H. Crosby,
1g|| | individually and on behalt of all others
similarly situated; Robert P. Cruz,
individually and on behalf of all others

10

19 similarly situated; Vedasto A. Cruz

30|| | Jt. individually and on behalf of all
others similarly situated; William L.

>|) | Cuddy Ill, individually and on behalf
of all others similarly situated; Celso

49|| | G, Cueva, individually and on behalf
of all others similarly situated; James

33 P. Culligan, individually and on behalf

of all others similarly situated; Ralph

54] | A. Cummings, individually and on
behalf of all others similarly situated;

35) | David W. Cupples, individually and on
behalf of all others similarly situated;

 

 

 

6 Christopher P. Curran individyally
and on behalf of all others similar y

97] | Situated; Laurie J. Curran, individually
and on behalf of all others similarly

28 situated; Fenella R. Custer,

 

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Complaint
 

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individually and on behalf of all others
5|| | similarly situated; Mariusz Czas,
individually and on behalf of all others
3| | Similarly situated; Denise F. Dailey,
individually and on behalf of all others
4| | similarly situated; Leroy K. Dailey
individually and on behalf of all others
similarly situated; Josephine I. Dains,
individually and on behalf of all others
é| | similarly situated, Scott W. Daniels,
individually and on behalf of all others
similarly situated; Robert W. Dare,
individually and on behalf of all others
g| | similarly situated; Eric C. Davis,
individually and on behalf of all others
9 similarly situated; Garry R. Davis,
individually and on behalf of all others
1o|| | Simularly situated; John W. Davis,
individually and on behalf of all others
11 | | Similarly situated; Michael J. Davis,
individually and on behalf of all others
19|| | similarly situated; Richard E. Davis,
individually and on behalf of all others
13|| | Similarly situated; William T. Davis
Jr., individually and on behalf of all
14| | others similarly situated; Dean L.
Davison, individually and on behalf of
15{| | all others similarly situated; Jerome
Dawson, individually and on behalf of
16|| | all others similarly situated; Michael
O. Day, individually and on behalf of
17|| | all others similarly situated; William J.
Day Jr., individually and on behalf of
ig | all others similarly situated; Alexander
De Armas, individually and on behalf
19|) | of all others similarly situated; Charles
De la Cruz, individually and on behalf
59] | of all others similarly situated; Susan
M. de la Pena, individually and on
51|| | behalf of all others similarly situated;
Deana E. De Los Reyes, individually
59) | and on behalf of all others similarly
situated; Romeo C. De Los Reyes,
93 | individually and on behalf of all others
similarly situated; Michael J. Dean
54| | individually and on behalf of all others
similarly situated; Conrado V.
95|| | Decastro, individually and on behalf of
all others similarly situated; Geoffrey
56|| | S..Decesari, individually and on behalf
of all others similarly situated;
97 | Jonathan M. DeGuzman, individually
and on behalf of all others similarly
7g|| [ Situated; Raul Delgadillo, individually

 

 

 

 

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and on behalf of all others similarly
situated; Roberto L. Delgadillo,
individually and on behalf of all others
similarly situated; Constandinos A.
Delimitros, individually and on behalf
of all others similarly situated; Jovanna
R. Derrough, individually and on
behalf of all others similarly situated;
Edward A. DeVowe, individually and
on behalf of all others similarly
situated; Derek D. Diaz, individually
and on behalf of all others similarly
situated; James F. Dickinson
individually and on behalf of all others
similarly situated; John (Jack) R.
Didelot, individually and on behalf of
all others similarly situated; Jennifer E.
Dishon, individually and on behalf of
all others similarly situated; Roy J.
Doakes, individually and on behalf of
all others similarly situated; Matthew
W. Dobbs, individually and on behalf
of all others similarly situated; Wayne
R. Doeden, individually and on behalf
of all others similarly situated; Donald
J. Dolezal Jr., individually and on
behalf of all others similarly situated;
James E. Dollins, individually and on
behalf of all others similarly situated;
Marianne L. Dougherty, individually
and on behalf of all others similarly
situated; Ronald H. Dougherty,
individually and on behalf of all others
similarly situated; David F. Douglas,
individually and on behalf of all others
similarly situated; Samuel D. Douglas,
individually and on behalf of all others
similarly situated; Gregory T. Drilling,
individually and on behalt of all others
similarly situated; Arthur W. Dubois
Il, individually and on behalf of all
others similarly situated; Brett A.
Dudley, individually and on behalf of
all others similarly situated; Kevin C.
Duffy, individually and on behalf of all
others similarly situated; John G.
Dunbar, individually and on behalf of
all others similarly situated; Jeffrey
Dunn, individually and on behalf of all
others similarly situated; Anthony L.
Dupree, individually and on behalf of
all others similarly situated; Joseph M.
Durand, individually and on behalf of
all others similarly situated; Wende M.

 

 

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Complaint

 

 
 

 

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I | Eckard, individually and on behalf of
5|| | all others similarly situated; Richard
K. Edgil, individually and on behalf of
3|| | all others similarly situated; Frederick
G. Edwards, individually and on behalf
4| | ofall others similarly situated; Michael
J. Edwards, individually and on behalf
5|| | of all others similarly situated; Shery!
L. Edwards, individually and on behalf
é|| | of all others similarly situated; Randal
W. Eichmann, individually and on
3| | behalf of all others similarly situated;
Roland H. Elkins, individually and on
g|| | behalf of all others similarly situated;
John Elliott, individually and on behalf
g|| | of all others similarly situated,
Christopher J. Ellis, individually and
10} | on behalf of all others similarly
situated; Shari L. Ellithorpe,
11 || | individually and on behalf of all others
similarly situated; William Ellithorpe
12|| | Jt. individually and on behalf of al
others similarly situated; Darryl L.
13|)| | Emerson, individually and on behalf of
all others similarly situated; Ernesto
14|| | Encinas, individually and on behalf of
all others similarly situated; Leland
15], | English, individually and on behalf of
all others similarly situated; Richard
16 | D; Ensign, individually and on behalf
of all others similarly situated; Julie M.
7 Epperson, individually and on behalf
of all others similarly situated; Steven
igh | >: Epperson, individually and on
behalf of all others similarly situated;
19] | Edward G. Erbe, individually and on
behalf of all others similarly situated;
59|| | Manuel Escalante, individually and on
behalf of all others similarly situated;
I Christopher C. Escudero, individually
and on behalf of all others similarly
39|| | Situated, Marlon J. Estepa, individually
and on behalf of all others similarly
33|| | Situated; Christopher D. Everett
individually and on behalf of alf others
54|| | Similarly situated; Christine M.
Farmer, individually and on behalf of
35|| | all others similarly situated; Debra L.
Farrar, individually and on behalf of
36 | all others similarly situated; Jay P.
Farrington, individually and on behalf
>| | of all others similarly situated;
Timothy K. Faubel, individually and
3|| [00 behalf of all others similarly

 

 

 

 

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Complaint

 
 

 

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situated; Paul J. Fay, individually and
ai | on behalf of all others similarly
situated; David L. Felkins, individually
3]/ | and on behalf of all others similarly
situated; Andrew L. Fellows,
4|| | individually and on behalf of all others
similarly situated; Jeffrey M. Fellows
Sr., individually and on behalf of all
others similarly situated; Michael J.
Fender, individually and on behalf of
all others similarly situated; Alejandro
3|| | M. Fernandez, individually and on
behalf of all others similarly situated;
g|| | James D. Filley, individually and on
behalf of all others similarly situated;

g|| | Robert G. Filley, individually and on
behalf of all others similarly situated;
19, | Rodney W. Fischer, individually and

on behalf of all others similarly
11 || | Situated; Lawanda M. Fisher
individually and on behalf of all others
2 similarly situated; Larry E. Fixsen,
individually and on behalf of all others
13|| | Similarly situated, Michael F.
Flanagan, individually and on behalf
i4|| | of all others similarly situated;
Gregory A. Flood, individually and on
15| | behalf of all others similarly situated;
Miguel M. Flores, individually and on
16|| | behalf of all others similarly situated;
Raul Flores, individually and on behalf
17 | of all others similarly situated; Steve
T. Flores, individually and on behalf of
1g|| | all others similarly situated; Gilbert H.
Flores Jr., individually and on behalf
19|| | ofall others similarly situated; Anna
M. Ford, individually and on behalf of
99] | all others similarly situated; James M.
Ford, individually and on behalf of all
>1|| | others similarly situated; Mark E.
Foreman, individually and on behalf of
59|| | all others similarly situated; Colin R.
Forsey, individually and on behalf of
53] | all others similarly situated; Kenneth
N. Fortier, individually and on behalf
n4|| | of all others similarly situated; Natalie
F. Fortier, individually and on behalf
95{ | of all others similarly situated; Richard
C. Fortuna, individually and on behalf
36|| | ofall others similarly situated; Robert
. Fowler, individually and on beha
M. Fowler, individually and on behalf
57} | of all others similarly situated; Charles
R. Fox, individually and on behalf of
5g|| | all others similarly situated; Phillip J.

 

 

 

 

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Franchina, individually and on behalf
of all others similarly situated;
Reginald F. Frank, individually and on
behalf of all others similarly situated;
Hugg French, individually and on
behalf of all others similarly situated;
Kevin B. French, individually and on
behalf of all others similarly situated;
William L. Frew, individually and on
behalf of all others similarly situated;
Brian J. Freymueller, individually and
on behalf of all others similarly
situated; Kevin B. Friedman,
individually and on behalf of all others
similarly situated; Aaron K. Frodente,
individually and on behalf of all others
similarly situated; Hector E. Fuentes,
individually and on behalf of all others
similarly situated; Marco A. Fuentes,
individually and on behalf of all others
similarly situated; John P. Fune
individually and on behalf of all others
similarly situated; Andrea S. Furst,
individually and on behalf of all others
similarly situated; Mark S. Gain,
individually and on behalf of all others
similarly situated; Gerry D. Gapusan,
individually and on behalf of all others
similarly situated; David D. Garcia
individually and on behalf of all others
similarly situated; Ivan Garcia,
individually and on behalf of all others
similarly situated; Linda E. Garcia,
individually and on behalf of all others
similarly situated; Manuel M. Garcia,
individually and on behalf of all others
similarly situated; Ronald R. Garcia,
individually and on behalf of all others
similarly situated; Ralph J. Garcia Jr.,
individually and on behalf of all others
similarly situated; Justin C. Garlow,
individually and on behalf of all others
similarly situated; Edwin R. Garrette,
individually and on behalf of all others
similarly situated; Larry D. Gathright,
individually and on behalf of all others
similarly situated; James R. Gee,
individually and on behalf of all others
similarly situated; Paul B. Geis
individually and on behalf of all others
similarly situated; John P. Gener,
individually and on behalf of all others
similarly situated; Frank A. Gerbac,
individually and on behalf of all others

 

 

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Complaint

 
 

 

 

 

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similarly situated; Frederick R. Gerke,
>|| | individually and on behalf of all others
similarly situated; Troy A. Gibson,
3|| | individually and on behalf ofall others
similarly situated; Robert I. Gilbert,
4| | individually and on behalf of all others
similarly situated; David N. Gilligan,
individually and on behalf of all others
5 dividually and on behalf ofall oth
similarly situated; Casey D. Gini,
individually and on behalf of all others
similarly situated; Shannah W.
Glazewski, individually and on behalf
of all others similarly situated; _
g|| | Dewayne F. Glazewski II, individually
and on behalf of all others similarly
situated, Loretta L Glick, individually
and on behalf of all others similarly
19|| | Situated; Brian M. Goldberg,
individually and on behalf of all others
11 || | Simularly situated; James G.
Golembiewski, individually and on
1D behalf ots al} others similar y situated,
ward R. Gomez, individually and on
enalf of all others similarly situated;
3 } ; 4 C nee di du ily id “
uan J, Gomez, individually and on
14 behalf of all others similar y situated;
ary S$. Gonzales, individually and on
15 beh of all others, similarly situated
ordi Gonzalez, individually and on
16 behalf of él others similarly situated:
regg I. Goodman, individually an
17, | 00 be alf of all others similarly.
situated; Michael V. Gordon
4g| | individually and on behalf of all others
similarly situated; Charles M. Graham,
19|| | individually and on behalt of all others
similarly situated; Richard R. Grano,
39|| | individually and on behalf ofall others
similarly situated; James E. Graves,
individually and on behalf of all others
similarly situated; Cedric J. Green,
99|| | individually and on behalf of all others
similarly situated; Scott Y.
93|| | Greenwood, individually and on behalf
of all others similarly situated;
ristine A. Gregg, individually an
Ch A. Gregg, individually and

21

241 | on behalf of all others similarl

35|| | Situated; Mary K. Gressel, individually
and on behalf of all others similarly

2% situated; William T. Griffin,

individually and on behalf of all others

57|| | Similarly situated; Eric Groeger
individually and on behalf o! all others

similarly situated; Mike Gutierrez,

 

 

 

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individually and on behalf of all others
similarly situated; Mark G. Haas,
individually and on behalf of all others
similarly situated; Gregory A. Haisan,
individually and on behalf of all others
similarly situated; David C. Hall,
individually and on behalf of all others
similarly situated; Lawrence A. Hall,
individually and on behalf of all others
similarly situated; Patrick S. Hall,
individually and on behalf of all others
similarly situated; Ronald G. Hall,
individually and on behalf of all others
similarly situated; Timothy C. Hall
individually and on behalf of all others
similarly situated; Kimber L.
Hammond, individually and on behalf
of all others similarly situated;
Michelle Hansen-Garcia, individually
and on behalf of ail others similarly
situated; Jerry P. Hara, individually
and on behalf of all others similarly
situated; John J. Harberth, individually
and on behalf of all others similar!
situated; Corinne Hard, individually
and on behalf of all others similarly
situated; Joseph P. Harper.
individually and on behalf of all others
similarly situated; Jeffrey L.
Harrington, individually and on behalf
of all others similarly sttuated; Paul A.
Harris, individually and on behalf of
all others similarly situated; Shannon
W. Hart, individually and on behalf of
all others similarly situated; Michael
A. Hartman, individually and on behalf
of all others similarly situated; J.
Aaron Harwick, individually and on
behalf of all others similarly situated;
Muhammad A. Hassan, individually
and on behalf of all others similarly
situated; Michael R. Hastings,
individually and on behalf of all others
similarly situated; Ramona R.
Hastings, individually and on behalf of
all others similarly situated; Roger E.
Hatch, individually and on behalf of all
others similarly situated; Daniel
Hatfield, individually and on behalf of
all others similarly situated; Daniel C.
Hattler, individually and on behalf of
all others similarly situated; John D.
Haugland, individually and on behalf
of all others similarly situated; Robin

 

 

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Complaint

 

 
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L. Hayes, individually and on behalf of
9|| | all others similarly situated; David M.
Headley, individually and on behalf of
3], | all others similarly situated; Kathleen
F, Healey, individually and on behalf
4| | ofall others similarly situated; Jennifer
P. Hebdon, individually and on behalf
5|| | of all others similarly situated; Robert
T. Heims, individually and on behalf
6|| | of all others similarly situated; Patrick
M. Heller, individually and on behalf
z| | of all others similarly situated; Scott
Henderson, individually and on behalf
g|| | of all others similarly situated; Emmitt
Henderson Jr, individually and on
g|| | behalf of all others similarly situated;
Janice L. Hendrickson, individually
19|| | and on behalf of all others similarly
situated; John S. Hendrix, individually
and on behalf of all others similarly
situated; Robert C. Hendrix,
\2|| | individually and on behalf of all others
similarly situated; Randall T. Henrizi,
13|| | individually and on behalf of all others
similarly situated; Matthew J. Henry,
14| | individually and on behalf of all others
similarly situated; Shaun P. Henry,
15|] | individually and on behalf of all others
similarly situated; James K. Heppell,
ig|| | individually and on behalf of all others
similarly situated; James F.
17| | Hergenroeather, individually and on
behalf of all others similarly situated;
1g|| | Daniel Hernandez, individually and on
behalf of all others similarly situated;
19 Israel Hernandez, individually and on
behalf of all others similarly situated;
59|| | Manuel S. Hernandez, individually and
on behalf of all others similarly
91 || | Situated; Nestor Hernandez,
individually and on behalf of all others
>9|| | similarly situated; Ruben C.
Hernandez, individually and on behalf
33 | of all others similarly situated; Victor
M. Herrera, individually and on behalf
54|| | of all others similarly situated; Mark S.
Herring, individually and on behalf of
35| | all others similarly situated; Larry R.
Hesselgesser Jr., individually and on
behalf of all others similarly situated;

11

 

 

 

26 Bryan W. Hewitt, individually and on
97|| | behalf of all others similarly situated,

Byron E. Hibshman, individually and
3g] Lon behalf of all others similarly

 

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Complaint
 

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situated; Matthew P. Hicks,
9|| | individually and on behalf of all others
similarly situated; Wade High,
3] | individually and on behalf of all others
similarly situated; Steven F. Higuera,
4| | individually and on behalf of all others
similarly situated; Gary W. Hill
5|| | individually and on behalf of all others
similarly situated; Jerald Hill
é|| | individually and on behalf of all others
similarly situated; Randall B. Hill,
3|| | individually and on behalf of all others
similarly situated; Renee L. Hill,
gi | individually and on behalf of all others
similarly situated; Richard A. Hinzo,
g|| | individually and on behalf of all others
similarly situated; Anne-Marie Hiskes,
10|| | individually and on behalf of all others
similarly situated; Diana L. Hodges,
11] | individually and on behalf of all others
similarly situated; Mark S$. Hodges
19|| | individually and on behalf of al others
similarly situated; Kenneth P. Hodges
13}) | St., individually and on behalf of all
others similarly situated; Thomas E
14| | Hoenes, individually and on behalf of
all others similarly situated; Frank J.
15 Hoerman, individually and on behalf
of all others similarly situated; Ken L.
16 | Hofer, individually and on behalf of all
others similarly situated; Lloyd J. Hoff
17|| | Jr. individually and on behalf of all
others similarly situated; Andrew T.
1g|| | Hoffman, individually and on behalf of
all others similarly situated; David A.
19|| | Hoffman, individually and on behalf of
all others similarly situated; Marc G.,
49|| | Hoffman, individually and on behalf of
all others similarly situated; Charles F.
31| | Hogquist, individually and on behalf
of all others similarly situated; Mike
59|) | D. Holden, individually and on behalf
of all others similarly situated; Scott C.
93|| | Holden, individually and on behalf of
all others similarly situated; Vanessa
54|| | Holland, individually and on behalf of
all others similarly situated; Elizabeth
95|| | R, Holliday, individually and on behalf
of all others similarly situated; Stephen
36|| | 1. Holliday, individually and on behalf
of all others similarly situated; Paul T.
97} | Holman, individually and on behalf of
all others similarly situated; William
9g|| |B. Holmes, individually and on behalf

 

 

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of all others similarly situated; Richard
E. Holmstrom, individually and on
behalf of all others similarly situated;
Scott R. Holslag, individually and on
behalf of all others similarly situated;
Christopher J. Holt, individually and
on behalf of all others similarly
situated; Paul Hook, individually and
on behalf of all others similarly
situated; Gregory M. Hoolihan
individually and on behalf of all others
similarly situated; Joel G. Hoolihan,
individually and on behalf of all others
similarly situated; John P. Hoolihan,
individually and on behalf of all others
similarly situated; Perry L. Hooper
individually and on behalf of al others
similarly situated; William M. Hoover,
individually and on behalf of all others
similarly situated; John P. Horvath
individually and on behalf of all others
similarly situated; Robert W. Hovey,
individually and on behalf of all others
similarly situated; John P. Howard,
individually and on behalf of all others
similarly situated; Larry 8S. Howell,
individually and on behalf of all others
similarly situated; Roger G. Howes,
individually and on behalf of all others
similarly situated; Lester H. Hubble,
individually and on behalf of all others
similarly situated; Phillip D. Hubbs,
individually and on behalf of all others
similarly situated; Paul D. Hubka,
individually and on behalf of all others
similarly situated; Dona Hufford,
individually and on behalf ofall others
similarly situated; Ty L. Hufford,
individually and on behalf of all others
similarly situated; James C. Hunter,
individually and on behalf of all others
similarly situated; David J. Hustad,
individually and on behalf of all others
similarly situated; Steven Hutchinson,
individually and on behalf of all others
similarly situated; John J. Huys,
individually and on behalf of all others
similarly situated; John D. Iammarino,
individually and on behalf of all others
similarly situated; David M. Iorillo
individually and on behalf of all others
similarly situated; Craig E. Isbell,
individually and on behalf of all others
similarly situated; Brian A. Jackson,

 

 

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Complaint

 
 

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individually and on behalf of all others
>|) | Similarly situated; Corinne M. Jackson,
individually and on behalf of all others
similarly situated; Danielle J. Jackson,
individually and on behalf of all others
similarly situated; Robert F. Jackson,
individually and on behalf of all others
similarly situated; Jane E. Jacobsen,
individually and on behalf of all others
similarly situated; Todd T. Jager,
individually and on behalf of all others
similarly situated; Jason S. Jarrells,
individually and on behalf of all others
similarly situated; Lynda E. Jarvis,
individually and on behalf of all others
similarly situated; Philip T. Jarvis,
individually and on behalf of all others
10 similarly situated; Gregory A. Jebb,
individually and on behalf of all others
similarly situated; Scott E. Jedlicka,
individually and on behalf of all others
12] | Stmilarly situated; Donna L. Jennes,
individually and on behalf of all others
13|| | Similarly situated; David E. Jennings,
individually and on behalf of all others
14|| | Similarly situated; John W. Jillard,
individually and on behalf of all others
15|| | Similarly situated; Alejandra D.
Jimenez, individually and on behalf of
16|| | all others similarly situated; Daniel H.
Jimenez, individually and on behalf of
17|| | all others similarly situated; Louis B.
Johns, individually and on behalf of all
1g|| | others similarly situated; Anthony K.
Johnson, individually and on behalf of
19|| | all others similarly situated; Antonio
D. Johnson, individually and on behalf
50|| | of all others similarly situated; Barry
E. Johnson, individually and on behalf
7 of all others similarly situated; Janine
N. Johnson, individually and on behalf
49|| | of all others similarly situated; Jeffrey
M. Johnson, individually and on behalf
93|| | ofall others similarly situated; John A,
Johnson, individually and on behalf of
54|| | all others similarly situated; Kelly J.
Johnson, individually and on behalf of
45|{ | all others similarly situated; Luke T.
Johnson, individually and on behalf of
36|| | all others similarly situated; Matthew
J. Johnson, individually and on behalf
97|| | of all others similarly situated; Rodney
C. Johnson, individually and on behalf

of all others similarly situated; Sarah

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Complaint

 
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A. Johnson, individually and on behalf

of all others similarly situated;

Timothy D. Johnson, individually and

3|| | on behalf of all others similarly
situated; Buddy L. Johnson II,

4|| | individually and on behalf of all others
similarly situated; Scott W. Johnston,

individually and on behalf of all others

similarly situated; Bennie L. Jolly,

¢|| | individually and on behalf of all others
similarly situated; Edward V. Jones,

individually and on behalf of all others

7 similarly situated; James W. Jones,
g|| | individually and on behalf of all others
similarly situated; Randal L. Jones,
gi | individually and on behalf of all others
similarly situated; Thomas R. Jones,
10|| | individually and on behalf of all others
similarly situated; Jeffrey T. Jordon,
1|| | individually and on behalf of all others
similarly situated; Marc E. Jose
19 | individually and on behalf of all others
similarly situated; Thomas W. Joy,
13|| | individually and on behalf of all others
similarly situated; Corey B. J ung
14 individually and on behalf of all others

similarly situated; Monica E. Kaiser,

15|) | individually and on behalf of all others
similarly situated; Alan B. Karsh,

individually and on behalf of all others

16 similarly situated; Theodore M.

17| | Kasinak, individually and on behalf of
all others similarly situated; Edward E.

1g | Kaszycki, individually and on behalf
of all others similarly situated; George

19 C. Kathan, individually and on behalf

of all others similarly situated; Charles
30 0 Kaye, individually and on behalf of
all others similarly situated; Todd V.
91} | Kearns, individually and on behalf of
all others similarly situated; Timothy J.
>>| | Keating, individually and on behalf of
all others similarly situated; Brian L.
33], | Keaton, individually and on behalf of
all others similarly situated; Johnny F.
Keene Jr., individually and on behalf

241 | of all others similarly situated; David
35] | W. Keesling, individually and on
behalf of all others similarly situated;
16 Paul N. Keffer, individually and on
behalf of all others similarly situated;
57], | Nicholas I. Kelbaugh, individually and

on behalf of all others similarly
3g] | Situated; Carla A. Keller, individually

 

 

 

 

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and on behalf of all others similarly
situated; William L. Keilner,
individually and on behalf of all others
3|| | Similarly situated; Jacob E. Kern,
individually and on behalf of all others
4 similarly situated; David R. Kersch,
individually and on behalf of all others
5|| | Similarly situated; Jason L. Kessel,
individually and on behalf of all others
g|| | similarly situated; Mark L. Keyser,
individually and on behalf of all others
z|| | similarly situated, Stephen M.
Kingkade, individually and on behalf
gi} | of all others similarly situated; Theresa
L. Kinney, individually and on behalf
g| | of all others similarly situated; Richard
S. Kirchhoff, individually and on
io|| | behalf of all others similarly situated;
James B. Kistner, individually and on
11 | | behalf of all others similarly situated;
William A. Knight, individually and
12|| | on behalf of all others similarly
situated; Christopher L. Knighten,
13|| | individually and on behalf of all others
similarly situated; Jack K. Knish,
14|| | individually and on behalf of all others
similarly situated; Phillip P. Konz,
15|| | individually and on behalf of all others
similarly situated; Johni Kosugi,
16|| | individually and on behalf of all others
similarly situated; Patricia R. Krall
17|| | individually and on behalf of all others
similarly situated; David Kries,
1g | individually and on behalf of all others
similarly situated; Michael L. Kroesch,
19|| | individually and on behalf of all others
similarly situated; Joseph J. Krouss,
99 | individually and on behalf of all others
similarly situated; Nancy Kulinski
>| | individually and on behalf of all others
similarly situated; Edward P. Kunold,
39|| | individually and on behalf of all others
similarly situated; James A. Kurupas,
93 | individually and on behalf of all others
similarly situated; Demetrios G. Kyres,
individually and on behalf of all others
similarly situated; Patrick Laco,
95| | individually and on behalf of all others
similarly situated; David Y. Lamaku,
96|| | individually and on behalf of all others
similarly situated; Michael L. Lambert,
57) | individually and on behalf of all others
similarly situated; David L. Landman,
3|| (individually and on behalf of all others

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Complaint
 

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similarly situated; Charles Lara,
|| | individually and on behalf of all others
similarly situated; Ronald P. Larmour,
individually and on behalf of all others
similarly situated; Daniel P. Lasher,
4| | individually and on behalf of all others
similarly situated; Stephen J. Laursen,
individually and on behalf of all others
similarly situated; Edmund J. LaValle
g| | EL. individually and on behalf of all
others similarly situated; Scott M.
Lawford, individually and on behalf of
all others similarly situated; David J.
g| | Lawlor, individually and on behalf of
all others similarly situated; Gary A.
Lawrence, individually and on behalf
of all others similarly situated; Brooke
P. Lawson, individually and on behalf
of all others similarly situated; Vu A.
e, individually and on behalf of a
11| | Le, individually and on behalf of all
others similarly situated; Daniel W.
each, individually and on behalf o
12} | Leach, individually and on behalf of
all others similarly situated; John B.
13|| | Leamons Jr., individually and on
behalf of all others similarly situated;
14 | Tony C. Lee, individually and on
behalf of all others similarly situated;
i5|| | William E. Leffler, individually and on
behalf of all others similarly situated;
16 | Sandi F. Lehan, individually and on
behalf of all others similarly situated;
17|| | Larry W. Leiber, individually and on
behalf of all others similarly situated,
Ronald W. LeMaster, individually and
on behalf of all others similarly
19|| | Situated; Roberto G. Lemus,
individually and on behalf of all others
20 similarly situated; Patrick A. Lenhart,
individually and on behalf of all others
51} | Similarly situated; Paul R. Lennon,
individually and on behalf of all others
2 similarly situated; Jorge R. Leon,
individually and on behalf of all others
73 similarly situated; Michael A. Leonard,
individually and on behalf of all others
74 similarly situated; Alberto H. Leos
individually and on behalf of all others
35|| | Similarly situated; Brian C. Leribeus,
individually and on behalf of all others
76|| | similarly situated; John B. Levan,
individually and on behalf of all others
37 similarly situated; Randon E. Levitt,
individually and on behalf of all others
28 similarly situated; Kazimierz P.

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Lewak, individually and on behalf of

all others similarly situated; Robert A.

Lewis, individually and on behalf of

3] | all others similarly situated; Robert L.
Lewis, individually and on behalf of

all others similarly situated; Iledfonso

Limon, individually and on behalf of

5|| | all others similarly situated; Anthony
J. Linardi Jr., individually and on

gi | behalf of all others similarly situated,
Lawrence J. Lindstrom, individually

and on behalf of all others similarly

situated; James R. Livesey,

g| | individually and on behalf of all others
similarly situated; Robert Lobato,

g|| | individually and on behalf of all others
similarly situated; Henry L. Lobel,

individually and on behalf of ail others

similarly situated; Thomas E. Loftin,

11 || | individually and on behalf of all others

similarly situated; James W. Long,
1o|| | individually and on behalf of all others
similarly situated; Timothy M. Long,
individually and on behalf of all others

‘10

13 similarly situated; Gabriel A. Lopez,

14|| | individually and on behalf of all others
similarly situated; Joseph A. Lopez,

15|| | individually and on behalf of all others
similarly situated; Gene C. Loucks

16|| | individually and on behalf of all others

similarly situated; Darrell L. Loughrey,

17|| | individually and on behalf of all others
similarly situated; Warren L. Lovell,

igi| | individually and on behalf of all others
similarly situated; Arturo Lovio,

19|| | individually and on behalf of all others
similarly situated; Alfred Lozano,

99|| | individually and on behalf of all others
similarly situated; Christopher M.

Luce, individually and on behalf of all

 

21 others similarly situated; Daniel D.

39|| | Luth, individually and on behalf of all
others similarly situated; Charles D.

53], | Lyall, individually and on behalf of all

others similarly situated; Edward D.
44 Lynch, individually and on behalf of
all others similarly situated; Albert B.
45 | Macawili, individually and on behalf
of all others similarly situated; Edward
A. MacConaghy, individually and on

 

 

 

“61 | behalf of all others similarly situated;
97 | Brett N. Macfarlane, individually and
on behalf of all others similarly
28 situated; Andre D. Mack, individually

 

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and on behalf of all others similarly
situated; Bertha MacTiernan
individually and on behalf of all others
similarly situated; Peter Madrid
individually and on behalf of all others
similarly situated; Louis J. Masel Jr.,
individually and on behalf of all others
similarly situated; George N.

Maglaras, individually and on behalf
of all others similarly situated; Bryan
W. Manning, individually and on
behalf of all others similarly situated;
Cory S$. Mapston, individually and on
behalf of all others similarly situated;
Charles D. Marciniak, individually and
on behalf of all others similarly
situated; Mark A. Marcos

individually and on behalf of all others
similarly situated; Stephen G.
Margetts, individually and on behalf of
all others similarly situated; Paul B.
Marino, individually and on behalf of
all others similarly situated; Terry M.
Marquez, individually and on behalf of
all others similarly situated; David R.
Marshall, individually and on behalf of
all others similarly situated; Chrissy L.
Martinez, individually and on behalf of
all others similarly situated; Ruben C.
Martinez, individually and on behalf of
all others similarly situated; Rud
Martinez, individually and on behalf of
all others similarly situated; Boris
Martinez Jr., individually and on

behalf of all others similarly situated;
Dennis L. Mason, individually and on
behalf of all others similarly situated;
Albert M. Massey, individually and on
behalf of all others similarly situated;
Christian W. Mathews, individually
and on behalf of all others similarly
situated; Kathleen M. Mauzy,
individually and on behalf of all others
similarly situated; Ralph H Mauzy,
individually and on behalf of all others
similarly situated; Melvin D. Maxwell,
individually and on behalf of ail others
similarly situated; Roger W.

McCarvel, individually and on behalf
of all others similarly situated; Te

L. McClain, individually and on behalf
of all others similarly situated; Michael
C. McCollough, individually and on
behalf of all others similarly situated;

 

 

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Complaint

 

 
 

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Mark F. McCullough, individually and
on behalf of all others similarly
situated; Benjamin [. McCurry,
individually and on behalf of all others
similarly situated; Allen C. McDonald,
individually and on behalf of all others
similarly situated; Robert R.
McDonald, individually and on behalf
of all others similarly situated; Adam
L. McElroy, individually and on behalf
of all others similarly situated; Guy
McElroy, individually and on behalf of
all others similarly situated; Sharon A.
McFalls, individually and on behalf of
all others similarly situated; James R.
McGhee, individually and on behalf of
all others similarly situated; John T.
McGill, individually and on behalf of
all others similarly situated; Laura L.
McGowan-Minto, individually and on
behalf of all others similarly situated;
Ed M. McGuire, individually and on
behalf of all others similarly situated;
Billy L. McKinney, individually and
on behalf of all others similarly
situated; Patrick J. McLamney,
individually and on behalf of all others
similarly situated; Scott D. McLellan,
individually and on behalf of all others
similarly situated; Jerome R.
McManus, individually and on behalf
of all others similarly situated; Steve
L. MeMillan, individually and on
behalf of all others similarly situated;
Joel R. McMurrin, individually and on
behalf of all others similarly situated;
Kevin D. McNamara, individually and
on behalf of all others similarly
situated; Robert M. McQuien,
individually and on behalf of all others
similarly situated; Carlos E. Medina,
individually and on behalf of all others
similarly situated; Robert N. Meisner,
individually and on behalf of all others
similarly situated; Maura J. Mekenas-
Parga, individually and on behalf of all
others similarly situated; Skip A.
Melhorn, individually and on behalf of
all others similarly situated; Jose L.
Mercado, individually and on behalf of
all others similarly situated; Leslie C.
Merrill, individually and on behalf of
all others similarly situated; Lisa M.
Merzwski, individually and on behalf

 

 

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of all others similarly situated; Robert
W. Metz, individually and on behalf of
all others similarly situated; David R.
Michalek, individually and on behalf
of all others similarly situated; Debra
S. Michalek, individually and on
behalf of all others similarly situated;
Mark A. Michel, individually and on
behalf of all others similarly situated;
William Miles, individually and on
behalf of all others similar y situated;
Christina M. Miller, individually and
on behalf of all others similarly _
situated; David W, Miller, individually
and on behalf of all others similarly
situated; Derek T. Miller, individually
and on behalf of all others similarly
situated; Douglas D. Miller,
individually and on behalf of all others
similarly situated; Jeffrey L. Miller,
individually and on behalf of all others
similarly situated; Thomas P. Miller
IH, individually and on behalf of all
others similarly situated; Catherine D.
Millett, individually and on behalf of
all others similarly situated; Jerald E.
Mills, individually and on behalf of all
others similarly situated; Julie R.
Mills, individually and on behalf of all
others similarly situated; John W.
Minto IIT, individually and on behalf
of all others similarly situated; Robert
D, Minton, individually and on behalf
of all others similarly situated;
Nicholas R. Minx, individually and on
behalf of all others similarly situated;
Ameilia L. Mitcalf, individually and
on behalf of all others similarly
situated; David L. Mitchell,
individually and on behaif of all others
similarly situated; Gary E. Mitrovich,
individually and on behalf of all others
similarly situated; Richard A.
Moberly, individually and on behalf of
all others similarly situated; Michael J.
Mobley, individually and on behalf of
all others similarly situated; Joseph W.
Molinoski, individually and on behalf
of all others similarly situated; Michael
A. Moller, individually and on behalf
of all others similarly situated; Gary F.
Mondesir, individually and on behalf
of all others similarly situated; William
H. Montejano, individually and on

 

 

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behalf of all others similarly situated;
Charles M. Montierth, individually and
on behaif of all others similarly
situated; Diann M. Moody,
individually and on behalf of all others
similarly situated; Roy D. Moody,
individually and on behalf of all others
similarly situated; Holly A. Moore,
individually and on behalf of all others
similarly situated; Robert Mora,
individually and on behalf of all others
similarly situated; Eric T. Morales,
individually and on behalf of all others
similarly situated; Ray A. Morales,
individually and on behalf of all others
similarly situated; Anthony R.
Morasco, individually and on behalf of
all others similarly situated; Victor J.
Morel, individually and on behalf of
all others similarly situated; Mario
Moreno, individually and on behalf of
all others similarly situated; David L.
Morris, individually and on behalf of
all others similarly situated; Cynthia
M. Morrison, individually and on
behalf of all others similarly situated;
James D. Morrison, individually and
on behalf of all others similarl
situated; Jay V. Moser, individually
and on behalf of all others similarly
situated; Jacob R. Mosteller,
individually and on behalf of all others
similarly situated; David A. Moya,
individually and on behalf of all others
similarly situated; Kevin B. Moyna,
individually and on behalf of all others
similarly situated; Gregory R. Mrvich,
individually and on behalf of all others
similarly situated; Galen L.
Munholand, individually and on behalf
of all others similarly situated; Cynthia
L. Munoz, individually and on behalf
of all others similarly situated; Juan M.
Munoz, individually and on behalf of
all others similarly situated; Kelene
Munro, individually and on behalf of
all others similarly situated; George T.
Muren, individually and on behalf of
all others similarly situated; Sean H.
Murphy, individually and on behalf of
all others similarly situated; William P.
Murphy, individually and on behalf of
all others similarly situated; Gregory J.
Myers, individually and on behalf of

 

 

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all others similariy situated; Clint J.
y

5|| | Nafey, individually and on behalf of
all others similarly situated; Steve W.
3 | Nakanishi, individually and on behalf

of all others similarly situated; Jeffre
. Napier, individually and on beha
4| | 7..Nap dividually and on behal
of all others similarly situated;
5 Raymond A, Natal, individually and
on behalf of all others similarly
¢|| | Situated; James H. Needham,
individually and on behalf of all others
7 similarly situated; Adrian Negron,
individually and on behalf of all others
similarly situated; Richard B. Nehrich,
individually and on behalf of all others
9 similarly situated; Kenneth E, Nelson,
individually and on behaif of all others
19|| | Similarly situated; William M. Nemec,
individually and on behalf of al! others
11 || | similarly situated; Richard E. Nemetz,
individually and on behalf of all others
12|| | Similarly situated; Timothy G.
euhaus, individually and on behalf o
Neuh ndividually behalf of
13|| | all others similarly situated; Robert L.
Newquist, individually and on behalf
14| | of all others similarly situated;
Alexander Nezgodinsky, individually
15| | and on behaif of all others similarly
situated; Jeffrey R. Nichols,
16|| | individually and on behalf of all others
similarly situated; Ronald W. Nichols,
17|| | individually and on behalf of all others
similarly situated; Robert J. Nicklo
igi | individually and on behalf of all others
similarly situated; Michael C. Nigro,
19|| | individually and on behalf of all others
similarly situated; Gilbert L. Ninness,
99|| | individually and on behalf of all others
similarly situated; David S. Nisleit,
51 || | individually and on behalf of all others
similarly situated; Robert H. Nobbs,
99|| | individually and on behalf of all others
similarly situated; Patrick D. Norris,
93|| | individually and on behalf of all others
similarly situated; Timothy G. Norris,
54i| | individually and on behalt of all others
similarly situated; Lee V. Norton,
95|| | individually and on behalf of all others
similarly situated; Regina Y. Norton,
>6|| | individually and on behalf of all others
similarly situated; Amber G. Ny gaard,
97|| | individually and on behalf of all others
similarly situated; Eric I. Oberndorfer,
28 individually and on behalf of all others

 

 

 

 

 

 

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similarly situated; Thomas K.
O'Connell, individually and on behalf
of all others similarly situated; Thomas
A. Odaniell, individually and on behalf
of all others similarly situated;
4|| | Taerance Oh, individually and on

behalf of all others similarly situated;
Richard M. O'Hanlon, individually and

>|) | on behalf of all others similarly

6 situated; Gene F. Oliver, individually
and on behalf of all others similarly

7 situated; Rene C. Oliver, individually

and on behalf of all others similarly
gi | Situated; Jose L. Oliveras, individually
and on behalf of all others similarly

g|| | Situated; Gregory J. Olson
individually and on behalf of all others

19 | Similarly situated; Shelly K. Olson,
individually and on behalf of all others

i || | Similarly situated; Barney C. Olson
III, individually and on behalf of all

12{| | others similarly situated; James F.
O'Neill, individually and on behalf of

13|| | all others similarly situated; Thomas
A. Orden, individually and on behalf

14|) | of all others similarly situated; Dann
A. Orduno, individually and on behalf

15|| | Of all others similarly situated; George
M. O'Rourke, individually and on

1g| | behalf of all others similarly situated;
Michael W. Ott, individually and on

17|| | behalf of all others similarly situated;
Jerry B. Owens Jr., individually and

1g|| | 00 behalf of all others similarly
situated; Troy P. Owens _ Sr.,

individually and on behalf of all others

9 similarly situated; Michael A. Pace,

9|| | individually and on behalf of all others
similarly situated; Javier Padilla,

>1|| | individually and on behalf of all others

similarly situated; Nori T. Pappert,

59|| | individually and on behalf of all others
similarly situated; Michael L. Parga,

individually and on behalf of all others

23 similarly situated; Richard A. Parrella,
54|| | individually and on behalf of all others
similarly situated; Kevin S. Patrick
45||_ | individually and on behalf of all others
| similarly situated; Melissa M.
36|| | Pavlenko, individually and on behalf

of all others similarly situated; Pamela

57|| | G, Paxton, individually and on behalf
of all others similarly situated; Thomas

agi| | J- Payne, individually and on behalf of

 

 

 

 

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all others similarly situated; Anthony
M. Pellegrino, individually and on

*! | behalf ofall others similarly situated;

3|| | Gail A. Pembleton, individually and on
behalf of all others similarly situated;

4 Arthur A. Perea, individually and on

behalf of all others similarly situated;

5|| | Jennifer L. Perea, individually and on
behalf of all others similarly situated;

g|| | Jesus G. Perea, individually and on
behalf of all others similar y situated;

z|| | Efren Peregrina, individually and on
behalf of all others similarly situated;
g|| | Curtis E. Perkins, individually and on

ehalt of all others similarly situated;
behalf of all others similarly situated
g|| | Jeffrey P. Peterson, individually and
on behalf of all others similarly
10 situated; Edward K. Petrick,
individually and on behalf of all others
11 || | Similarly situated; Duane E. Pettitt,
individually and on behalf of all others
12 similarly situated; Heather J. Petty,
individually and on behalf of all others
13|| | Similarly situated; David V. Pham,
individually and on behalf of all others
14|| | Similarly situated; Bradley L. Phelps,
individually and on behalf of all others
15|| | similarly situated; George A. Phillips,
individually and on behalf of all others
16| | Similarly situated; Bemie A. Piceno,
individually and on behalf of all others
17|| | Similarly situated; E. Michael Pidgeon,
individually and on behalf of all others
igi | Similarly situated; Ernest J. Pierce,
individually and on behalf of all others
19|| | Similarly situated; Greg A, Pinarelli,
individually and on behalf of all others
0 similarly situated; Carl P. Pira,
individually and on behalf of all others
>1|| | Similarly situated; Dan R. Plein,
individually and on behalf of all others
59|| | similarly situated; Eric L. Pollom,
individually and on behalf of all others
93|| | Similarly situated; Marcelo Populin,
individually and on behalf of all others
54|| | Similarly situated; Lance E. Pound,
individually and on behalf of all others
45|| | similarly situated; Jason L. Powers
individually and on behalf of all others
76|| | Similarly situated; Christopher M.
Poznanski, individually and on behalf
57}, | Of all others similarly situated; Wayne
J. Pratt, individually and on behalf of
28 all others similarly situated; Michael

 

 

 

 

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L. Pridemore, individually and on
behalf of all others similarly situated;
Seliza Prodigalidad, individually and
3|| | on behalf of all others similarly
situated; Bob T. Prutzman
individually and on behalf of al] others
similarly situated; Michael J.
Prutzman, individually and on behalf
of all others similarly situated; Duane
D. Pudgil, individually and on behalf
of all others similarly situated; Jesus
W. Puente, individually and on behalf
of all others similarly situated; Bretton
g|| | J.Punches, individually and on behalf
of all others similarly situated; Dalana
S. Pursel, individually and on behalf of
all others similarly situated; John A.
10 Queen, individually and on behalf of
a

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~~) a tan

! others similarly situated; Colleen L.
1 uentin-King, individually and on
behalf of all others similarly situated;
1|| | Tasha K. Quest, individually and on
ehalf of all others similarly situated;
behalf of all oth larly situated
13 May B. Quintanilla, individually and
on behalf of all others similarly
situated; Yesenia P. Quintos,
individually and on behaif of all others
15|| | Similarly situated, Chris J. Raagas,
individually and on behalf of all others
16|| | similarly situated; Michael J. Rabell,
individually and on behalf of all others
17|| | Similarly situated; Ronald W.
Raddetz, individually and on behalf of
1g|| | all others similarly situated; Fernando
Ramirez, individually and on behalf of
19|| | all others similarly situated; Minerva
Ramos, individually and on behalf of
59|| | all others similarly situated; Carlos R.
Real, individually and on behalf of all
31|| | others similarly situated; Robert M.
Redding Jr., individually and on
99|) | behalf of all others similarly situated,
Craig R. Reesor, individually and on
74 behalf of all others similarly situated;
Richard H. Reichner II, individually
54|| | and on behalf of all others similarly
situated; James H. Renwick,
95|| | individually and on behalf of all others
similarly situated; Rodolfo V. Reyes,
96) | individually and on behalf of all others
similarly situated; Julian M. Rico,
individually and on behalf of all others
similarly situated; Steven L. Riddle,
individually and on behalf of all others

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similarly situated; Ricardo M. Rivas,
individually and on behalf of all others
similarly situated; Juan Rivera _IIII,
individually and on behalf of all others
similarly situated; Bryan A. Roberts,
individually and on behalf of all others
similarly situated; Elias Rodriguez,
individually and on behalf of all others
similarly situated; Manuel Rodriguez,
individually and on behalf of all others
similarly situated; Ramiro O.
Rodriguez, individually and on behalf
of all others similarly situated; Gary A.
Roesink, individually and on behalf of
all others similarly situated; Daniel G.
Roman, individually and on behalf of
all others similarly situated; Luis A.
Roman, individually and on behalf of
all others similarly situated; Carlos
Ronquillo, individually and on behalf
of all others similarly situated; Jorge
A. Rosales, individually and on behalf
of all others similarly situated; Angel
D. Rosario, individually and on behalf
of all others similarly situated; Miguel
Rosario, individually and on behalf of
all others similarly situated; Stephanie
J. Rose, individually and on behalf of
all others similarly situated; Edward L.
Rosenbloom, individually and on
behalf of all others similarly situated;
Angela N. Rozsa, individually and on
behalf of all others similarly situated;
Lamar J. Rozsa Jr., individually and
on behalf of all others similarly
situated; Jeffrey R. Ruckle,
individually and on behalf of all others
similarly situated; Renee D. Ruff,
individually and on behaif of all others
similarly situated; Mariam Sadri,
individually and on behalf of all others
similarly situated; John J. Saflar,
individually and on behalf of all others
similarly situated; Lem Sainsanoy,
individually and on behalf of all others
similarly situated; Paul H. Salas,
individually and on behalf of all others
similarly situated; Alfonso Salvatierra,
individually and on behalf of all others
similarly situated; Jorge Sanchez,
individually and on behalf of all others
similarly situated; Juan Sanchez,
individually and on behalf of all others
similarly situated; Scott A. Santagata,

 

 

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individually and on behalf of all others
>|) | similarly situated; William J.
Santarsiero, individually and on behalf
3|| | of all others similarly situated; Edwin
Santiago, individually and on behalf of
4|| | all others similarly situated; Laura J.
Santiago, individually and on behalf of
5 all others similarly situated; Tito L.
Santos, individually and on behalf of
¢|| | all others similarly situated,
Alejandrino C. Santos III, individually
z| | and on behalf of all others similarly
situated; Christopher M. Sarot,
g|| | individually and on behalf of all others
similarly situated; Dennis Savage,
g|| | individually and on behalf of all others
similarly situated; Jade R. Sawyer,
10|| | individually and on behalf of all others
similarly situated; Jason A. Scally,
11|| | individually and on behalf of all others
similarly situated; Cody K. Schaaf,
12] | individually and on behalf of all others
similarly situated; Jack D. Schaeffer,
13|| | individually and on behalf of all others
similarly situated; Michael J.
Schaldach, individually and on behalf
of all others similarly situated;
15|| | Margaret M. Schaufelberger,
individually and on behalf of all others
16|| | Similarly situated, Robert M.
Schenkelberg, individually and on
behalf of all others similarly situated;
Glen R. Scherer, individually and on
igi | behalf of all others similarly situated;
Cheryl J. Schlack, individually and on
19|| | behalf of all others similarly situated;
Joel A. Schmid, individually and on
59|| | behalf of all others similarly situated;
Phillip E. Schneider, individually and
51 || | on behalf of all others similarly
situated; Steve D. Schnick
individually and on behalf of all others
similarly situated; Paul W. Schwenn,
53|| | individually and on behalf of all others
similarly situated; Jason A. Scott,
94} | individually and on behalf of all others
similarly situated; Eric P. Seiter.
95|| | individually and on behalf of all others
similarly situated; Thomas G. Seiver,
36|| | individually and on behalf of all others
similarly situated; Lloyd A. Sentinella,
57|| | individually and on behalf of all others
similarly situated; Robert C. Shands,
3g|| individually and on behalf of all others

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Complaint

 
 

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similarly situated; Patrick J. Shanley,
5} | individually and on behalf of all others
similarly situated; Arthur H. Shannon,
3] | individually and on behalf of all others
similarly situated; Christian T. Sharp,
4| | individually and on behalf of all others
similarly situated; Marvin L. Shaw
5|| | individually and on behalf of all others
similarly situated; Steven M. Shaw
é|| | individually and on behalf of all others
similarly situated; Daniel K. Shepherd,
individually and on behalf of all others
similarly situated; Damon E. Sherman,
g|| | individually and on behalf of all others
similarly situated; Mark G, Sherman,
individually and on behalf of all others
similarly situated; Michael S.
10})_ | Shiraishi, individually and on behalf of
all others similarly situated; Scott W.
11 | Shively, individually and on behalf of
all others similarly situated; Dale T.
12|| | Shockley Sr., individually and on
behalf of all others similarly situated;

13|| | Daniel L. Shore, individually and on
behalf of all others similarly situated;
14 | Amalia K. Sidhu, individually and on

ehalf of all others similarly situated;
behalf of all others similarly situated
isi) | Jesse D. Simeroth, individually and on
behalf of all others similarly situated;
16|| | Thomas G. Simonds, individually and
on behalf of all others similarly
17|| | Situated; Robert E. Simpson,
individually and on behalf of all others
1g|| | Similarly situated; Randall J. Skinn,
individually and on behalf of all others
19| | similarly situated; Charles A. Sleeper,
individually and on behalf of all others
30 similarly situated; Allen T. Sluss,
individually and on behalf of all others
1 similarly situated; James Smith,
individually and on behalf of all others
39|| | similarly situated; James F. Smith,
individually and on behalf of all others
73 similarly situated; John C. Smith,
individually and on behalf of all others
74|| | similarly situated; Joseph Smith,
individually and on behalf of all others
25 similarly situated; Robert W. Smith,
individually and on behalf of all others
36|| | Similarly situated; Russell Smith,
individually and on behalf of all others
37 similarly situated; Timothy M. Smith,
individually and on behalt of all others
98 similarly situated; William T. Smith,

 

 

 

 

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individually and on behalf of all others
5|| | similarly situated; Daniel J. Smyth,
individually and on behalf of all others
3|| | similarly situated; Sharon M. Smyth,
individually and on behalf of all others
similarly situated; Joseph G.
Snarponis, individually and on behalf
5|| | of all others similarly situated; Robert
W. Snead, individually and on behalf
of all others similarly situated; Cesar
A. Solis, individually and on behalf of
all others similarly situated; David L.
Soliven, individually and on behalf of
all others similarly situated; Andrew
Sorbie, individually and on behalf of
all others similarly situated; Brandy A.
Sorbie, individually and on behalf of
io||_ | all others similarly situated; Mark T.
Soulia, individually and on behalf of
11|| | all others similarly situated; Andrew J.
Spa nolo, individually and on behalf
of all others similarly situated; Andrew
E. Spear, individually and on behalf of
13|| | all others similarly situated; David P.
Speck, individually and on behalf of
14|| | all others similarly situated, Edwin P.
Speer, individually and on behalf of all
15 others similarly situated; Wayne R.
Spees, individually and on behalf of all
16|) | others similarly situated; Scott C.
Spillane, individually and on behalf of
17|| | all others similarly situated; David E.
Spitzer, individually and on behalf of
all others similarly situated; Michael
L. Stacy, individually and on behalf of
19|| | all others similarly situated; John
Stadler, individually and on behalf of
29|| | all others similarly situated; Eric A.
Stafford, individually and on behalf of
91 {| | all others similarly situated; David W.
Stafford Jr., individually and on
59|| | behalf of all others similarly situated;
Daniel Stanley, individually and on
33 behalf of all others similarly situated;
Philip J. Stanley, individually and on
54|) | behalf of all others similarly situated;
Steven Staton, individually and on
35} | behalf of all others similarly situated;
Francis Steffen, individually and on
%6 behalf of all others similarty situated;
Neal A. Steffen, individually and on
7 behalf of all others similarly situated;
Blair A. Stephens, individually and on
7g|| behalf of all others similarly situated;

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Cyndi L. Stetson, individually and on
behalf of all others similarly situated;
William 8S. Stetson, individually and
on behalf of all others similarly
situated; James A. Stewart,
individually and on behalf of all others
similarly situated; Kenneth P. Stewart,
individually and on behalf of all others
similarly situated; Elliot S. Stiasny
individually and on behalf of all others
similarly situated; Robert M. Stinson,
individually and on behalf of all others
similarly situated; Robert G. Stites,
individually and on behalf of all others
similarly situated; Ross E. Stone,
individually and on behalf of all others
similarly situated; Roger A. Stonier
Jr., individually and on behalf of all
others similarly situated; Jerry G.
Stratton, individually and on behalf of
all others similarly situated; John J.
Stricklin, individually and on behalf of
all others similarly situated; Spencer E.
Sturm, individually and on behalf of
all others similarly situated; William F.
Stutz, individually and on behalf of all
others similarly situated;

 

 

 

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Patrick L. Sullivan, individually and
9|| | on behalf of all others similarly
situated; Thomas A. Sullivan,
3|| | individually and on behalf of all others
similarly situated; Robert R. Summers,
individually and on behalf of all others
similarly situated; Valari C. Summers,
5|| | individually and on behalf of all others
similarly situated; Colonel F. Surratt,
individually and on behalf of all others
similarly situated; David M. Surwilo,
individually and on behalf of all others
similarly situated; Aleksei E. Sviridov,
individually and on behalf of all others
similarly situated; Michael J. Swanson,
individually and on behalf of all others
similarly situated; William S.
1g | Sweeney, individually and on behalf of
all others similarly situated; Michael
. oweet, individually and on beha
uf | AS dividually and on behalf
of all others similarly situated; James
i2|| | Sweetser, individually and on behalf of
all others similarly situated; Jeffrey D.
13|| | Swett, individually and on behalf of all
others similarly situated; John E.
14 | Szakara, individually and on behalf of
all others similarly situated; Esmeralda
Tagaban, individually and on behalf of
all others similarly situated; William
16|| | D. Taitano, individually and on behalf
of all others similarly situated; Louis
17|| | A. Tamagni, individually and on
behalf of all others similarly situated;
1g|| | Michael T. Tansey, individually and
on behalf of all others similarly
19|| | Situated; John H. Tate, individuall
and on behalf of all others similarly
99|| | Situated; Dana D. Taylor, individually
and on behalf of all others similarly
3 4| | Situated; James T. Teer, individually
and on behalf of all others similarly
9|| | situated; Victor J. Tejeda, individually
and on behalf of all others similarly
93|| | situated; Karen-Anne Fenney,
individually and on behalf of all others
94|| | Similarly situated; Marvin E. Terry
individually and on behalf of all others
35|| | similarly situated; Christopher M.
ews, individually and on behalf of a
T idividually and on behalf of all
46|| | others similarly situated; Alvin Thach,
individually and on behalf of all others
47|| | similarly situated; Joseph I'T. Thomas,
individually and on behalf of all others
ogi} | Similarly situated; Joycelyn $. Thomas,

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individually and on behalf of all others
similarly situated; George R. Thomas
If, individually and on behalf of all
others similarly situated; Freddie B.
Thornton Jr., individually and on
behalf of all others similarly situated;
Johanna M. Thrasher, individually and
on behalf of all others similarly
situated; Linda H. Tibbetts,
individually and on behalf of all others
similarly situated; Lee D. Timmerman,
individually and on behalf of all others
similarly situated; Linda L. Tousley,
individually and on behalf of all others
similarly situated; Merrit M.
Townsend, individually and on behalf
of all others similarly situated; John M.
Tracy, individually and on behalf of all
others similarly situated; John A.
Trent, individually and on behalf of all
others similarly situated; James F.
Tulumello, individually and on behalf
of all others similarly situated; Meghan
R. Turi, individually and on behalf of
all others similarly situated; Kimberly
K. Ukuzato Easto, individually and on
behalf of all others similarly situated;
Thomas G. Underwood, individually
and on behalf of all others similarly
situated; Edwin Valentin, individually
and on behalf of all others similarly
situated; Ramon Valentin, individually
and on behalf of all others similarly
situated; Wendy J. Valentin,
individually and on behalf of all others
similarly situated; Louis E.
Valenzuela, individually and on behalf
of all others similarly situated; Mark
A. Van Abel, individually and on
behalf of all others similarly situated;
Janine A. Van Antwerp, individually
and on behalf of all others similarly
situated; Edward F. Van Laningham,
individually and on behalf of all others
similarly situated; Rodney L.
Vandiver, individually and on behalf
of all others similarly situated; James
G. Varonfakis, individually and on
behalf of all others similarly situated;
Kevin G. Nasquez, individually and on
behalf of all others similarly situated;
Linda G. Vasquez, individually and on
behalf of all others similarly situated;
Christopher M. Velovich, individually

 

 

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and on behalf of all others similarly
situated; Michelle R. Velovich,
individually and on behalf of all others
similarly situated; Kenneth J. Verdone,
individually and on behalf of all others
similarly situated; Edward M.
Verduzco, individually and on behalf
of all others similarly situated; Richard
Vergara, individually and on behalf of
all others similarly situated; Daniel R.
Vile, individually and on behalf of all
others similarly situated; Patrick T.,
Vinson, individually and on behalf of
all others similarly situated; John B.
Vivoli, individually and on behalf of
all others similarly situated; Duane A.
Voss, individually and on behalf of all
others similarly situated; Gary R.
Voss, individually and on behalf of all
others similarly situated; Gerard M.
Waclawek, individually and on behalf
of all others similarly situated;
Sylvester Wade Jr., individually and
on behalf of all others similarly
situated; Kevin L. Wadhams
individually and on behalf of all others
similarly situated; Elyse S. Wagner,
individually and on behalf of all others
similarly situated; Gaye D, Wagner,
individually and on behalf of all others
similarly situated; Thomas Wagner,
individually and on behalf of all others
similarly situated; Kristopher M. Walb,
individually and on behalf of all others
similarly situated; Curtis J. Waldecker,
individually and on behalf of all others
similarly situated; Steven R.
Waldheim, individually and on behalf
of all others similarly situated; David
R. Walker, individually and on behalf
of all others similarly situated; Daniel
K, Wall, individually and on behalf of
all others similarly situated; Mitchell
B. Wallace, individually and on behalf
of all others similarly situated;
Gregory H. Walton, individually and
on behalf of all others similarly
situated; Deanna M. Warrick
individually and on behalf of all others
similarly situated; Sean J. Waterman,
individually and on behalf of all others
similarly situated; Donald E. Watkins,
individually and on behalf of all others
similarly situated; Mark $. Watkins,

 

 

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individually and on behalf of all others

>|| | similarly situated; Victoria D. Watkins,
individually and on behalf of all others

3|| | Similarly situated; Dean C. Way,
individually and on behalf of all others

similarly situated; Matthew E.

Weathersby, individually and on

ehalf of all others similarly situated;

behalf of all oth arly situated

Sedonia B. Weathersby, individually

¢|| | and on behalf of all others similarly
situated; Stephen E. Webb,

7|| | individually and on behalf of all others
similarly situated; Elizabeth D. Weber,

individually and on behalf of all others

8 similarly situated; Carl W. Weber III,
gi | individually and on behalf of all others
similarly situated; Arthur L.
10 Weismann, individually and on behalf
of all others similarly situated; Jordan
ii} | ¥. Wells, individually and on behalf of
all others similarly situated; Robert D.
12| | Wells, individually and on behalf of all
others similarly situated; Diane
13|| | Wendell, individually and on behalf of
all others similarly situated; Daniel B.
14|| | Westney, individually and on behalf of

all others similarly situated; Teofilo

15|| | Weston, individually and on behalf of
all others similarly situated; Raymond

16|| | J..Wetzel, individually and on behalf
of all others similarly situated; Scott S.

17 | Wilkinson, individually and on behalf
of all others similarly situated;

onso Williams, individually an

igi] | Alph Will dividually and
on behalf of all others similarly

situated; Brent L. Williams,

individually and on behalf of all others

39|| | Similarly situated; David W. Williams,
individually and on behalf of all others

> || | similarly situated; Donald C. Williams,
individually and on behalf of all others

99|| | Similarly situated; Michael D.
Williams, individually and on behalf

33|| | of all_others similarly situated; Michael
R. Williams, individually and on

54|| | behalf of all others similarly situated,
Michael S. Williams, individually and

95|| | On behalf of all others similarly
situated; Timothy R. Williams,

56|| | individually and on behalf of all others
similarly situated; Darryl L. Willis,

57| | individually and on behalf of all others
similarly situated; Jeff D. Willkomm,

9gi| [individually and on behalf of all others

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similarly situated; Robert E. Wills,
|| | individually and on behalf of all others
similarly situated; Dan M. Wilson,
3|| | individually and on behalf of all others
similarly situated; Frederick L. Wilson,
4| | individually and on behalf of all others
similarly situated; Lawrence E.
5|| | Wilson, individually and on behalf of
all others similarly situated; David J.
¢| | Winans, individually and on behalf of
all others similarly situated; Eric A.
z| | Wiseman, individually and on behalf
of all others similarly situated; Daniel
A, Witt, individually and on behalf of
all others similarly situated; Dawn E.
Wolfe, individually and on behalf of
all others similarly situated; Karin D.
tol, | Wong, individually and on behalf of
all others similarly situated; Kevin G.
1; || | Wong, individually and on behalf of
all others similarly situated; Thomas
12|| | A, Wood, individually and on behalf
of all others similarly situated; Steven
13), | M. Woodrow, individually and on
behalf of all others similarly situated;
Judith L. Woods, individually and on

4 behalf of all others similarly situated;
illiam H. Woods_ IV, individua
15|| | William H. Woods IV, individually
and on behalf of all others similarl
16|| | Situated; John M. Wray, individually
and on behalf of all others similarly
17 situated; Stephen W. Wright,

individually and on behalf of all others
ig|| | Similarly situated; Jeffrey J. Wuehler,
individually and on behalf of all others
19|| | Similarly situated; Michael V.
Yaptangco, individually and on behalf
39|| | of all others similarly situated; Rufino
Yaptangco, individually and on behalf
51 | | of all others similarly situated; George
A. Youkhanna, individually and on
39}, | behalf of all others similarly situated;
Adam G. Young, individually and on
93| | behalf of all others similarly situated;
Bryan V. Young, individually and on
34) | behalf of all others similarly situated;
Mathew T. Zaitz, individually and on
95|| | behalf of all others similarly situated;
Peter J. Zajda, individually and on
96 | behalf of all others similarly situated;
Steven §. Zasueta, individually and on
97| | behalf of all others similarly situated;
Felix Zavala, individually and on
behalf of all others similarly situated;

 

 

 

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, City of San Diego, and DOES 1

Jason P. Zdunich, individually and on
behalf of all others similarly situated;
Matthew T. Zdunich, individually and
on behalf of all others similarly
situated; Angela M. Zdunich-
Goldman, individually and on behalf
of all others similarly situated; Monica
Zepeda, individually and on behalf of
all others similarly situated; Timothy
P. Zetterlund, individually and on
behalf of all others similarly situated;
Evan B. Ziegler, individually and on
behalf of all others similarly situated;
Jeffrey P. Ziegler, individually and on
behalf of all others similarly situated;
James A. Zirpolo, individually and on
behalf of all others similarty situated;
Laura M. Zizzo, individually and on
behalf of all others similarly situated;
Louis M. Zizzo, individually and on
behalf of all others similarly situated;
Edward M. Zwibel,

Plaintiffs,

VS.
through 100, inclusive,

Defendants.

 

 

 

 

JURISDICTION
1. This Court has subject matter jurisdiction over this action pursuant to
28 U.S.C. §§ 1331 and 1343(3) as the controversy arises under “the constitution,
laws or treaties of the United States;” specifically, the claim arises under the Fair
Labor Standards Act of 1938, 29 U.S.C. §§ 201 et seq., (“FLSA”). Additionally,
this Court has the authority to determine Plaintiffs’ state claims pursuant to its
supplemental jurisdiction under 28 U.S.C. § 1367.

2. This Court also has subject matter jurisdiction over this action

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pursuant to 28 U.S.C. §§ 1331 and/or 1332.
VENUE

3. Venue is proper in the Southern District of California pursuant to 28
U.S.C. § 1391(b) because a substantial part of the acts, events, or omissions giving
rise to the action occurred in this District.

PARTIES

4, Plaintiff, Marcus R. Abbe (“Abbe”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

5. Plaintiff, Thomas E. Abbott Jr. (“Abbott Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

6. Plaintiff, David G. Abrams (“Abrams”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

7. Plaintiff, Sabin M. Abrams (“Abrams”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’’).

8. Plaintiff, James R. Ackley (“Ackley”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

9. Plaintiff, Kristen B. Adams (“Adams”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

10. Plaintiff, Lori M. Adams (“Adams”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

11. Plaintiff, Robert W. Adams (“Adams”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

12. Plaintiff, Simon Adams (“Adams”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

13. Plaintiff, Robert Adauto Jr. (“Adauto Jr.”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

14. Plaintiff, R. Elizabeth Addington (“Addington”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

15. Plaintiff, Armando R. Aguilar (“Aguilar”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

16. Plaintiff, Edward R. Aguirre (“Aguirre”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

17. Plaintiff, Michael A. Aiken (“Aiken”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

18. Plaintiff, Leslie A. Albrecht (“Albrecht”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

19, Plaintiff, Daniel T. Albright (“Albright”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

20. Plaintiff, Donald A. Albright (“Albright”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

21. Plaintiff, Richard Allen (“Allen”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

22. Plaintiff, Katherine E. Allison (“Allison”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

23. Plaintiff, Cathy N. Allister (“Allister”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

24. Plaintiff, Karen A. Almos (“Almos”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

25. Plaintiff, Jesse R. Almos Jr (“Almos Jr’), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

26. Plaintiff, Alan R. Alvarez (“Alvarez”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

27, Plaintiff, Arnolfo B. Ambito (“Ambito”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

28. Plaintiff, Carlos A. Amezcua (“Amezcua”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

29. Plaintiff, Annette M. Anderson (“Anderson”), is a United States

citizen and resident of the State of California. Plaintiff is currently employed by

the San Diego Police Department (“SDPD” or “Department”).

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30. Plaintiff, Travis W. Anderson (“Anderson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

31. Plaintiff, Mark S. Annis (“Annis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

32. Plaintiff, Robert W. Anschick (“Anschick”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

33. Plaintiff, Ricardo Apodaca (“Apodaca”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

34. Plaintiff, Oscar A. Armenta (“Armenta”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

35. Plaintiff, Scott J. Armstrong (“Armstrong”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

36. Plaintiff, James W. Arthur (“Arthur”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

37. Plaintiff, Christopher T. Asbell (‘Asbell”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

38. Plaintiff, Frank Ashcraft (“Ashcraft”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

39. Plaintiff, Anthony A. Atkins (“Atkins”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

40. Plaintiff, Robert W. Atwood (“Atwood”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

41, Plaintiff, Edward D. Austin (“Austin”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

42. Plaintiff, John W. Austin (“Austin”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

43. Plaintiff, John Autolino (“Autolino”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

44. Plaintiff, Gary Avalos III (“Avalos III’), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

45. Plaintiff, Lori L. Bach (“Bach”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

46. Plaintiff, Michael J. Baier (“Baier”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

47. Plaintiff, Teresa Bailey (“Bailey”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

48. Plaintiff, Robert M. Baird Jr. (“Baird Jr.”), is a United States citizen

and resident of the State of California. Plaintiffis currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

49. Plaintiff, Todd R. Baker (“Baker”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

50. Plaintiff, James D. Baker Jr. (“Baker Jr.”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

51. Plaintiff, Vincent J. Bales (“Bales”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

52. Plaintiff, Joseph P. Bane (“Bane”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”). |

53. Plaintiff, Sean A. Bannan (“Bannan”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

54. Plaintiff, Kevin S. Barnard (“Barnard”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

55. Plaintiff, Scott T. Barnes (“Barnes”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

56. Plaintiff, Bridget P. Barnett (“Barnett”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

57. Plaintiff, Suzie K. Barney (“Barney”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

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58. Plaintiff, Charles R. Barrett (“Barrett”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

59. Plaintiff, Scott D. Bartolomei (“Bartolomei”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

60. Plaintiff, Tina C. Bassett (“Bassett”), is a United States citizen and
resident of the State of Califomia. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

61. Plaintiff, Tod E. Bassett (“Bassett”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

62. Plaintiff, David R. Bautista (“Bautista”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

63. Plaintiff, Michael A. Beamesderfer (“Beamesderfer”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

64. Plaintiff, Jana M. Beard (“Beard”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

65. Plaintiff, Carole J. Beason (“Beason”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

66. Plaintiff, David W. Beathard (“Beathard’), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

67. Plaintiff, Edward L. Becker (“Becker”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”). |

68. Plaintiff, William F. Becker (“Becker”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

69. Plaintiff, Paul J. Becotte (“Becotte”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”),

70. Plaintiff, Steven M. Behrendt (“Behrendt”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

71. Plaintiff, Cynthia M. Beilstein (“Beilstein”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

72. Plaintiff, John P. Beilstein (“Beilstein”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

73. Plaintiff, Kevin P. Belland (“Belland”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

74. Plaintiff, Brigitta J. Belz (“Belz”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

75. Plaintiff; Michael W. Belz (“Belz”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

76. Plaintiff, Michael R. Bendixen (“Bendixen”), is a United States

citizen and resident of the State of California. Plaintiff is currently employed by

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the San Diego Police Department (“SDPD” or “Department”).

77. Plaintiff, Teryl L. Bernard (“Bernard”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

78. Plaintiff, Gerald F. Berner Jr. (“Berner Jr.”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

79. Plaintiff, Meryl A. Bernstein (“Bernstein”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

80. Plaintiff, David A. Bertrand (“Bertrand”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”.

81. Plaintiff, Rebecca E. Bigbie (“Bigbie”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

82. Plaintiff, Robert R. Bigbie (“Bigbie”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

83. Plaintiff, Jeffrey J. Biletnikoff (“Biletnikoff’), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

84. Plaintiff, Daniel M. Billberry (“Billberry”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

85. Plaintiff, Gregory R. Bisesto (“Bisesto”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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86. Plaintiff, Dennis Bishop (“Bishop”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

87. Plaintiff, Betty Bixby (“Bixby”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

88. Plaintiff, Lynn M Bixel (“Bixel”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

89. Plaintiff, Jeffrey D. Blackford (“Blackford”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

90. Plaintiff, Gifford D. Blakesley (“Blakesley”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

91. Plaintiff; Mark T. Blakesley (“Blakesley”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

92. Plaintiff, Thomas M. Boerum (“Boerum”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

93. Plaintiff, Eugene H. Bojorquez (“Bojorquez”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

94, Plaintiff, Daniel W. Boldt (“Boldt”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

95. Plaintiff, Donald J. Borinski (“Borinski”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

96. Plaintiff, Thaddeus W. Borkowski (“Borkowski”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

97. Plaintiff, Nicolas Borrelli (“Borrelli”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

98. Plaintiff, Thomas R. Bostedt (“Bostedt”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

99. Plaintiff, Matthew E. Botkin (“Botkin”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

100. Plaintiff, Arthur O. Bowen (“Bowen”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

101. Plaintiff, Gary L. Bowen Jr. (“Bowen Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

102. Plaintiff, Clayton Bowers (“Bowers”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

103. Plaintiff, Edwin Boyce (“Boyce”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

104. Plaintiff, Schuyler V. Boyce (“Boyce”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

105. Plaintiff, James W. Boyd (“Boyd”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

106. Plaintiff, Phillip K. Bozarth (“Bozarth”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

107. Plaintiff, Frank P. Bradley (“Bradley”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

108. Plaintiff, James M. Bradley (“Bradley”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

109. Plaintiff, Julie M. Bradley (“Bradley”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

110. Plaintiff, Tracy D. Braun (“Braun”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

111. Plaintiff, Glenn A. Breitenstein (“Breitenstein”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

112. Plaintiff, Daniel G. Brent (“Brent”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

113. Plaintiff, Lisa L. Bressler (“Bressler”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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114. Plaintiff, Robert R. Bressler (“Bressler”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

115. Plaintiff, Daniel M. Brinkerhoff (“Brinkerhoff”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

116. Plaintiff, Russell D. Bristol (“Bristol”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

117. Plaintiff, Frank J. Brito (“Brito”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

118. Plaintiff, Kevin M Brooks (“Brooks”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

119. Plaintiff, Ronald Broussard (“Broussard”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

120. Plaintiff, Neal N. Browder Jr. (“Browder Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

121. Plaintiff, Douglas M. Brown (“Brown”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

122. Plaintiff, Jon M. Brown (“Brown”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

123. Plaintiff, Ronald O. Brown (“Brown”), is a United States citizen and

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resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

124. Plaintiff, Scott H. Brown (“Brown”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

125. Plaintiff, Troy A. Brown (“Brown”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

126. Plaintiff, Gregory W. Brown Jr. (“Brown Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

127. Plaintiff, Joy M. Brugman (“Brugman”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

128. Plaintiff, Christopher M. Brush (“Brush”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

129. Plaintiff, Terrance L. Bryan (“Bryan”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

130. Plaintiff, Mark J. Bua (“Bua”), is a United States citizen and resident
of the State of California, Plaintiff is currently employed by the San Diego Police
Department (“SDPD” or “Department”).

131. Plaintiff, Deborah W. Burger (“Burger”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

132. Plaintiff, Randy P. Burgess (“Burgess”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

133. Plaintiff, Christina D. Burhans (“Burhans”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

134. Plaintiff, Joshua P. Burkhardt (“Burkhardt”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

135. Plaintiff, Timothy A. Burns (“Burns”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

136. Plaintiff, Daniel A. Burow (“Burow”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

137. Plaintiff, John D. Buttle (“Buttle”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

138. Plaintiff, Richard A. Butts (“Butts”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

139. Plaintiff, Bruce T. Byrd (“Byrd”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

140. Plaintiff, Jeanne M. Byrd (“Byrd”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

141. Plaintiff, Phillip D. Cady (“Cady”), is a United States citizen and

resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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142. Plaintiff, Lawrence B. Cahill (“Cahill”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

143. Plaintiff, William D. Cahill (“Cahill”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

144. Plaintiff, Jene L'Mont Calloway (“Calloway”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

145. Plaintiff, Arthur L. Calvert (“Calvert”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

146. Plaintiff, Christen M. Cameron (“Cameron”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

147. Plaintiff, Arturo C. Campa (“Campa”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

148. Plaintiff, William H. Campbell (“Campbell”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

149. Plaintiff, Frank A. Canson (“Canson”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

150. Plaintiff, Claudia Canto (“Canto”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

151. Plaintiff, Ruth S. Cardona (“Cardona”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

152. Plaintiff, TheodoreM. Carignan (“Carignan”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

153. Plaintiff, Karrie L. Carlson (“Carlson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

154. Plaintiff, Mark A. Carlson (“Carlson”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

155. Plaintiff, Thomas J. Carlyon IV (“Carlyon IV”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

156. Plaintiff, Daniel P. Caropreso (“Caropreso”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

157. Plaintiff, Frank L. Caropreso Jr (“Caropreso Jr”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

158. Plaintiff, Javier Carranza (“Carranza”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

159. Plaintiff, Robert T. Carroll (“Carroll”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

160. Plaintiff, Scott Carter (“Carter”), is a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

161. Plaintiff, Tony B. Carter (“Carter”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

162. Plaintiff, William J. Carter (“Carter”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

163. Plaintiff, Roderick A. Casey (“Casey”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

164. Plaintiff, Roberto A. Casillas (“Casillas”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

165. Plaintiff, Joseph B. Castillo (“Castillo”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

166. Plaintiff, Clinton E. Castle (“Castle”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

167. Plaintiff, Cesar Castro (“Castro”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

168. Plaintiff, Ricky F. Castro (“Castro”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

169. Plaintiff, Rudy P. Castro Jr. (“Castro Jr.”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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170. Plaintiff, Arthur H. Cavada (““Cavada”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

171. Plaintiff, Misty R. Cedrun (“Cedrun”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

172. Plaintiff, Daniel E. Cerar (“Cerar’), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

173, Plaintiff, George Cesena (“Cesena”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

174. Plaintiff, Carlos Chacon (“Chacon”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

175. Plaintiff, John Chaney (“Chaney”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

176. Plaintiff, Mark A. Chavez (“Chavez”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

177. Plaintiff, Blake A. Cheary (“Cheary”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

178. Plaintiff, Jonathan C. Cheng (“Cheng”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

179. Plaintiff, Jon P. Cherski (“Cherski”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

180. Plaintiff, James H. Chiles (“Chiles”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

182. Plaintiff, Jeffrey W. Chione (“Chione”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

183. Plaintiff, Raphael R. Cimmarrusti (“Cimmarrusti”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

184. Plaintiff, Dolores M. Cirino (“Cirino”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

185. Plaintiff, Brent E. Cisneros (“Cisneros”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

186. Plaintiff, Dale L. Clark (“Clark”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

187. Plaintiff, John C. Clark (“Clark”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

188. Plaintiff, Joseph A. Clark (“Clark”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

189. Plaintiff, Lamont H. Clark (“Clark”), is a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

190. Plaintiff, Robert D. Clark (“Clark”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

191. Plaintiff, Raymond P. Clark Sr, (“Clark Sr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

192. Plaintiff, Deborah A. Clem (“Clem”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

193. Plaintiff, James H. Clem (“Clem”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

194. Plaintiff, Michael A. Clippinger (“Clippinger”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”). .

195. Plaintiff, Rex Cole Jr. (“Cole Jr.”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

196. Plaintiff, Christopher P. Collier (“Collier”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

197. Plaintiff, Kimberly A. Collier (“Collier”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”),

198. Plaintiff, James T. Collins (“Collins”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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199. Plaintiff, Bernie T. Colon (“Colon”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

200. Plaintiff, Luis M. Colon (“Colon”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

201. Plaintiff, Victor S. Colvin (“Colvin”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

202. Plaintiff, Donald R. Cone (“Cone”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

203. Plaintiff, Robert D. Connaughy (“Connaughy”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

204. Plaintiff, David Contreras (“Contreras”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

205. Plaintiff, Sean R. Conway (“Conway”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

206. Plaintiff, Lloyd E. Cook (“Cook”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

207. Plaintiff, Robert H. Cook (“Cook”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

208. Plaintiff, Patrick J. Cooley (“Cooley”), is a United States citizen and

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Complaint

 

 
 

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”.

209. Plaintiff, Phil B. Cooper (“Cooper”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

210. Plaintiff, Noe F. Cordero (“Cordero”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

211. Plaintiff, Brian K. Cornell (“Cornell”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

212. Plaintiff, Jeannette L. Cornell (“Cornell”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

213. Plaintiff, Gary F. Corner (“Corner”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

214. Plaintiff, Robert M. Cornett (“Cornett”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

215. Plaintiff, Henry D. Corrales (“Corrales”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

216. Plaintiff, Deborah A. Cotellessa (“Cotellessa’), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

217. Plaintiff, Carol V. Council (“Council”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

218. Plaintiff, Chad E. Crenshaw (“Crenshaw”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

219. Plaintiff, Marco A. Crisostomo (“Crisostomo”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

220. Plaintiff, Tyrone H. Crosby (“Crosby”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

221. Plaintiff, Robert P. Cruz (“Cruz”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

222. Plaintiff, Vedasto A. Cruz Jr. (“Cruz Jr.”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

223. Plaintiff, William L. Cuddy III (“Cuddy IIT’), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

224. Plaintiff, Celso G. Cueva (“Cueva”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

225. Plaintiff, James P. Culligan (“Culligan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

226. Plaintiff, Ralph A. Cummings (“Cummings”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by

the San Diego Police Department (“SDPD” or “Department”).

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227. Plaintiff, David W. Cupples (“Cupples”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

228. Plaintiff, Christopher P. Curran (“Curran”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

229. Plaintiff, Laurie J. Curran (“Curran”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

230. Plaintiff, Fenella R. Custer (“Custer”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

. 231. Plaintiff, Mariusz Czas (“Czas”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

232. Plaintiff, Denise F. Dailey (“Dailey”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

233. Plaintiff, Leroy K. Dailey (“Dailey”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

234. Plaintiff, Josephine I. Dains (“Dains”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

235. Plaintiff, Scott W. Daniels (“Daniels”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

236. Plaintiff, Robert W. Dare (“Dare”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

237. Plaintiff, Eric C. Davis (“Davis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

238. Plaintiff, Garry R. Davis (“Davis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

239. Plaintiff, John W. Davis (“Davis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

240. Plaintiff, Michael J. Davis (“Davis”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

241. Plaintiff, Richard E. Davis (“Davis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

242. Plaintiff, William T. Davis Jr. (“Davis Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

243. Plaintiff, Dean L. Davison (“Davison”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

244. Plaintiff, Jerome Dawson (“Dawson”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

245. Plaintiff, Michael O. Day (“Day”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

246. Plaintiff, William J. Day Jr. (Day Jr.”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

247. Plaintiff, Alexander De Armas (“De Armas”), is a United States
citizen and resident of the State of California, Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

248. Plaintiff, Charles De la Cruz (“De la Cruz”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

249. Plaintiff, Susan M. de la Pena (“de la Pena”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

250. Plaintiff, Deana E. De Los Reyes (“De Los Reyes”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

251. Plaintiff, Romeo C. De Los Reyes (“De Los Reyes”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

252. Plaintiff, Michael J. Dean (“Dean”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

253. Plaintiff, Conrado V. Decastro (“Decastro”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

254. Plaintiff, Geoffrey S. Decesari (“Decesari”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by

the San Diego Police Department (“SDPD” or “Department”).

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255. Plaintiff, Jonathan M. DeGuzman (“DeGuzman”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

256. Plaintiff, Raul Delgadillo (“Delgadillo”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

257. Plaintiff, Roberto L. Delgadillo (“Delgadillo”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

258. Plaintiff, Constandinos A. Delimitros (“Delimitros”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

259. Plaintiff, Jovanna R. Derrough (“Derrough”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”),

260. Plaintiff, Edward A. DeVowe (“DeVowe”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

261. Plaintiff, Derek D. Diaz (“Diaz”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

262. Plaintiff, James F. Dickinson (“Dickinson”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

263. Plaintiff, John (Jack) R. Didelot (“Didelot”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (““SDPD” or “Department”).

264. Plaintiff, Jennifer E. Dishon (“Dishon”), is a United States citizen

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and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

265. Plaintiff, Roy J. Doakes (“Doakes”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

266. Plaintiff, Matthew W. Dobbs (“Dobbs”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

267. Plaintiff, Wayne R. Doeden (“Doeden”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

268. Plaintiff, Donald J. Dolezal Jr. (““Dolezal Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

269. Plaintiff, James E. Dollins (“Dollins”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

270. Plaintiff, Marianne L. Dougherty (“Dougherty”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

271. Plaintiff, Ronald H. Dougherty (“Dougherty”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

272, Plaintiff, David F. Douglas (“Douglas”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

273. Plaintiff, Samuel D. Douglas (“Douglas”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

274. Plaintiff, Gregory T. Drilling (“Drilling”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

275. Plaintiff, Arthur W. Dubois III (“Dubois III’), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

276. Plaintiff, Brett A. Dudley (“Dudley”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

277. Plaintiff, Kevin C. Duffy (“Duffy”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

278. Plaintiff, John G. Dunbar (“Dunbar”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

279. Plaintiff, Jeffrey Dunn (“Dunn”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

280. Plaintiff, Anthony L. Dupree (“Dupree”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

281. Plaintiff, Joseph M. Durand (“Durand”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

282. Plaintiff, Wende M. Eckard (“Eckard”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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283. Plaintiff, Richard K. Edgil (“Edgil”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

284. Plaintiff, Frederick G. Edwards (“Edwards”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

285. Plaintiff, Michael J. Edwards (“Edwards”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

286. Plaintiff, Sheryl L. Edwards (“Edwards”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

287. Plaintiff, Randal W. Eichmann (“Eichmann”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

288. Plaintiff, Roland H. Elkins (“Elkins”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

289. Plaintiff, John Elliott (“Elliott”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

290. Plaintiff, Christopher J. Ellis (“Ellis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

291. Plaintiff, Shari L. Ellithorpe (“Ellithorpe”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

292. Plaintiff, William Ellithorpe Jr. (“Ellithorpe Jr.”), is a United States

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citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

293. Plaintiff, Darryl L. Emerson (“Emerson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

294. Plaintiff, Ernesto Encinas (“Encinas”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

295. Plaintiff, Leland English (“English”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

296. Plaintiff, Richard D. Ensign (“Ensign”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

297. Plaintiff, Julie M. Epperson (“Epperson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

298. Plaintiff, Steven S. Epperson (“Epperson”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

299. Plaintiff, Edward G. Erbe (“Erbe”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

300. Piaintiff, Manuel Escalante (“Escalante”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

301. Plaintiff, Christopher C. Escudero (“Escudero”), is a United States

citizen and resident of the State of California. Plaintiff is currently employed by

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the San Diego Police Department (““SDPD” or “Department”).

302. Plaintiff, Marlon J. Estepa (“Estepa’”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

303. Plaintiff, Christopher D. Everett (“Everett”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

304. Plaintiff, Christine M. Farmer (“Farmer”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

305. Plaintiff, Debra L. Farrar (“Farrar”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

306. Plaintiff, Jay P. Farrington (“Farrington”), is a United States citizen |

and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

307. Plaintiff, Timothy K. Faubel (“Faubel”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

308. Plaintiff, Paul J. Fay (“Fay”), is a United States citizen and resident

of the State of California. Plaintiff is currently employed by the San Diego Police -

Department (“SDPD” or “Department”).

309, Plaintiff, David L. Felkins (“Felkins”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

310. Plaintiff, Andrew L. Fellows (“Fellows”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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311. Plaintiff, Jeffrey M. Fellows Sr. (“Fellows Sr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

312. Plaintiff, Michael J. Fender (“Fender”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

313. Plaintiff, Alejandro M. Fernandez (“Fernandez”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

314. Plaintiff, James D. Filley (“Filley”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

315. Plaintiff, Robert G. Filley (“Filley”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

316, Plaintiff, Rodney W. Fischer (“Fischer”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

317. Plaintiff, Lawanda M. Fisher (“Fisher”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

318. Plaintiff, Larry E. Fixsen (“Fixsen”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

319. Plaintiff, Michael F. Flanagan (“Flanagan”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

320. Plaintiff, Gregory A. Flood (“Flood”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

321. Plaintiff, Miguel M. Flores (“Flores”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

322. Plaintiff, Raul Flores (“Flores”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

323. Plaintiff, Steve T. Flores (“Flores”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

324. Plaintiff, Gilbert H. Flores Jr. (“Flores Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

325. Plaintiff, Anna M. Ford (“Ford”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

326. Plaintiff, James M. Ford (“Ford”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

327. Plaintiff, Mark E. Foreman (“Foreman”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

328. Plaintiff, Colin R. Forsey (“Forsey”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

329. Plaintiff, Kenneth N. Fortier (“Fortier”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

330. Plaintiff, Natalie F. Fortier (“Fortier”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

331. Plaintiff, Richard C. Fortuna (“Fortuna”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

332. Plaintiff, Robert M. Fowler (“Fowler”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

333. Plaintiff, Charles R. Fox (“Fox”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

334. Plaintiff, Phillip J. Franchina (“Franchina”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

335. Plaintiff, Reginald F. Frank (“Frank”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

336. Plaintiff, Hugg French (“French”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

337. Plaintiff, Kevin B. French (“French”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

338. Plaintiff, William L. Frew (“Frew”), is a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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339. Plaintiff, Brian J. Freymueller (“Freymueller”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

340. Plaintiff, Kevin B. Friedman (“Friedman”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

341. Plaintiff, Aaron K. Frodente (“Frodente”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

342. Plaintiff, Hector E. Fuentes (“Fuentes”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

343. Plaintiff, Marco A. Fuentes (“Fuentes”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

344. Plaintiff, John P. Fune (“Fune”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

345. Plaintiff, Andrea S. Furst (“Furst”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

346. Plaintiff, Mark S. Gain (“Gain”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

347. Plaintiff, Gerry D. Gapusan (“Gapusan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

348. Plaintiff, David D. Garcia (“Garcia”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

349, Plaintiff, Ivan Garcia (“Garcia”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

350. Plaintiff, Linda E. Garcia (“Garcia”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”),

351. Plaintiff, Manuel M. Garcia (“Garcia”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

352. Plaintiff, Ronald R. Garcia (“Garcia”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

353. Plaintiff, Ralph J. Garcia Jr. (“Garcia Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

354, Plaintiff, Justin C. Garlow (“Garlow”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

355. Plaintiff, Edwin R. Garrette (“Garrette”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

356. Plaintiff, Larry D. Gathright (“Gathright”), is a United States citizen
and resident of the State of California, Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

357. Plaintiff, James R. Gee (“Gee”), is a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

358. Plaintiff, Paul B. Geis (“Geis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

359. Plaintiff, John P. Gener (“Gener”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

360. Plaintiff, Frank A. Gerbac (“Gerbac”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

361. Plaintiff, Frederick R. Gerke (“Gerke”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

362. Plaintiff, Troy A. Gibson (“Gibson”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

363. Plaintiff, Robert I. Gilbert (“Gilbert”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

364. Plaintiff, David N. Gilligan (“Gilligan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”),

365. Plaintiff, Casey D. Gini (“Gin1”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

366. Plaintiff, Shannah W. Glazewski (“Glazewski”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by

the San Diego Police Department (“SDPD” or ““Department”).

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367. Plaintiff, Dewayne F. Glazewski II (“Glazewski II”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

368. Plaintiff, Loretta L. Glick (“Glick”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

369. Plaintiff, Brian M. Goldberg (“Goldberg”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

370. Plaintiff, James G. Golembiewski (“Golembiewski”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

371. Plaintiff, Edward R. Gomez (“Gomez”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

372. Plaintiff, Juan J. Gomez (“Gomez”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

373. Plaintiff, Gary 8. Gonzales (“Gonzales”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

374. Plaintiff, Jordi Gonzalez (“Gonzalez”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

375. Plaintiff, Gregg I. Goodman (“Goodman”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

376. Plaintiff, Michael V. Gordon (“Gordon”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

377. Plaintiff, Charles M. Graham (“Graham”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”.

378. Plaintiff, Richard R. Grano (“Grano”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

379. Plaintiff, James E. Graves (“Graves”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

380. Plaintiff, Cedric J. Green (“Green”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

381. Plaintiff, Scott Y. Greenwood (“Greenwood”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

382. Plaintiff, Christine A. Gregg (“Gregg”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

383. Plaintiff, Mary K. Gressel (“Gressel’), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

384. Plaintiff, William T. Griffin (“Griffin”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

385. Plaintiff, Eric Groeger (“Groeger”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

386. Plaintiff, Mike Gutierrez (“Gutierrez”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

387. Plaintiff, Mark G. Haas (“Haas”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

388. Plaintiff, Gregory A. Haisan (“Haisan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

389. Plaintiff, David C. Hall (“Hall”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

390. Plaintiff, Lawrence A. Hall (“Hall”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

391. Plaintiff, Patrick S. Hall (“Hail”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

392. Plaintiff, Ronald G. Hall (“Hall”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

393. Plaintiff, Timothy C. Hall (“Hall”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

394, Plaintiff, Kimber L. Hammond (“Hammond”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by

the San Diego Police Department (“SDPD” or “Department”).

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395. Plaintiff, Michelle Hansen-Garcia (““Hansen-Garcia”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

396. Plaintiff, Jerry P. Hara (“Hara”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

397. Plaintiff, John J. Harberth (“Harberth”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

398. Plaintiff, Corinne Hard (“Hard”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

399. Plaintiff, Joseph P. Harper (“Harper’’), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

400. Plaintiff, Jeffrey L. Harrington (“Harrington”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

401. Plaintiff, Paul A. Harris (“Harris”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

402. Plaintiff, Shannon W. Hart (“Hart”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

403. Plaintiff, Michael A. Hartman (“Hartman”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

404. Plaintiff, J. Aaron Harwick (“Harwick”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

405. Plaintiff, Muhammad A. Hassan (“Hassan”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

406. Plaintiff, Michael R. Hastings (“Hastings”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

407. Plaintiff, Ramona R. Hastings (“Hastings”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

408. Plaintiff, Roger E. Hatch (“Hatch”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”). .

409. Plaintiff, Daniel Hatfield (“Hatfield”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

410. Plaintiff, Daniel C. Hattler (“Hattler”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

411. Plaintiff, John D. Haugland (“Haugland”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

412. Plaintiff, Robin L. Hayes (“Hayes”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

413. Plaintiff, David M. Headley (“Headley”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

414. Plaintiff, Kathleen F. Healey (“Healey”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

415. Plaintiff, Jennifer P. Hebdon (“Hebdon”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

416. Plaintiff, Robert T. Heims (“Heims”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

417. Plaintiff, Patrick M. Heller (“Heller”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

418. Plaintiff, Scott Henderson (“Henderson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

419. Plaintiff, Emmitt Henderson Jr (“Henderson Jr’), is a United States
citizen and resident of the State of California, Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

420. Plaintiff, Janice L. Hendrickson (“Hendrickson”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

421. Plaintiff, John §. Hendrix (“Hendrix”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

422. Plaintiff, Robert C. Hendrix (“Hendrix”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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423. Plaintiff, Randall T. Henrizi (“Henrizi”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

424. Plaintiff, Matthew J. Henry (“Henry”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

425. Plaintiff, Shaun P. Henry (“Henry”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

426. Plaintiff, James K. Heppell (“Heppell’”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

427. Plaintiff, James F. Hergenroeather (“Hergenroeather’’), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

428. Plaintiff, Daniel Hernandez (“Hernandez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”). |

429. Plaintiff, Israel Hernandez (“Hernandez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

430. Plaintiff, Manuel S. Hernandez (“Hernandez”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”.

431. Plaintiff, Nestor Hernandez (“Hernandez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

432. Plaintiff, Ruben C. Hernandez (“Hernandez”), is a United States

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citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

433. Plaintiff, Victor M. Herrera (“Herrera”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

434, Plaintiff, Mark S. Herring (“Herring”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

435. Plaintiff, Larry R. Hesselgesser Jr. (“Hesselgesser Jr.”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department’”).

436. Plaintiff, Bryan W. Hewitt (“Hewitt”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

437. Plaintiff, Byron E. Hibshman (“Hibshman’”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

438. Plaintiff, Matthew P. Hicks (“Hicks”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

439, Plaintiff, Wade High (“High”), is a United States citizen and resident
of the State of California. Plaintiff is currently employed by the San Diego Police
Department (“SDPD” or “Department”).

440. Plaintiff, Steven F. Higuera (“Higuera”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

441. Plaintiff, Gary W. Hill (“Hill”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

442, Plaintiff, Jerald Hill (“Hill”), is a United States citizen and resident
of the State of California. Plaintiff is currently employed by the San Diego Police
Department (“SDPD” or “Department”).

443. Plaintiff, Randall B. Hill (“Hill”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

444, Plaintiff, Renee L. Hill (“Hill”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

445. Plaintiff, Richard A. Hinzo (“Hinzo”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

446, Plaintiff, Anne-Marie Hiskes (“Hiskes”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

447. Plaintiff, Diana L. Hodges (“Hodges”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

448. Plaintiff, Mark S. Hodges (“Hodges”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

449. Plaintiff, Kenneth P. Hodges Sr. (“Hodges Sr.”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

450. Plaintiff, Thomas E Hoenes (“Hoenes”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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451. Plaintiff, Frank J. Hoerman (“Hoerman”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

452. Plaintiff, Ken L. Hofer (“Hofer”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

453. Plaintiff, Lloyd J. Hoff Jr. “Hoff Jr.”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

454, Plaintiff, Andrew T. Hoffman (“Hoffman”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

455. Plaintiff, David A. Hoffman (“Hoffman”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

456. Plaintiff, Marc G. Hoffman (“Hoffman”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

457. Plaintiff, Charles F. Hogquist (“Hogquist”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

459, Plaintiff, Mike D. Holden (“Holden”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

460. Plaintiff, Scott C. Holden (“Holden”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

461. Plaintiff, Vanessa Holland (“Holland”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

462. Plaintiff, Elizabeth R. Holliday (“Holliday”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

463. Plaintiff, Stephen T. Holliday (“Holliday”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

464. Plaintiff, Paul T. Holman (“Holman”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

465. Plaintiff, William B. Holmes (“Holmes”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

466. Plaintiff, Richard E. Holmstrom (“Flolmstrom”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

467. Plaintiff, Scott R. Holslag (“Holslag”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

468. Plaintiff, Christopher J. Holt (“Holt”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

469. Plaintiff, Paul Hook (“Hook”), is a United States citizen and resident
of the State of California. Plaintiff is currently employed by the San Diego Police
Department (“SDPD” or “Department”).

470. Plaintiff, Gregory M. Hoolihan (“Hoolihan”), is a United States

citizen and resident of the State of California. Plaintiffis currently employed by

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the San Diego Police Department (“SDPD” or “Department”).

471. Plaintiff, Joel G. Hoolihan (“Hoolihan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

472. Plaintiff, John P. Hoolihan (“Hoolihan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

473. Plaintiff, Perry L. Hooper (“Hooper”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

474. Plaintiff, William M. Hoover (“Hoover”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

475. Plaintiff, John P. Horvath (“Horvath”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

476. Plaintiff, Robert W. Hovey (“Hovey”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

477. Plaintiff, John P. Howard (“Howard”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

478. Plaintiff, Larry S. Howell (“Howell”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

479. Plaintiff, Roger G. Howes (“Howes”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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480. Plaintiff, Lester H. Hubble (“Hubble”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

481. Plaintiff, Phillip D. Hubbs (“Hubbs”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

482. Plaintiff, Paul D. Hubka (“Hubka”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

483. Plaintiff, Dona Hufford (“Hufford”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

484. Plaintiff, Ty L. Hufford (“Hufford”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

485. Plaintiff, James C. Hunter (“Hunter”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

486. Plaintiff, David J. Hustad (“Hustad”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

487. Plaintiff, Steven Hutchinson (“Hutchinson”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

488. Plaintiff, John J. Huys (“Huys”), is a United States citizen and
resident of the State of California, Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

489. Plaintiff, John D. Iammarino (“Iammarino”), is a United States

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citizen and resident of the State of California. Plaintiff is currently employed by —
the San Diego Police Department (“SDPD” or “Department”).

490. Plaintiff, David M. Torillo (“Torillo”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

491. Plaintiff, Craig E. Isbell (“Isbell”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

492. Plaintiff, Brian A. Jackson (“Jackson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”.

493. Plaintiff, Corinne M. Jackson (“Jackson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

494. Plaintiff, Danielle J. Jackson (“Jackson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

495. Plaintiff, Robert F. Jackson (“Jackson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

496. Plaintiff, Jane E. Jacobsen (“Jacobsen”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

497. Plaintiff, Todd T. Jager (“Jager”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

498. Plaintiff, Jason S. Jarrells (“Jarrells”), is a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

499. Plaintiff, Lynda E. Jarvis (“Jarvis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

500. Plaintiff, Philip T. Jarvis (“Jarvis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

S01. Plaintiff, Gregory A. Jebb (“Jebb”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

502. Plaintiff, Scott E. Jedlicka (“Jedlicka”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”),

503. Plaintiff, Donna L. Jennes (“Jennes”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

504. Plaintiff, David E. Jennings (“Jennings”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

505. Plaintiff, John W. Jillard (“Jillard”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

506. Plaintiff, Alejandra D. Jimenez (“Jimenez”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

507. Plaintiff, Daniel H. Jimenez (“Jimenez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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508. Plaintiff, Louis B. Johns (“Johns”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

509. Plaintiff, Anthony K. Johnson (“Johnson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

510. Plaintiff, Antonio D. Johnson (“Johnson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

511. Plaintiff, Barry E. Johnson (“Johnson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

512. Plaintiff, Janine N. Johnson (“Johnson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

513. Plaintiff, Jeffrey M. Johnson (“Johnson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

514. Plaintiff, John A. Johnson (“Johnson”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

515. Plaintiff, Kelly J. Johnson (“Johnson”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

516. Plaintiff, Luke T. Johnson (“Johnson”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

517. Plaintiff, Matthew J. Johnson (“Johnson”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

518. Plaintiff, Rodney C. Johnson (“Johnson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

519. Plaintiff, Sarah A. Johnson (“Johnson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

520. Plaintiff, Timothy D. Johnson (“Johnson”), ts a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

$21. Plaintiff, Buddy L. Johnson II (“Johnson II’), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

522. Plaintiff, Scott W. Johnston (“Johnston”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

523. Plaintiff, Bennie L. Jolly (‘Jolly’), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

524. Plaintiff, Edward V. Jones (“Jones”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

525. Plaintiff, James W. Jones (“Jones”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”). |

526. Plaintiff, Randal L. Jones (“Jones”), is a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

527. Plaintiff, Thomas R. Jones (“Jones”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

528. Plaintiff, Jeffrey T. Jordon (“Jordon”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

529. Plaintiff, Marc E. Jose (“Jose”), is a United States citizen and
resident of the State of California, Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

530. Plaintiff, Thomas W. Joy (“Joy”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

531. Plaintiff, Corey B. Jung (“Jung”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

532. Plaintiff, Monica E. Kaiser (“Kaiser”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

533. Plaintiff, Alan B. Karsh (“Karsh”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

534. Plaintiff, Theodore M. Kasinak (“Kasinak”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

535. Plaintiff, Edward E. Kaszycki (“Kaszycki”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by

the San Diego Police Department (“SDPD” or “Department”).

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536. Plaintiff, George C. Kathan (“Kathan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

537. Plaintiff, Charles Q. Kaye (“Kaye”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

538. Plaintiff, Todd V. Kearns (“Kearns”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

539. Plaintiff, Timothy J. Keating (“Keating”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

540. Plaintiff, Brian L. Keaton (“Keaton”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

$41. Plaintiff, Johnny F, Keene Jr. (“Keene Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

542. Plaintiff, David W. Keesling (“Keesling”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

343. Plaintiff, Paul N. Keffer (“Keffer”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

544. Plaintiff, Nicholas I. Kelbaugh (“Kelbaugh”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

545. Plaintiff, Carla A. Keller (“Keller”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

546. Plaintiff, William L. Kellner (“Kellner”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

547. Plaintiff, Jacob E. Kern (“Kern”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

548. Plaintiff, David R. Kersch (“Kersch”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

549. Plaintiff, Jason L. Kessel (“Kessel”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

550. Plaintiff, Mark L. Keyser (“Keyser”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

551. Plaintiff, Stephen M. Kingkade (“Kingkade”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

552. Plaintiff, Theresa L. Kinney (“Kinney”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

553. Plaintiff, Richard §. Kirchhoff (“Kirchhoff”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

554. Plaintiff, James B. Kistner (“Kistner”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

555. Plaintiff, William A. Knight (“Knight”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

556. Plaintiff, Christopher L. Knighten (“Knighten”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department’).

557. Plaintiff, Jack K. Knish (“Knish”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

558. Plaintiff, Phillip P. Konz (“Konz”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

559. Plaintiff, Johni Kosugi (“Kosugi”), 1s a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

560. Plaintiff, Patricia R. Krall (“Krall”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

561. Plaintiff, David Kries (“Kries”), is a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San

- Diego Police Department (“SDPD” or “Department”).

562. Plaintiff, Michael L. Kroesch (“Kroesch”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

563. Plaintiff, Joseph J. Krouss (“Krouss”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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564. Plaintiff, Nancy Kulinski (“Kulinski”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

565. Plaintiff, Edward P. Kunold (“Kunold”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

566. Plaintiff, James A. Kurupas (“Kurupas”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

567. Plaintiff, Demetrios G. Kyres (“Kyres”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

568. Plaintiff, Patrick Laco (“Laco”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

569. Plaintiff, David Y. Lamaku (“Lamaku”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

570. Plaintiff, Michael L. Lambert (“Lambert”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

571, Plaintiff, David L. Landman (“Landman”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

572. Plaintiff, Charles Lara (“Lara”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

573. Plaintiff, Ronald P. Larmour (“Larmour”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”). |

574. Plaintiff, Daniel P. Lasher (“Lasher”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

575. Plaintiff, Stephen J. Laursen (“Laursen”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”.

576. Plaintiff, Edmund J. LaValle II (“LaValle IT”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

577. Plaintiff, Scott M. Lawford (“Lawford”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

578. Plaintiff, David J. Lawlor (“Lawlor”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

579. Plaintiff, Gary A. Lawrence (“Lawrence”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

580. Plaintiff, Brooke P. Lawson (“Lawson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

581. Plaintiff, Vu A. Le (“Le”), is a United States citizen and resident of
the State of California. Plaintiff is currently employed by the San Diego Police
Department (“SDPD” or “Department”).

582. Plaintiff, Daniel W. Leach (“Leach”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

583. Plaintiff, John B. Leamons Jr. (“Leamons Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

584. Plaintiff, Tony C. Lee (“Lee”), is a United States citizen and resident
of the State of California. Plaintiff is currently employed by the San Diego Police
Department (“SDPD” or “Department”).

585. Plaintiff, William E. Leffler (“Leffler”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

586. Plaintiff, Sandi F. Lehan (“Lehan”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

587. Plaintiff, Larry W. Leiber (“Leiber”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

588. Plaintiff, Ronald W. LeMaster (“LeMaster”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

389, Plaintiff, Roberto G. Lemus (“Lemus”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

590. Plaintiff, Patrick A. Lenhart (“Lenhart”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

591. Plaintiff, Paul R. Lennon (“Lennon”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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592. Plaintiff, Jorge R. Leon (“Leon”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

593. Plaintiff, Michael A. Leonard (“Leonard”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

594. Plaintiff, Alberto H. Leos (“Leos”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

595. Plaintiff, Brian C. Leribeus (“Leribeus”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

596. Plaintiff, John B. Levan (“Levan”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

597. Plaintiff, Randon E. Levitt (“Levitt”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

598. Plaintiff, Kazimierz P. Lewak (“Lewak”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

599. Plaintiff, Robert A. Lewis (“Lewis”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

600. Plaintiff, Robert L. Lewis (“Lewis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

601. Plaintiff, Iledfonso Limon (“Limon”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

602. Plaintiff, Anthony J. Linardi Jr. (“Linardi Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department’”).

603. Plaintiff, Lawrence J. Lindstrom (“Lindstrom”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

604. Plaintiff, James R. Livesey (“Livesey”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

605. Plaintiff, Robert Lobato (“Lobato”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

606. Plaintiff, Henry L. Lobel (“Lobel”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

607. Plaintiff, Thomas E. Loftin (“Loftin”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

608. Plaintiff, James W. Long (“Long”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

609. Plaintiff, Timothy M. Long (“Long”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

610. Plaintiff, Gabriel A. Lopez (“Lopez”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

611. Plaintiff, Joseph A. Lopez (“Lopez”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

612. Plaintiff, Gene C. Loucks (“Loucks”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

613. Plaintiff, Darrell L. Loughrey (“Loughrey”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

614. Plaintiff, Warren L. Lovell (“Lovell”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

615. Plaintiff, Arturo Lovio (“Lovio”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

616. Plaintiff, Alfred Lozano (“Lozano”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”),

617. Plaintiff, Christopher M. Luce (“Luce”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

618. Plaintiff, Daniel D. Luth (“Luth”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

619. Plaintiff, Charles D. Lyall (“Lyall”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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620. Plaintiff, Edward D. Lynch (“Lynch”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

621. Plaintiff, Albert B. Macawili (“Macawili”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

622. Plaintiff, Edward A. MacConaghy (“MacConaghy”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

623. Plaintiff, Brett N. Macfarlane (“Macfarlane”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

624. Plaintiff, Andre D. Mack (“Mack”), is a United States citizen and
resident of the State of California, Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

625. Plaintiff, Bertha MacTiernan (“MacTiernan”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

626. Plaintiff, Peter Madrid (“Madrid”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

627. Plaintiff, Louis J. Maggi Jr. “Maggi Jr.”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

628. Plaintiff, George N. Maglaras (“Maglaras”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

629. Plaintiff, Bryan W. Manning (“Manning”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

630. Plaintiff, Cory S. Mapston (“Mapston”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

631. Plaintiff, Charles D. Marciniak (“Marciniak”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

632. Plaintiff, Mark A. Marcos (“Marcos”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

633. Plaintiff, Stephen G. Margetts (“Margetts”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

634. Plaintiff, Paul B. Marino (“Marino”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

635. Plaintiff, Terry M. Marquez (“Marquez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

636. Plaintiff, David R. Marshall (“Marshall”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

637. Plaintiff, Chrissy L. Martinez (“Martinez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

638. Plaintiff, Ruben C. Martinez (“Martinez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

639. Plaintiff, Rudy Martinez (“Martinez”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

640. Plaintiff, Boris Martinez Jr. (“Martinez Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

641. Plaintiff, Dennis L. Mason (“Mason”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

642. Plaintiff, Albert M. Massey (“Massey”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

643. Plaintiff, Christian W. Mathews (“Mathews”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

644, Plaintiff, Kathleen M. Mauzy (“Mauzy”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

645. Plaintiff, Ralph H Mauzy (“Mauzy”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

646. Plaintiff, Melvin D. Maxwell (“Maxwell”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

647. Plaintiff, Roger W. McCarvel (“McCarvel”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by

the San Diego Police Department (“SDPD” or “Department”).

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648. Plaintiff, Terry L. McClain (“McClain”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

649. Plaintiff, Michael C. McCollough (“McCollough”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

650. Plaintiff, Mark F. McCullough (“McCullough”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

651. Plaintiff, Benjamin I. McCurry (“McCurry”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

652. Plaintiff, Allen C. McDonald (“McDonald”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

653. Plaintiff, Robert R. McDonald (“McDonald”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

654. Plaintiff, Adam L. McElroy (“McElroy”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

655. Plaintiff, Guy McElroy (“McElroy”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

656. Plaintiff, Sharon A. McFalls (““McFalls”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

657. Plaintiff, James R. McGhee (“McGhee”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

658. Plaintiff, John T. McGill (“McGill”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

659. Plaintiff, Laura L. McGowan-Minto (“McGowan-Minto”), is a
United States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

660. Plaintiff, Ed M. McGuire (“McGuire”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

661. Plaintiff, Billy L. McKinney (“McKinney”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department’).

662. Plaintiff, Patrick J. McLarney (“McLarney”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department’).

663. Plaintiff, Scott D. McLellan (“McLellan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

664. Plaintiff, Jerome R. McManus (“McManus”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

665. Plaintiff, Steve L. McMillan (“McMillan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

666. Plaintiff, Joel R. McMurrin (“McMurrin”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

667. Plaintiff, Kevin D. McNamara (“McNamara”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

668. Plaintiff, Robert M. McQuien (“McQuien”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

669. Plaintiff, Carlos E. Medina (“Medina”), is a United States citizen
and resident of the State of California, Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

670. Plaintiff, Robert N. Meisner (“Meisner”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

671. Plaintiff, Maura J. Mekenas-Parga (“Mekenas-Parga”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

672. Plaintiff, Skip A. Melhorn (“Melhorn”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

673. Plaintiff, Jose L. Mercado (“Mercado”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

674. Plaintiff, Leslie C. Merrill (“Merrill”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

675. Plaintiff, Lisa M. Merzwski (“Merzwski”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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l 676. Plaintiff, Robert W. Metz (“Metz”), is a United States citizen and
2], resident of the State of California. Plaintiff is currently employed by the San
3], Diego Police Department (“SDPD” or “Department”).
4 677. Plaintiff, David R. Michalek (“Michalek”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

678. Plaintiff, Debra $. Michalek (“Michalek”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).
10 679. Plaintiff, Mark A. Michel (“Michel”), is a United States citizen and

11 resident of the State of California. Plaintiff is currently employed by the San

 

12}| Diego Police Department (“SDPD” or “Department”).

13 680. Plaintiff, William Miles (“Miles”), is a United States citizen and

14), resident of the State of California. Plaintiff is currently employed by the San

15| Diego Police Department (“SDPD” or “Department”).

16 681. Plaintiff, Christina M. Miller (“Miller”), is a United States citizen
17|| and resident of the State of California. Plaintiff is currently employed by the San
18] Diego Police Department (“SDPD” or “Department”).

19 682. Plaintiff, David W. Miller (“Miller”), is a United States citizen and
20] resident of the State of California. Plaintiff is currently employed by the San

21], Diego Police Department (“SDPD” or “Department”).

22 683. Plaintiff, Derek T. Miller (“Miller”), is a United States citizen and
23|| resident of the State of California. Plaintiff is currently employed by the San

24}, Diego Police Department (“SDPD” or “Department”).

25 684. Plaintiff, Douglas D. Miller (“Miller”), is a United States citizen and

 

26] resident of the State of California. Plaintiff is currently employed by the San

27|| Diego Police Department (“SDPD” or “Department”).
28 685. Plaintiff, Jeffrey L. Miller (“Miller”), is a United States citizen and

 

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

686. Plaintiff, Thomas P. Miller III (“Miller [i!), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

687. Plaintiff, Catherine D. Millett (“Millett”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

688. Plaintiff, Jerald E. Mills (“Mills”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

689. Plaintiff, Julie R. Mills (“Mills”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

690. Plaintiff, John W. Minto III (“Minto III”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

691. Plaintiff, Robert D. Minton (“Minton”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

692. Plaintiff, Nicholas R. Minx (“Minx”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

693. Plaintiff, Ameilia L. Mitcalf (“Mitcalf”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

694. Plaintiff, David L. Mitchell (“Mitchell”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San

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Diego Police Department (“SDPD” or “Department’).

695. Plaintiff, Gary E. Mitrovich (“Mitrovich”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

696. Plaintiff, Richard A. Moberly (“Moberly”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

697. Plaintiff, Michael J. Mobley (“Mobley”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

698. Plaintiff, Joseph W. Molinoski (“Molinoski”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

699. Plaintiff, Michael A. Moller (“Moller”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

700. Plaintiff, Gary F. Mondesir (“Mondesir”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

701. Plaintiff, William H. Montejano (“Montejano”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

702. Plaintiff, Charles M. Montierth (“Montierth”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

703. Plaintiff, Diann M. Moody (“Moody”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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704. Plaintiff, Roy D. Moody (“Moody”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

705. Plaintiff, Holly A. Moore (“Moore”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

706. Plaintiff, Robert Mora (“Mora”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

707. Plaintiff, Eric T. Morales (“Morales”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

708. Plaintiff, Ray A. Morales (“Morales”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

709. Plaintiff, Anthony R. Morasco (“Morasco”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

710. Plaintiff, Victor J. Morel (“Morel”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

711. Plaintiff, Mario Moreno (“Moreno”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

712. Plaintiff, David L. Morris (“Morris”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

713. Plaintiff, Cynthia M. Morrison (“Morrison”), is a United States

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citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

714. Plaintiff, James D. Morrison (“Morrison”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”’).

715. Plaintiff, Jay V. Moser (“Moser”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

716. Plaintiff, Jacob R. Mosteller (“Mosteller”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

717. Plaintiff, David A. Moya (“Moya”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

718. Plaintiff, Kevin B. Moyna (“Moyna”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

719. Plaintiff, Gregory R. Mrvich (“Mrvich”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

720. Plaintiff, Galen L. Munholand (“Munholand”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

721. Plaintiff, Cynthia L. Munoz (“Munoz”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

722. Plaintiff, Juan M. Munoz (“Munoz”), is a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

723. Plaintiff, Ketene Munro (“Munro”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

724. Plaintiff, George T. Muren (“Muren”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

725. Plaintiff, Sean H. Murphy (“Murphy”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

726. Plaintiff, William P. Murphy (“Murphy”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

727. Plaintiff, Gregory J. Myers (“Myers”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

728. Plaintiff, Clint J. Nafey (“Nafey”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

729. Plaintiff, Steve W. Nakanishi (“Nakanishi”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

730. Plaintiff, Jeffrey T. Napier (“Napier”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

731. Plaintiff, Raymond A. Natal (“Natal”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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732, Plaintiff, James H. Needham (“Needham”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

733. Plaintiff, Adrian Negron (“Negron”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

734. Plaintiff, Richard B. Nehrich (“Nehrich”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

735. Plaintiff, Kenneth E. Nelson (“Nelson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

736, Plaintiff, William M. Nemec (“Nemec”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

737. Plaintiff, Richard E. Nemetz (“Nemetz”), is a United States citizen
and resident of the State of California, Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

738. Plaintiff, Timothy G. Neuhaus (“Neuhaus”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

739. Plaintiff, Robert L. Newquist (““Newquist”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

740. Plaintiff, Alexander Nezgodinsky (“Nezgodinsky”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department’”).

741. Plaintiff, Jeffrey R. Nichols (“Nichols”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’’).

742, Plaintiff, Ronald W. Nichols (“Nichols”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”). |

743. Plaintiff, Robert J. Nicklo (“Nicklo”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

744. Plaintiff, Michael C. Nigro (“Nigro”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

745. Plaintiff, Gilbert L. Ninness (“Ninness”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

746, ‘Plaintiff, David S. Nisleit (“Nisleit”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

747. Plaintiff, Robert H. Nobbs (“Nobbs”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

748. Plaintiff, Patrick D. Norris (“Norris”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

749, Plaintiff, Timothy G. Norris (“Norris”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

750. Plaintiff, Lee V. Norton (“Norton”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

751. Plaintiff, Regina Y. Norton (“Norton”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

752. Plaintiff, Amber G. Nygaard (“Nygaard”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

753. Plaintiff, Eric I. Oberndorfer (““Oberndorfer”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

754. Plaintiff, Thomas K. O'Connell (“O'Connell”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

755. Plaintiff, Thomas A. Odaniell (“Odaniell”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

756. Plaintiff, Taerance Oh (“Oh”), is a United States citizen and resident
of the State of California. Plaintiff is currently employed by the San Diego Police
Department (“SDPD” or “Department”).

757. Plaintiff, Richard M. O'Hanlon (“O'Hanlon”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

758. Plaintiff, Gene F. Oliver (“Oliver”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

759. Plaintiff, Rene C. Oliver (“Oliver”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

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760. Plaintiff, Jose L. Oliveras (“Oliveras”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

761. Plaintiff, Gregory J. Olson (“Olson”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

762. Plaintiff, Shelly K. Olson (“Olson”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

763. Plaintiff, Barney C. Olson III (“Olson IIT’), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

764. Plaintiff, James F. O'Neill (“O'Neill”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

765. Plaintiff, Thomas A. Orden (“Orden”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

766. Plaintiff, Danny A. Orduno (“Orduno”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

767, Plaintiff, George M. O'Rourke (“O'Rourke”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

768. Plaintiff, Michael W. Ott (“Ott”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

769. Plaintiff, Jerry B. Owens Jr. “Owens Jr.”), is a United States

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citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

770. Plaintiff, Troy P. Owens Sr. (“Owens Sr.”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

771. Plaintiff, Michael A. Pace (“Pace”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

772. Plaintiff, Javier Padilla (“Padilla”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

773. Plaintiff, Nori T. Pappert (“Pappert”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

774. Plaintiff, Michael L. Parga (“Parga”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

775. Plaintiff, Richard A. Parrella (“Parrella”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

776. Plaintiff, Kevin S. Patrick (“Patrick”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

777. Plaintiff, Melissa M. Pavlenko (“Pavlenko”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

778. Plaintiff, Pamela G. Paxton (“Paxton”), is a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department’).

779, Plaintiff, Thomas J. Payne (“Payne”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

780. Plaintiff, Anthony M. Pellegrino (“Pellegrino”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

781. Plaintiff, Gail A. Pembleton (“Pembleton”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

782. Plaintiff, Arthur A. Perea (“Perea”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

783. Plaintiff, Jennifer L. Perea (“Perea”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

784. Plaintiff, Jesus G. Perea (“Perea”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

785. Plaintiff, Efren Peregrina (“Peregrina”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

786. Plaintiff, Curtis E. Perkins (“Perkins”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

787. Plaintiff, Jeffrey P. Peterson (“Peterson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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788. Plaintiff, Edward K. Petrick (“Petrick”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

789, Plaintiff, Duane E. Pettitt (“Pettitt”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

790. Plaintiff, Heather J. Petty (“Petty”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

791. Plaintiff, David V. Pham (“Pham”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

792. Plaintiff, Bradley L. Phelps (“Phelps”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

793. Plaintiff, George A. Phillips (“Phillips”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

794, Plaintiff, Bernie A. Piceno (“Piceno”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

795. Plaintiff, E. Michael Pidgeon (“Pidgeon”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

796. Plaintiff, Ernest J. Pierce (“Pierce”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

797. Plaintiff, Greg A. Pinarelli (“Pinarelli”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

798. Plaintiff, Carl P. Pira (“Pira’”), is a United States citizen and resident
of the State of California. Plaintiff is currently employed by the San Diego Police
Department (“SDPD” or “Department”).

799. Plaintiff, Dan R. Plein (“Plein”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

800. Plaintiff, Eric L. Pollom (“Pollom’”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

801. Plaintiff, Marcelo Populin (“Populin”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

802. Plaintiff, Lance E, Pound (“Pound”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

803. Plaintiff, Jason L. Powers (“Powers”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

804. Plaintiff, Christopher M. Poznanski (“Poznanski”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

805. Plaintiff, Wayne J. Pratt (“Pratt”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

806. Plaintiff, Michael L. Pridemore (“Pridemore”), is a United States

citizen and resident of the State of California. Plaintiff is currently employed by

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the San Diego Police Department (“SDPD” or “Department”.

807. Plaintiff, Seliza Prodigalidad (“Prodigalidad”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

808. Plaintiff, Bob T. Prutzman (“Prutzman’”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

809, Plaintiff, Michael J. Prutzman (“Prutzman”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

810. Plaintiff, Duane D. Pudgi! (“Pudgil”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

811. Plaintiff, Jesus W. Puente (“Puente”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

812. Plaintiff, Bretton J. Punches (“Punches”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

813. Plaintiff, Dalana S. Purse! (“‘Pursel”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

814. Plaintiff, John A. Queen (“Queen”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

815. Plaintiff, Colleen L. Quentin-King (“Quentin-King”), is a United
States citizen and resident of the State of California. Plaintiff is currently

employed by the San Diego Police Department (““SDPD” or “Department”).

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816. Plaintiff, Tasha K. Quest (“Quest”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

817. Plaintiff, May B. Quintanilla (“Quintanilla”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

818. Plaintiff, Yesenia P. Quintos (“Quintos”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

819. Plaintiff, Chris J. Raagas (“Raagas”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

820. Plaintiff, Michael J. Rabell (“Rabell’”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

821. Plaintiff, Ronald W. Raddetz (“Raddetz”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

822. Plaintiff, Fernando Ramirez (“Ramirez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

823. Plaintiff, Minerva Ramos (“Ramos”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

824. Plaintiff, Carlos R. Real (“Real”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

825. Plaintiff, Robert M. Redding Jr. (“Redding Jr.”), is a United States

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citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

826. Plaintiff, Craig R. Reesor (“Reesor”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”’).

827. Plaintiff, Richard H. Reichner II (“Reichner IP’), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

828. Plaintiff, James H. Renwick (“Renwick”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

829. Plaintiff, Rodolfo V. Reyes (“Reyes”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

830. Plaintiff, Julian M. Rico (“Rico”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

831. Plaintiff, Steven L. Riddle (“Riddle”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

832. Plaintiff, Ricardo M. Rivas (“Rivas”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

833. Plaintiff, Juan Rivera III] (“Rivera IIII”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

834. Plaintiff, Bryan A. Roberts (“Roberts”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (““SDPD” or “Department’).

835. Plaintiff, Elias Rodriguez (“Rodriguez”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

836. Plaintiff, Manuel Rodriguez (“Rodriguez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”.

837. Plaintiff, Ramiro O. Rodriguez (“Rodriguez”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

838. Plaintiff, Gary A. Roesink (“Roesink”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

839, Plaintiff, Daniel G. Roman (“Roman”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

840. Plaintiff, Luis A. Roman (“Roman”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

841. Plaintiff, Carlos Ronquillo (“Ronquillo”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

842. Plaintiff, Jorge A. Rosales (“Rosales”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”). |

843. Plaintiff, Angel D. Rosario (“Rosario”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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844. Plaintiff, Miguel Rosario (“Rosario”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

845. Plaintiff, Stephanie J. Rose (“Rose”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

846. Plaintiff, Edward L. Rosenbloom (“Rosenbloom”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

847. Plaintiff, Angela N. Rozsa (“Rozsa”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

848. Plaintiff, Lamar J. Rozsa Jr. (“Rozsa IJr.”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

849. Plaintiff, Jeffrey R. Ruckle (“Ruckle”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

850. Plaintiff, Renee D. Ruff (“Ruff”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

851. Plaintiff, Mariam Sadri (“Sadri’”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

852. Plaintiff, John J. Saflar (“Saflar”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

853. Plaintiff, Lem Sainsanoy (“Sainsanoy”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

854. Plaintiff, Paul H. Salas (“Salas”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

855. Plaintiff, Alfonso Salvatierra (“Salvatierra”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by .
the San Diego Police Department (“SDPD” or “Department”).

856. Plaintiff, Jorge Sanchez (“Sanchez”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

857, Plaintiff, Juan Sanchez (“Sanchez”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”.

858. Plaintiff, Scott A. Santagata (“Santagata’”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

859. Plaintiff, William J. Santarsiero (“Santarsiero”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

860. Plaintiff, Edwin Santiago (“Santiago”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

861. Plaintiff, Laura J. Santiago (“Santiago”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

862. Plaintiff, Tito L. Santos (“Santos”), is a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

863. Plaintiff, Alejandrino C. Santos III (“Santos III’), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

864. Plaintiff, Christopher M. Sarot (“Sarot”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

865. Plaintiff, Dennis Savage (“Savage”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

866. Plaintiff, Jade R. Sawyer (“Sawyer”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

867. Plaintiff, Jason A. Scally (“Scally”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department’).

868. Plaintiff, Cody K. Schaaf (“Schaaf”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

869. Plaintiff, Jack D. Schaeffer (“Schaeffer”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

870. Plaintiff, Michael J. Schaldach (“Schaldach”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

871. Plaintiff, Margaret M. Schaufelberger (“Schaufelberger”), is a
United States citizen and resident of the State of California. Plaintiff is currently

employed by the San Diego Police Department (“SDPD” or “Department”).

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872. Plaintiff, Robert M. Schenkelberg (“Schenkelberg”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

873. Plaintiff, Glen R. Scherer (“Scherer”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

874. Plaintiff, Cheryl J. Schlack (“Schlack”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

875. Plaintiff, Joel A. Schmid (“Schmid”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

876. Plaintiff, Phillip E. Schneider (“Schneider”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

877. Plaintiff, Steve D. Schnick (“Schnick”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”). |

878. Plaintiff, Paul W. Schwenn (“Schwenn”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

879. Plaintiff, Jason A. Scott (“Scott”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

880. Plaintiff, Eric P. Seiter (“Seiter”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”.

881. Plaintiff, Thomas G. Seiver (“Seiver”), is a United States citizen and

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resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (““SDPD” or “Department”).

882. Plaintiff, Lloyd A. Sentinella (“Sentinella”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

883. Plaintiff, Robert C. Shands (“Shands”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

884. Plaintiff, Patrick J. Shanley (“Shanley”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

885. Plaintiff, Arthur H. Shannon (“Shannon”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

886. Plaintiff, Christian T. Sharp (“Sharp”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

887. Plaintiff, Marvin L. Shaw (“Shaw”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

888. Plaintiff, Steven M. Shaw (“Shaw”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

889. Plaintiff, Daniel K. Shepherd (“Shepherd”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”.

890. Plaintiff, Damon E. Sherman (“Sherman”), is a United States citizen

and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

891. Plaintiff, Mark G. Sherman (“Sherman”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

892. Plaintiff, Michael S. Shiraishi (“Shiraishi”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

893. Plaintiff, Scott W. Shively (“Shively”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’’).

894, Plaintiff, Dale T. Shockley Sr. (“Shockley Sr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

895. Plaintiff, Daniel L. Shore (“Shore”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).
| 896. Plaintiff, Amalia K. Sidhu (“Sidhu”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

897. Plaintiff, Jesse D. Simeroth (“Simeroth”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

898. Plaintiff, Thomas G. Simonds (“Simonds”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

899. Plaintiff, Robert E. Simpson (“Simpson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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900. Plaintiff, Randall J. Skinn (“Skinn”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

901. Plaintiff, Charles A. Sleeper (“Sleeper”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

902. Plaintiff, Allen T. Sluss (“Sluss”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

903. Plaintiff, James Smith (“Smith”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

904. Plaintiff, James F. Smith (“Smith”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

905. Plaintiff, John C. Smith (“Smith”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

906. Plaintiff, Joseph Smith (“Smith”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

907. Plaintiff, Robert W. Smith (“Smith”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

908. Plaintiff, Russell Smith (“Smith”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

909. Plaintiff, Timothy M. Smith (“Smith”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

910. Plaintiff, William T. Smith (“Smith”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

911. Plaintiff, Daniel J. Smyth (“Smyth”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

912. Plaintiff, Sharon M. Smyth (“Smyth”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

913. Plaintiff, Joseph G. Snarponis (“Snarponis”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

914. Plaintiff, Robert W. Snead (“Snead”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’”).

915. Plaintiff, Cesar A. Solis (“Solis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

916. Plaintiff, David L. Soliven (“Soliven’”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

917. Plaintiff, Andrew Sorbie (“Sorbie”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

918. Plaintiff, Brandy A. Sorbie (“Sorbie”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

919. Plaintiff, Mark T. Soulia (“Soulia”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

920. Plaintiff, Andrew J. Spagnolo (“Spagnolo”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department’).

921. Plaintiff, Andrew E. Spear (“Spear”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

922. Plaintiff, David P. Speck (“Speck”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

923. Plaintiff, Edwin P. Speer (“Speer”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

924. Plaintiff, Wayne R. Spees (“Spees”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

925. Plaintiff, Scott C. Spillane (“Spillane”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

926. Plaintiff, David E. Spitzer (“Spitzer”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

927. Plaintiff, Michael L. Stacy (“Stacy”), is a United States citizen and
resident of the State of California, Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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928. Plaintiff, John Stadler (“Stadler”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

929. Plaintiff, Eric A. Stafford (“Stafford”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

930. Plaintiff, David W. Stafford Jr. (“Stafford Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

931. Plaintiff, Daniel Stanley (“Stanley”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

932. Plaintiff, Philip J. Stanley (“Stanley”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

933. Plaintiff, Steven Staton (“Staton”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

934. Plaintiff, Francis Steffen (“Steffen”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

935. Plaintiff, Neal A. Steffen (“Steffen”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

936. Plaintiff, Blair A. Stephens (“Stephens”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

937. Plaintiff, Cyndi L. Stetson (“Stetson”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

938. Plaintiff, William S. Stetson (“Stetson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

939. Plaintiff, James A. Stewart (“Stewart”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

940. Plaintiff, Kenneth P. Stewart (“Stewart”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

941. Plaintiff, Elliot S. Stiasny (“Stiasny”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

942. Plaintiff, Robert M. Stinson (“Stinson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

943. Plaintiff, Robert G. Stites (“Stites”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

944. Plaintiff, Ross E. Stone (“Stone”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

945. Plaintiff, Roger A. Stonier Jr. (“Stonier Jr.”), is a United States

citizen and resident of the State of California. Plaintiff is currently employed by

the San Diego Police Department (“SDPD” or “Department”).

946. Plaintiff, Jerry G. Stratton (“Stratton”), 1s a United States citizen and

resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

947. Plaintiff, John J. Stricklin (“Stricklin”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”.

948. Plaintiff, Spencer E. Sturm (“Sturm”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

949. Plaintiff, William F. Stutz (“Stutz”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

950. Plaintiff, Mark C. Sullivan (“Sullivan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

951. Plaintiff, Patrick L. Sullivan (“Sullivan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

952. Plaintiff, Thomas A. Sullivan (“Sullivan”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”.

953. Plaintiff, Robert R. Summers (“Summers”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”.

954. Plaintiff, Valari C. Summers (“Summers”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

955. Plaintiff, Colonel F. Surratt (“Surratt”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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956. Plaintiff, David M. Surwilo (“Surwilo”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

957. Plaintiff, Aleksei E. Sviridov (“Sviridov”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

958. Plaintiff, Michael J. Swanson (“Swanson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

959. Plaintiff, William S. Sweeney (“Sweeney”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

960. Plaintiff, Michael A. Sweet (“Sweet”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

961. Plaintiff, James Sweetser (“Sweetser”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

962. Plaintiff, Jeffrey D. Swett (“Swett”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

963. Plaintiff, John E. Szakara (“Szakara”), is a United States citizen and
resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department”).

964. Plaintiff, Esmeralda Tagaban (“Tagaban”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

965. Plaintiff, William D. Taitano (“Taitano”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

966. Plaintiff, Louis A. Tamagni (“Tamagni”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

967. Plaintiff, Michael T. Tansey (“Tansey”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”),

968. Plaintiff, John H. Tate (“Tate”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

969. Plaintiff, Dana D. Taylor (“Taylor”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”),

970. Plaintiff, James T. Teer (“Teer”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

971. Plaintiff, Victor J. Tejeda (“Tejeda”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

972. Plaintiff, Karen-Anne Tenney (“Tenney”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

973. Plaintiff, Marvin E. Terry (“Terry”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

974, Plaintiff, Christopher M. Tews (“Tews”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department’).

975. Plaintiff, Alvin Thach (“Thach”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

976. Plaintiff, Joseph I.T. Thomas (“Thomas”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

977. Plaintiff, Joycelyn S. Thomas (“Thomas”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

978. Plaintiff, George R. Thomas III (“Thomas III”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

979. Plaintiff, Freddie B. Thornton Jr. (“Thornton Jr.”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

980. Plaintiff, Johanna M. Thrasher (“Thrasher”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

981. Plaintiff, Linda H. Tibbetts (“Tibbetts”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

982. Plaintiff, Lee D. Timmerman (“Timmerman”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

983. Plaintiff, Linda L. Tousley (“Tousley”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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984. Plaintiff, Merrit M. Townsend (“Townsend”), is a United States
citizen and resident of the State of California, Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

985. Plaintiff, John M. Tracy (“Tracy”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

986. Plaintiff, John A. Trent (“Trent”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department’).

987. Plaintiff, James F. Tulumello (“Tulumello”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

988. Plaintiff, Meghan R. Turi (“Turt”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

989. Plaintiff, Kimberly K. Ukuzato Easto (“Ukuzato Easto”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

990. Plaintiff, Thomas G. Underwood (“Underwood”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

991. Plaintiff, Edwin Valentin (“Valentin”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

992. Plaintiff, Ramon Valentin (“Valentin”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

993. Plaintiff, Wendy J. Valentin (“Valentin”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

994, Plaintiff, Louis E. Valenzuela (“Valenzuela”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

995. Plaintiff, Mark A. Van Abel (“Van Abel”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

996. Plaintiff, Janine A. Van Antwerp (“Van Antwerp”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”),

997. Plaintiff, Edward F. Van Laningham (“Van Laningham”), is a
United States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department’”).

998. Plaintiff, Rodney L. Vandiver (“Vandiver”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

999. Plaintiff, James G. Varonfakis (“Varonfakis”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1000. Plaintiff, Kevin G. Vasquez (“Vasquez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

1001. Plaintiff, Linda G. Vasquez (“Vasquez”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

1002. Plaintiff, Christopher M. Velovich (“Velovich”), is a United States

citizen and resident of the State of California. Plaintiff is currently employed by

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the San Diego Police Department (“SDPD” or “Department”).

1003. Plaintiff, Michelle R. Velovich (“Velovich”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”.

1004. Plaintiff, Kenneth J. Verdone (“Verdone”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department’).

1005. Plaintiff, Edward M. Verduzco (“Verduzco”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1006. Plaintiff, Richard Vergara (“Vergara”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”). |

1007. Plaintiff, Daniel R. Vile (“Vile”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1008. Plaintiff, Patrick T. Vinson (“Vinson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1009. Plaintiff, John B. Vivoli (“Vivolt’”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1010. Plaintiff, Duane A. Voss (“Voss”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1011. Plaintiff, Gary R. Voss (“Voss”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

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1012. Plaintiff, Gerard M. Waclawek (“Waclawek”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1013. Plaintiff, Sylvester Wade Jr. (“Wade Jr.”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1014. Plaintiff, Kevin L. Wadhams (“Wadhams”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1015. Plaintiff, Elyse S. Wagner (“Wagner”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1016. Plaintiff, Gaye D. Wagner (“Wagner”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1017. Plaintiff, Thomas Wagner (“Wagner”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1018. Plaintiff, Kristopher M. Walb (“Walb”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1019. Plaintiff, Curtis J. Waldecker (“Waldecker”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1020. Plaintiff, Steven R. Waldheim (“Waldheim”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1021. Plaintiff, David R. Walker (“Walker”), is a United States citizen

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and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1022. Plaintiff, Daniel K. Wall (“Wall”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1023. Plaintiff, Mitchell B. Wallace (“Wallace”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1024. Plaintiff, Gregory H. Walton (“Walton”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”). .

1025. Plaintiff, Deanna M. Warrick (“Warrick”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1026. Plaintiff, Sean J. Waterman (“Waterman”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1027. Plaintiff, Donald E. Watkins (“Watkins”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1028. Plaintiff, Mark S. Watkins (“Watkins”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1029. Plaintiff, Victoria D. Watkins (“Watkins”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1032. Plaintiff, Dean C. Way (“Way”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

1034. Plaintiff, Matthew E. Weathersby (“Weathersby”), is a United
States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (“SDPD” or “Department”).

1035. Plaintiff, Sedonia B. Weathersby (“Weathersby”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1036. Plaintiff, Stephen E. Webb (“Webb”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1037. Plaintiff, Elizabeth D. Weber (“Weber”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1038. Plaintiff, Carl W. Weber III (“Weber III”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1039. Plaintiff, Arthur L. Weismann (“Weismann”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1040. Plaintiff, Jordan V. Wells (“Wells”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1041. Plaintiff, Robert D. Wells (“Wells”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1042. Plaintiff, Diane Wendell (“Wendell”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

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1043. Plaintiff, Daniel B. Westney (“Westney”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1044. Plaintiff, Teofilo Weston (“Weston”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (““SDPD” or “Department”).

1045. Plaintiff, Raymond J. Wetzel (“Wetzel”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1046. Plaintiff, Scott S. Wilkinson (“Wilkinson”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1047. Plaintiff, Alphonso Williams (“Williams”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1048. Plaintiff, Brent L. Williams (“Williams”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1049. Plaintiff, David W. Williams (“Williams”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1050, Plaintiff, Donald C. Williams (“Williams”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1051. Plaintiff, Michael D. Williams (“Williams”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1052. Plaintiff, Michael R. Williams (“Williams”), is a United States

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citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1053. Plaintiff, Michael S. Williams (“Williams”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1054. Plaintiff, Timothy R. Williams (“Williams”), is a United States
citizen and resident of the State of California. Plaintiffis currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1055. Plaintiff, Darryl L. Willis (“Willis”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1056. Plaintiff, Jeff D. Willkomm (“Willkomm”’), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1057. Plaintiff, Robert E. Wills (“Wills”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1058. Plaintiff, Dan M. Wilson (“Wilson”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1059. Plaintiff, Frederick L. Wilson (“Wilson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1060. Plaintiff, Lawrence E. Wilson (“Wilson”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1061. Plaintiff, David J. Winans (“Winans”), is a United States citizen

and resident of the State of California. Plaintiff is currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

1062. Plaintiff, Eric A. Wiseman (“Wiseman”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1063. Plaintiff, Daniel A. Witt (“Witt”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1064. Plaintiff, Dawn E. Wolfe (“Wolfe”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1065. Plaintiff, Karin D. Wong (“Wong”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1066. Plaintiff, Kevin G. Wong (“Wong’”’), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1067. Plaintiff, Thomas A. Wood (“Wood”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1068. Plaintiff, Steven M. Woodrow (“Woodrow”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1069. Plaintiff, Judith L. Woods (“Woods”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1070. Plaintiff, William H. Woods IV (“Woods IV”), is a United States

citizen and resident of the State of California. Plaintiff is currently employed by

the San Diego Police Department (“SDPD” or “Department”).

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1071. Plaintiff, John M. Wray (“Wray”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1072. Plaintiff, Stephen W. Wright (“Wright”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San
Diego Police Department (“SDPD” or “Department’).

1073. Plaintiff, Jeffrey J. Wuehler (“Wuehler”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1074. Plaintiff, Michael V. Yaptangco (“Yaptangco”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1075. Plaintiff, Rufino Yaptangco (“Yaptangco”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1076. Plaintiff, George A. Youkhanna (“Youkhanna”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1077. Plaintiff, Adam G. Young (“Young”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1078. Plaintiff, Bryan V. Young (“Young”), is a United States citizen and
resident of the State of California. Plaintiff 1s currently employed by the San
Diego Police Department (“SDPD” or “Department’).

1079. Plaintiff, Mathew T. Zaitz (“Zaitz’”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1080. Plaintiff, Peter J. Zajda (“Zajda”), is a United States citizen and

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resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1081. Plaintiff, Steven S. Zasueta (“Zasueta”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1082. Plaintiff, Felix Zavala (“Zavala”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1083. Plaintiff, Jason P. Zdunich (“Zdunich”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1084. Plaintiff, Matthew T. Zdunich (“Zdunich”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1085. Plaintiff, Angela M. Zdunich-Goldman (“Zdunich-Goldman”), is a
United States citizen and resident of the State of California. Plaintiff is currently
employed by the San Diego Police Department (““SDPD” or “Department”).

1086. Plaintiff, Monica Zepeda (“Zepeda”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1087, Plaintiff, Timothy P. Zetterlund (“Zetterlund”), is a United States
citizen and resident of the State of California. Plaintiff is currently employed by
the San Diego Police Department (“SDPD” or “Department”).

1088. Plaintiff, Evan B. Ziegler (“Ziegler”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1089. Plaintiff, Jeffrey P. Ziegler (“Ziegler”), is a United States citizen
and resident of the State of California. Plaintiffis currently employed by the San

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Diego Police Department (“SDPD” or “Department”).

1090. Plaintiff, James A. Zirpolo (“Zirpolo”), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1091. Plaintiff, Laura M. Zizzo (“Zizzo”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1092. Plaintiff, Louis M. Zizzo (“Zizzo”), is a United States citizen and
resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

1093. Plaintiff, Edward M. Zwibel (“Zwibel ), is a United States citizen
and resident of the State of California. Plaintiff is currently employed by the San
Diego Police Department (“SDPD” or “Department”).

Defendant, CITY OF SAN DIEGO (“City”), is a political subdivision of the State
of California located within California and is an employer whose employees are
engaged in commerce within the meaning of 29 U.S.C. § 207(a) and as defined in
29 U.S.C. §§ 203(d) and 203(e)(2)(C).

1094. Defendant, CITY OF SAN DIEGO (“City”), is a political
subdivision of the State of California located within California and is an employer
whose employees are engaged in commerce within the meaning of 29 U.S.C. §
207(a) and as defined in 29 U.S.C. §§ 203(d) and 203(e)(2)(C).

1095. Plaintiffs assert they are ignorant of the names and capacities of
the individuals or entities sued herein as Does | through 100, who may have been
involved in the unlawful acts alleged herein. Plaintiffs allege that each of the
fictitiously named Defendants sued herein are legally responsible in some manner
for the events and happenings referred to herein, and that Plaintiffs’ damages as

alleged were proximately caused by their conduct. The use of Doe defendants is

 

permitted under California Code of Civil Procedure § 474, and the Doe defendants

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were responsible in some manner or conspired to do the same.

1096. The acts and omissions of the Defendants who are or may be
identified as employees and/or officials of the City, were undertaken in accordance
with and represent the official policies of the City and/or were undertaken by
employees whose acts and omissions may be fairly said to represent the official
policies of the City.

1097. Defendants, and each of them, except the City Defendant, which
is sued as an entity, are sued in their individual and official capacities.

1098. Unless otherwise indicated, each Defendant conspired, committed,
ordered, directed, supervised, allowed, planned, ratified, concealed, organized, or
otherwise participated in one or more of the unlawful acts complained of herein.

COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

1099, Plaintiffs herein file this action on behalf of themselves and on
behalf of all other similarly situated persons currently or formerly employed by the
defendants to recover from defendants unpaid overtime compensation, liquidated
damages and/or any other recovery authorized under the FLSA and such
supplemental claims as they may have.

GENERAL CLASS ACTION ALLEGATIONS UNDER RULE 23

1100. Plaintiff's also bring this action on behalf of themselves, as well as
each and all other persons similarly situated, and thus seeks class certification
under Rule 23 of the Federal Rules of Civil Procedure.

1101. Plaintiffs and the class that they represent are collectively referred
to herein as “Plaintiffs’ Class.” Plaintiffs reserve the right to add additional class
representatives.

1102. There is a well-defined community of interest in the questions of
law and/or fact affecting the Plaintiffs’ Class in that common questions of law and
fact predominate over any questions of law or fact that may affect only individual

class members.

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1103. In addition to the concerted and joint activities alleged elsewhere
herein, Plaintiffs allege that each of the Defendants engaged in the same practices
and have adopted the same policies with regard to their wrongful acts against
Plaintiffs’ Class as alleged herein.

1104. Plaintiffs are competent and capable of fairly and adequately
representing the interests of the class.

1105. Maintaining this lawsuit as a class action is a fair and efficient
method for adjudication of the controversies involved and will benefit the parties
and the court for the following reasons:

a. the bringing of separate actions involving these common issues
of fact and law would prove more costly and inefficient than bringing this single
action;

b. separate actions will create the risk of disparate and conflicting
results;

c. the individual plaintiffs in the class are so numerous that
joinder of all such persons is impracticable, making the disposition of their claims
in a single class action, instead of numerous individual actions, of benefit to the
parties;

d. the individual amounts involved are difficult to ascertain in
relation to the difficulty to the litigation required, so that individual actions or
other individual remedies are impracticable;

e. the costs of litigating individual actions would be much higher
than the costs of litigating this class action and would unreasonably consume the

amounts that would be recovered;
f, the burden imposed on the judicial system by numerous
individual actions would far outweigh any burden imposed on the system by the

class action;

g. Defendants will benefit in that they will not be compelled to

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respond to multiple duplicative complaints, motions, interrogatories, demands to
produce, depositions, etc.; and

h. the prosecution of individual remedies by members of the
plaintiffs’ class in separate actions would tend to establish inconsistent standards
of conduct for the Defendants and to result in the impairment of class members’
rights and the disposition of their interests through actions to which they were not
parties.

1106. Plaintiffs have incurred, and during the pendency of this action
will continue to incur, expenses for attorneys’ fees and costs herein. Such
attorneys’ fees and costs are necessary to the prosecution of this action and will
result in a benefit to each of the members of the class.

STATEMENT OF THE FACTS

1107. ~ Atall times herein relevant, Defendants were employers within the
definition of the FLSA and California law, and Plaintiffs were at all times herein
relevant employees of defendants within the definition of the FLSA and California
law.

1108. Atall times herein relevant, Defendants’ annual gross volume of
business done is not less than $500,000.

1109. Throughout employment with the City, Plaintiffs have been
required to work hours constituting “overtime” as that term is defined by the
FLSA and California labor law. These hours include pre-shift and post-shift
activities including but not limited to preparing or completing arrest reports,
preparing for court appearances, driving to and from court, cleaning weapons,
maintaining and furnishing required uniforms, weapons, and gear, and appearing
at required classes after chargeable accidents. Sergeants and others were also
required to prepare for roll call and review late reports. These hours were worked
with the knowledge, consent, and acquiescence of supervisors. It was integral and

indispensable to Plaintiffs’ work as an officer that this work be performed.

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Though Defendants were aware that Plaintiffs performed this compensable work,
Plaintiffs were not compensated for these additional hours of work.

1110. On frequent occasions, Plaintiffs would be required to work
through Code 7 “free time” and breaks and were denied overtime as a result of
missing the Code 7 “free time” and breaks actually worked. The Code 7's and
breaks were not compensated at the time and a half rate as required under the
FLSA. A thirty minute meal period per five (5) hour work period and applicable
breaks were not provided for as required under the California Labor Code.

1111. Defendants knew or should have known that Plaintiffs were
working
overtime without compensation because Defendant’s policy of denying Code 7's
and breaks and Defendant’s policy of non-payment for work performed before and
after shifts was widespread throughout the Department.

1112. Plaintiffs allege that at all times herein relevant, Defendants were
knowledgeable about the requirements of the Fair Labor Standards Act of 1938,
29 U.S.C. §§ 201 et seq. to pay overtime compensation at a rate of one and one-
half times the regular rate, and knew or should have known that Plaintiffs and
class members worked overtime hours in a workweek. Therefore, Plaintiffs allege
that at all times herein mentioned, defendants knew that they had a duty to
compensate Plaintiffs and class members at the proper overtime rates as required
by the FLSA and a duty to provide compensation for missed Code 7's and breaks,
and that defendants had the financial ability to pay such overtime compensation,
but willfully, knowingly and intentionally failed to do so.

1113. Plaintiffs also bring this action under California Labor Code §
2802 to recover damages for purchasing and/or maintaining uniforms and gear
Defendants required current and former employees of Defendants to wear and
maintain. Plaintiffs and others similarly situated suffered damages in direct

consequence of the discharge of their duties or of their obedience of the directions

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of Defendants.

1114, Atall times herein relevant, Defendants were subject to Labor
Code
§ 2802 and the relevant regulations governing the employer’s duty to indemnify
his or her employee for all necessary expenditures or losses incurred by the
employee in direct consequence of the discharge of his or her duties, or of his or
her obedience to the directions of the employer.

1115. Atall times herein relevant, the relevant Memorandum of
Understanding states that each employee in the bargaining unit shall be required to
obtain and maintain in a manner acceptable to the City the following items: Pants,
tie, belt, shirt (short or long sleeve), belt and holster, ammunition pouch or speed-
loaders and pouch, 4 pistol belt keepers (hereinafter “uniform”). At all times
herein relevant, the relevant Memorandum of Understanding (“MOU”) states that
the City shall pay those sworn members of the Police Department who have
completed 12 months as a Police Officer I as of September 1, and who are
available for duty assignments on September 1, the sum of $900 for the
maintenance and replacement of the uniform; the sum of $425 for officers
assigned to the mounted horse; the sum of $300 for officers assigned to SWAT;
the sum of $425 for officers assigned to the motorcycle squad, and other sums for
officers assigned to Harbor Patrol, Canine Unit, Bike Patrol, and Core Instructors.

1116. Plaintiffs allege that the $900 and other sums referred to above are
treated as wages and are therefore diminished to a variable actual amount
(depending on an officer’s tax bracket) but at an approximate average amount of
$650-$680 - for the $900 sum. Plaintiffs allege the City has and continues to
wrongfully tax these sums, causing Plaintiffs to be wrongfully deprived of the full
sum of $900 and other amounts for the obtaining, maintenance, and replacement
of the uniform, as dictated by the MOU. Plaintiffs allege that this taking, without

any hearings or due process rights, is an ongoing and continuous taking of monies

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due to Plaintiffs.

1117. Defendant has sought to avoid the payment of wages and credits
and has failed to include the uniform allowance in the calculation of base pay.
Defendant has willfully and/or negligently improperly calculated base pay,
overtime wages, and credits such as education incentives for four years last past
under the MOU and three years under the FLSA.

1118. Plaintiffs allege that Defendants require Plaintiffs to obtain the
uniform at the inception of their status as police officer, using out of pocket
expenses, due to Defendant’s failure to reimburse said expenses until an officer
has completed 12 months of duty. Plaintiffs allege that the obtaining of the
uniform was a necessary expenditure incurred by the employee in direct
consequence of the discharge of his or her duties, or of his or her obedience to the
directions of the employer. Plaintiffs allege that, even after 12 months of duty, the
entire sum of $900 and other sums is not properly reimbursed for obtaining the
uniform due to Defendant’s wrongfully withholding a portion of the sum by
taxation. Plaintiffs allege that the amount actually provided, whether before or
after withholding, is insufficient for obtaining the uniform due to Defendant’s
wrongfully withholding of the sum by taxation and/or due to the cost of obtaining,
along with the maintenance and replacement of the uniform, exceeding the amount
actually received. Defendants falsely state that the $900 that is taxed is a
nontaxable reimbursement on the one hand, yet Defendants tax it as payroll and, in
all other aspects, treat it as payroll.

1119. Plaintiffs allege that proper maintenance of the uniform requires a
dry cleaning, iron, wash, tumble or drip dry depending on the item. Plaintiffs
allege that continuous maintenance of uniforms was a necessary expenditure
incurred by the employee in direct consequence of the discharge of his or her
duties, or of his or her obedience to the directions of the employer. Plaintiffs

allege that Defendants require that Plaintiffs maintain the uniform using out of

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pocket expenses, due to Defendant’s failure to reimburse said expenses until an
officer has completed 12 months of duty. Plaintiffs allege that the entire sum of
$900 is not properly reimbursed for maintaining the uniform due to Defendant’s
wrongfully withholding a portion of the sum by taxation. Plaintiffs allege that the
amount actually provided, whether before or after withholding, is insufficient for
maintaining the uniform due to Defendant’s wrongfully withholding of the sum by
taxation and/or due to the cost of maintenance, along with the initial obtaining and
replacement of the uniform, exceeding the amount actually received.

1120. Plaintiffs allege that Defendants require Plaintiffs to replace the
uniform, using out of pocket expenses, due to Defendant’s failure to reimburse
said expenses until an officer has completed 12 months of duty. Plaintiffs allege
that continuous replacement of uniforms was a necessary expenditure incurred by
the employee in direct consequence of the discharge of his or her duties, or of his
or her obedience to the directions of the employer. Plaintiffs allege that the entire
sum of $900 is not properly reimbursed for replacement of the uniform due to
Defendant's wrongfully withholding a portion of the sum by taxation. Plaintiffs
allege that the amount actually provided, whether before or after withholding, is
insufficient for replacement of the uniform due to Defendant’s wrongfully
withholding of the sum by taxation and/or due to the cost of maintenance, along
with the initial obtaining and replacement of the uniform, exceeding the amount
actually received.

1121. In addition to the obtaining, maintenance, and replacement of the
above uniform, as dictated by the MOU, Defendants required Plaintiffs to wear
shoes of certain specification. Defendants required Plaintiffs to shine, clean and
otherwise maintain shoes. With the exception of rain boots, the shoes were not
provided by Defendants. Socks were also not provided by Defendants.
Defendants required Plaintiffs to wear the aforementioned shoes and socks at all

times Plaintiffs were performing their duties in their employment with Defendants,

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yet failed to reimburse Plaintiffs for expenses in obtaining, maintenance, and
replacement of said items.

1122. Plaintiffs allege that Defendants required Plaintiffs to purchase

weapons cleaning gear at least once every three (3) years at the cost of
approximately $26.99 for each purchase. Defendants failed to provide the
maintenance of the weapons or otherwise properly, sufficiently, and/or timely
reimburse Plaintiffs for the purchase of the weapons cleaning gear and weapons,
including but not limited to: motor officers’ requirement to purchase a cleaning
kit, a jack at the cost of approximately $200, and a cover at a cost of
approximately $100; SWAT officers’ precision sniper rifle with sand pillow or
tripod at approximately $1500-$2000 which officers are encouraged to purchase;
223 Caliber Bushmaster Tactical Rifle (approximately $1000 with case) and
ammunition (approximately $75-100 per month); Colt AR-15 (approximately
$1500 per month) and case and ammunition costs; or the Ruger (Ranch Style 9
mm rifle) at approximately $400 plus approximately $100 for the case and
ammunition at approximately $75-100 per month, as it appears that the
Department distributes only 2 Ruger rifles per command; and Detectives’ holsters,
flashlight, and holder along with safety equipment mandated by State law.

1123. Plaintiffs allege that Defendants required Plaintiffs to wear the
aforementioned uniform as a matter of advertising, public image, and some other
business function. Plaintiffs allege that weapons, cases, ammunition, and weapons
cleaning gear are necessary expenditures or losses incurred by the employee in
direct consequence of the discharge of his or her duties, or of his or her obedience
to the directions of the employer. Plaintiffs allege that CA Labor Code §2802 and
the relevant regulations require Defendants to furnish and maintain the
aforementioned uniform, weapons, and gear, and, alternatively, pay or properly,
sufficiently and timely reimburse Plaintiffs for expenses incurred in acquiring and

maintaining the uniform, weapons, and gear.

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1124. Plaintiffs allege that Defendants were aware of their legal
obligations to furnish and maintain uniforms, weapons, and gear and to reimburse
the employees for expenses incurred in acquiring and maintaining uniforms,
weapons, and gear. Therefore, Plaintiffs allege that Defendants wilfully and
intentionally failed to comply with the legal requirements respecting the costs of
furnishing and maintaining uniforms, weapons, and gear.

FIRST CLAIM FOR RELIEF
FOR WILLFUL VIOLATION OF 29 U.S.C. § 207
(Against All Defendants)

1125. Plaintiffs reassert and reallege the above paragraphs as though
fully set forth herein and incorporates said paragraphs herein by reference.

1126. Although defendants had been apprized of the law regarding the
payment of hours covered by the FLSA, defendants failed to pay Plaintiffs for all
of actual hours worked. Defendants knew or should have known that Plaintiffs
were working overtime because, among other things, they knew the requirements
of the job. Notwithstanding such knowledge, defendants failed to compensate
Plaintiffs at the rate of one and one-half times the regular rate of pay for all hours
worked overtime. Defendants, and each of them, have either recklessly or
knowingly and intentionally failed to properly compensate Plaintiffs for the all of
the overtime hours Plaintiffs worked.

1127. In doing all the things described and alleged, defendants, and each
of them, deprived Plaintiffs, and other similarly situated employees, of their rights,
privileges and immunities secured to them by federal law which clearly sets forth
that they were entitled to be paid at the rate of one and one-half times the regular
rate of pay for all overtime hours worked. Defendants knew, or should have
known, that their reckless and/or willful and intentional failure to pay Plaintiffs’
overtime violates these rights, privileges and immunities.

1128. Asadirect and proximate result of defendants’ actions and

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inactions, Plaintiffs and other similarly situated employees have been damaged,
and are entitled to compensatory and/or liquidated damages in an amount
according to proof at trial including, but not limited to, a sum equivalent to and in
addition to their unpaid compensation for the three years preceding the filing of
this complaint as required by 29 U.S.C. § 216(b), as well as attorney fees and
costs.
SECOND CLAIM FOR RELIEF
FOR WILLFUL VIOLATION OF § 207(a)
OF THE FAIR LABOR STANDARDS ACT
(Against All Defendants for the Late Payment of Overtime)

1129. Plaintiffs reassert and reallege the above paragraphs as though
fully set forth herein and incorporates said paragraphs herein by reference.

1130. Defendants, and each of them, have either recklessly or knowingly
and intentionally failed and refused to compensate Plaintiffs and all other similarly
situated persons for overtime compensation earned in a particular work period by
the regular pay day for the period in which the work ended.

1131. Defendants, and each of them, have delayed the payment of
overtime for a period longer than is reasonably necessary for them to compute and
arrange for payments of the amounts due. As set forth above, defendants knew or
should have known that Plaintiffs were working overtime in non-exempt jobs
without overtime compensation. Notwithstanding such knowledge, defendants,
and each of them, failed to pay Plaintiffs for overtime hours worked in a timely
manner as required under the FLSA.

1132. Although defendants have been apprized of the law regarding the
payment of hours covered by the FLSA, defendants routinely failed to compensate
Plaintiffs for overtime in a timely manner.

1133. In doing all the things described and alleged, defendants, and each

of them, deprived Plaintiffs and similarly situated persons of their rights,

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privileges and immunities secured to them by federal law which clearly sets forth
that Plaintiffs are entitled to be paid for overtime hours worked in a workweek by
the regular pay day for the period in which such workweek ended. Defendants
knew or should have known that their reckless and/or willful and intentional
failure and refusal to pay in a timely manner for the overtime worked by Plaintiffs
and others violates these rights, privileges and immunities.

1134. Asa direct and proximate result of defendants’ actions and
inactions, Plaintiffs and other similarly situated persons have been damaged, and
are entitled to compensatory and/or liquidated damages in an amount according to
proof including, but not limited to, a sum equivalent to and in addition to their
overtime compensation which was paid late for the three years preceding the date
of their opt-in into the present action as required by 29 U.S.C. § 216(b), plus
attorney fees and costs.

THIRD CLAIM FOR RELIEF
FOR VIOLATION OF CALIFORNIA
LABOR CODE § 512
(Against All Defendants)

1135. Plaintiffs reassert and reallege the above paragraphs, as if fully set
forth and incorporates said paragraphs herein by reference.

1136. Defendants’ conduct described in this Complaint violates the
provisions of California Labor Code § 512 which provide that it is unlawful for an
employer to employ an employee for a work period of more than five hours per
day without providing the employee with a meal period of not less than 30 minutes
or a work period of more than 10 hours per day without providing the employee
with a second meal period of not less than 30 minutes.

1137. During employment by Defendants, Plaintiffs and the other class
members consistently worked more than five hours per day without a meal period

of 30 minutes or a work period of more than 10 hours per day without providing

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the employee with a second meal period of not less than 30 minutes for which they
were not paid overtime compensation pursuant California law. Despite the hours
worked by Plaintiffs and the class members, defendants willfully, in bad faith, and
in knowing violation of the California Labor Code, failed and refused to allow the
meal period(s) and failed to pay the lawfully required overtime compensation
premium. Defendants knew or should have known that Plaintiffs were working
through their meal period (Code 7's) without compensation due to knowledge of
the tremendous workload imposed upon the Plaintiffs and due to the understaffed
nature of the Department. Defendants, and each of them, have either recklessly or
knowingly and intentionally failed to comply with Labor Code § 512.

1138. | Defendants’ failure to allow the meal period and/or resulting
overtime compensation premium as a result thereof as required by the applicable
California Labor Code, violates the provisions of California Labor Code § 512 and
is unlawful.

1139. Therefore, Plaintiffs and other class members are entitled to
recover from defendants injunctive relief, applicable penalties, the unpaid
overtime compensation as a result thereof, plus interest on that amount, reasonable
attorney fees, and costs of this suit allowable under the California Labor Code.

CLASS ALLEGATIONS

1140. Plaintiffs also brings this action on behalf of themselves, as well
as each and all other persons similarly situated, and thus seeks class certification
under Rule 23 of the Federal Rules of Civil Procedure with respect to the state law
claims for all similarly situated persons residing in the State of California during
the relevant statutory period.

1141. The class consists of all current and former employees of the San
Diego Police Department, who are either now, or have been in the past three years
worked in excess of 5 hours in a workday without being provided with a meal

period of not less than 30 minutes or a work period of more than 10 hours per day

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without being provided with a second meal period of not less than 30 minutes
and/or were not compensated with the lawful overtime premium as a result
thereof. Plaintiffs allege that several thousands of such persons reside or resided
in California during their employment with Defendant and therefore are so
numerous as to make it impracticable to bring them all before the Court. The right
which is the subject of this action is common to all of the current and former
employees who worked for defendants. There are questions of law and fact
presented herein which are common to the entire class of persons represented by
Plaintiffs, and Plaintiffs’ claims, as hereinafter set forth, are typical of the claims
of all class members. Plaintiffs are qualified to, and will, fairly and adequately
protect the interests of each class member.

1142. This action is maintainable by Plaintiffs under Rule 23(b)(3) as a
class action because the questions of law and fact common to the class members
predominate over any questions affecting individual members and, on balance, a
class action is superior to other methods available for adjudicating the
controversy. There is a well defined community of interest in the litigation and the
class is easily ascertainable:

a. Numerosity: The Plaintiff class is so numerous that the
individual joinder of all members is impractical under the circumstances of this
case. While the exact number of class members is unknown to Plaintiffs, Plaintiffs
allege that several thousand current and former plaintiffs resided in California
during their employment by Defendant. Such persons were denied appropriate
meal periods during the period covered by this action;

b. Common questions predominate: The right which is the
subject of this action is common to all of the current and former employees who
worked for defendant . There are questions of law and fact presented herein which
are common to the entire class of persons represented by Plaintiffs, and Plaintiffs’

claims, as hereinafter set forth, are typical of the claims of al! class members

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including, but not limited to:

i) Whether defendants’ practice of not providing meal periods to
employees who share common classifications, duties, and
responsibilities, was unlawful; and

ii) Whether defendants unlawfully failed to pay overtime wages to
the class members as a result thereof.

c. Typicality: Plaintiffs’ claims are typical of the claims of the
class members. Plaintiffs and the members of the class sustained damages arising
out of defendants’ common practice of failing to provide meal periods and/or
overtime compensation as a result thereof. Plaintiffs, like the other class members,
routinely worked more than five hours per day without a meal period of not less
than 30 minutes and/or 10 hours per day without a second meal period of not less
than 30 minutes during the period covered by this action and were routinely
denied their rightfully earned overtime pay. Plaintiffs performed the same duties
and had the same responsibilities as the other class members.

d. Adequacy: Plaintiffs are qualified to, and will, fairly and
adequately protect the interests of each class member. Plaintiffs have no interest
that is adverse to the interests of the other class members.

e. Superiority: Class action adjudication is superior to other
available methods because class action will achieve economies of time, effort, and
expense as compared to separate lawsuits, and avoid inconsistent outcomes,
because the same issues can be adjudicated in the same manner for the entire class.
Plaintiffs are currently unaware of any pending litigation commenced by any class
member involving the same issues in this Complaint.

f. Public Policy Consideration: Employers throughout the United
States as well as California violate meal period requirements and wage and hour

laws every day. Current employees are often afraid to assert their rights out of fear

of direct or indirect retaliation. Former employees are fearful of bringing actions

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because they perceive their former employers can damage their future endeavors
through negative references and other means. Class actions provide the class
members who are not named in the complaint with a type of anonymity that allows
for the vindication of their rights.

1143. Plaintiffs request that absent class members be notified by the best
notice practicable under the circumstances, including individual notice to all
members who can be identified through reasonable effort.

FOURTH CAUSE OF ACTION
FOR VIOLATION OF CALIFORNIA LABOR CODE § 2802
(Against All Defendants)

1144. Plaintiffs re-allege all preceding paragraphs and incorporate said
paragraphs by this reference as though they were fully set forth herein in their
entirety.

1145. California Labor Code § 2802 provides that “[a]n employer shall
indemnify his or her employee for all necessary expenditures or losses incurred by
the employee in direct consequence of the discharge of his or her duties, or of his
or her obedience to the direction of the employer.”

1146. Although Defendants had been appraised of the law regarding
reimbursement of all expenses incurred by employees in the performance of their
duties under their employment, pursuant to Labor Code § 2802, Defendants failed
to adequately furnish and maintain the uniform Defendants required Plaintiffs to
wear, and failed to properly and timely reimburse Plaintiffs for the expenses
incurred in acquiring and/or maintaining the uniform, weapons, and gear.
Defendants, and each of them, have either recklessly or knowingly and
intentionally failed to comply with Labor Code § 2802.

1147. Asa direct and proximate result of Defendants’ actions and
omissions, Plaintiffs and all those similarly situated current and former employees

of Defendants have been damaged, and are entitled to compensatory and/or other

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damages, including reasonable attorneys’ fees and costs, as well as civil penalties,

as applicable, for the relevant statutory period, in the amounts according to proof

 

at trial.
CLASS ALLEGATIONS
1148. Plaintiffs bring this action on behalf of themselves, as well as each
and all other persons similarly situated, and thus seeks class certification under

Rule 23 of the Federal Rules of Civil Procedure with respect to violation of Labor
Code § 2802 claims herein alleged for all similarly situated persons residing in any
state that Defendants reside and/or operate business in the United States of
America during the relevant statutory period.

1149. Plaintiffs are members of the class they represent. The class
includes members of the San Diego Police Department who were not provided
indemnification for necessary expenditures incurred in direct consequence of the
discharge of his or her duties or his or her obedience to the directions of the
employer as is required by Defendants in violation of California Labor Code §
2802 as herein alleged.

1150. — This action is maintainable by Plaintiffs under Rule 23(b)(3) as a
class action because the questions of law and fact common to the class members
predominate over any questions affecting individual members and, on balance, a
class action is superior to other methods available for adjudicating the
controversy. There is a well defined community of interest in the litigation and the
class is easily ascertainable:

a. Numerosity: The members of the Plaintiffs’ Class are so
numerous that the individual joinder of all members is impractical under the
circumstances of this case. While the exact number of class members is unknown
to Plaintiffs at this time, Plaintiffs allege that several thousand similarly situated
current and former employees did not receive indemnification for necessary

expenditures incurred in direct consequence of the discharge of his or her duties or

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his or her obedience to the directions of the employer.

b. Common questions predominate: The right which is the
subject of this action is common to all of the current and former sworn members
who were not provided indemnification for necessary expenditures incurred in
direct consequence of the discharge of his or her duties or his or her obedience to
the directions of the employer. There are questions of law and fact presented
herein which are common to the entire class of persons represented by Plaintiffs,
and Plaintiffs’ claims, as hereinafter set forth, are typical of the claims of all class
members including, but not limited to:

i) Whether Defendants provided indemnification for necessary

expenditures incurred by Plaintiffs;

ii) Whether said expenditures were incurred in direct consequence
of the discharge of the officer’s duties or his or her obedience
to the directions of the employer.

c. Typicality: Plaintiffs’ claims are typical of the claims of the
class members. Plaintiffs and the members of the class sustained damages arising
out of Defendants’ failure to provide indemnification for necessary expenditures
as described above.

d. Adequacy: Plaintiffs are qualified to, and will, fairly and
adequately protect the interests of each class member. Plaintiffs have no interests
that are adverse to the interests of the other class members.

e. Public Policy Consideration: Employers throughout the United
States often fail to follow through on contracts and/or promises made to their
employees. Current employees are often afraid to assert their rights out of fear of
direct or indirect retaliation, Former employees are fearful of bringing actions
because they perceive their former employers can damage their future endeavors
through negative references and other means. Class actions provide the class

members who are not named in the complaint with a type of anonymity that allows

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for the vindication of their rights.

1151. Plaintiffs request that absent class members be notified by the best
notice practicable under the circumstances, including individual notice to all
members who can be identified through reasonable effort.

FIFTH CLAIM FOR RELIEF
FOR BREACH OF EMPLOYMENT CONTRACT
(Against All Defendants)

1152.  Plaintiffs/class members reassert and reallege the above
paragraphs as though fully set forth herein and are incorporated herein by
reference.

1153. On July 1, 2003 and July 1, 2000 a contract known as the
Memorandum of Understanding (“MOU”) was entered into by and between the
City of San Diego and San Diego Police Officers Association. Article 32, section
“4" of the MOU states that “[w]hen an employee’s shift is extended beyond its
normal ending time, he/she shall receive premium pay for the time of the shift
extension.” Article 33, section “F” states that “[i]n the case that an officer is
unable to take a total of thirty minutes for a meal break during the assigned shift,
the officer will be paid premium rate overtime for this thirty minute period.”
Article 32 states that “[i]t is agreed that premium compensation [is] at the rate of
one and one-half times the base rate...”

1154. In breach of the MOU, Defendant failed to compensate
Plaintiffs/class members for hours worked beyond the normal ending time and in
cases where an officer is unable to take a total of thirty minutes for a meal break.

1155. Asaresult of the unlawful acts of Defendant and injuries suffered
by Plaintiffs/class members herein, Plaintiffs/class members are entitled to actual,
consequential, liquidated, and incidental losses according to proof and reasonable

attorneys’ fees and costs pursuant to Code of Civil Procedure § 1021.5.

CLASS ALLEGATIONS

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1156. Plaintiffs bring this action on behalf of themselves, as well as each
and all other persons similarly situated, and thus seeks class certification under
Rule 23 of the Federal Rules of Civil Procedure with respect to the breach of
employment contract claims herein alleged for all similarly situated persons during
the relevant statutory period.

1157. Plaintiffs are members of the class they represent. The class
includes all employees who worked for Defendants as Police Recruits, Police
Officer I, Police Officer II, Police Agent, Community Relations to the Police Chief
and Police Sergeant in any state that Defendants reside and/or operate business in
the United States of America during the relevant statutory period who were not
provided premium compensation for overtime hours worked in breach of the MOU
as herein alleged.

1158. This action is maintainable by Plaintiffs under Rule 23(b)(3) as a
class action because the questions of law and fact common to the class members
predominate over any questions affecting individual members and, on balance, a
class action is superior to other methods available for adjudicating the
controversy. There is a well defined community of interest in the litigation and the
class is easily ascertainable:

a. Numerosity: The members of the Plaintiffs’ Class are so
numerous that the individual joinder of all members 1s impractical under the
circumstances of this case. While the exact number of class members is unknown
to Plaintiffs at this time, Plaintiffs allege that several thousand similarly situated
current and former employees were titled Police Recruit, Police Officer I, Police
Officer II, Police Agent, Community Relations to the Police Chief and Police
Sergeant.

b. Common questions predominate: The right which is the
subject of this action ts common to all of the current and former Police Recruits,

Police Officer I’s, Police Officer II’s, Police Agents, Community Relations to the

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Police Chief and Police Sergeants who worked for Defendant. There are questions
of law and fact presented herein which are common to the entire class of persons
represented by Plaintiffs, and Plaintiffs’ claims, as hereinafter set forth, are typical
of the claims of all class members including, but not limited to:

i) Whether Defendants contracted and/or represented to those

titled Police Recruit, Police Officer I, Police Officer II, Police
Agent, Community Relations to the Police Chief and Police
Sergeant that they would receive overtime premium pay in the
aforementioned situations;

it) Whether Plaintiffs worked these overtime hours.

c. Typicality: Plaintiffs’ claims are typical of the claims of the
class members. Plaintiffs and the members of the class sustained damages arising
out of Defendants’ breach of employment contract failure to pay overtime as
described above.

d. Adequacy: Plaintiffs are qualified to, and will, fairly and
adequately protect the interests of each class member. Plaintiffs have no interests
that are adverse to the interests of the other class members.

e. Public Policy Consideration: Employers throughout the United
States often fail to follow through on contracts and/or promises made to their
employees. Current employees are often afraid to assert their rights out of fear of
direct or indirect retaliation. Former employees are fearful of bringing actions
because they perceive their former employers can damage their future endeavors
through negative references and other means. Class actions provide the class

members who are not named in the complaint with a type of anonymity that allows

_ for the vindication of their rights.

1159. Plaintiffs request that absent class members be notified by the best
notice practicable under the circumstances, including individual notice to all

members who can be identified through reasonable effort.

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SIXTH CLAIM FOR RELIEF
FOR BREACH OF UNIFORM CONTRACT
(Against All Defendants)

1160. Plaintiffs reassert and reallege the above paragraphs as though
fully set forth herein and incorporates said paragraphs herein by reference.

1161. On July 1, 2003 and July 1, 2000 a contract known as the
Memorandum of Understanding (“MOU) was entered into by and between the
City of San Diego and San Diego Police Officers Association. Article 26, section
“II" of the MOU states that the “City shall...pay those sworn members of the
Police Department who have completed 12 months as a Police Officer I as of
September 1, and who are available for duty assignments on September 1, the sum
of $900 for the maintenance and replacement of the uniforms and equipment
described in Paragraph A (pants, tie, belt, shirt, belt, holster, ammunition pouch or
speed loaders and pouch, and pistol belt keepers).

1162. Those sworn members who have completed 12 months as a Police
Officer I as of September |, and who are available for duty assignments on
September | were not provided a sum of $900 for the maintenance and
replacement of the uniforms. Said amount was in fact subject to taxes, as if
provided as wages.

1163. Said amount was inadequate for the maintenance and replacement
of uniforms, and said amount was paid late (12 months after uniform expenses are
first incurred) in violation of California Labor Code § 2802. Thus, the sworn
members who have completed 12 months as a Police Officer I as of September 1,
and who are available for duty assignments on September | were not paid a sum of
$900 as promised and/or represented by Defendants and Defendants thus breached
said contract with Plaintiffs.

1164. Plaintiffs and each similarly situated member of Plaintiffs’ Class,

performed all conditions, covenants, and/or promises required by them on their

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part to be performed in accordance with the terms and conditions of the uniform
agreement and/or contract.

1165. Plaintiffs allege that Defendants breached the uniform contract
described herein, and that each Plaintiff and each member of Plaintiffs’ class
discovered that such a contract was breached within the relevant statutory period.

1166. By reason of Defendants’ breach of said uniform contract as
herein alleged, Plaintiffs and each similarly situated member of Plaintiffs’ Class,
have suffered damages. Said amount will be determined according to proof at
trial.

CLASS ALLEGATIONS

1167. Plaintiffs bring this action on behalf of themselves, as well as each
and all other persons similarly situated, and thus seeks class certification under
Rule 23 of the Federal Rules of Civil Procedure with respect to the breach of
uniform contract claims herein alleged for all similarly situated persons residing in
any state that Defendants reside and/or operate business in the United States of
America during the relevant statutory period.

1168. Plaintiffs are members of the class they represent. The class
includes all members of the San Diego Police Department who have completed 12
months as a Police Officer I as of September 1, and who are available for duty
assignments on September | who did not receive a true and full $900
reimbursement for uniforms as promised by Defendants in breach of uniform
contract as herein alleged.

1169. This action is maintainable by Plaintiffs under Rule 23(b)(3) as a
class action because the questions of law and fact common to the class members
predominate over any questions affecting individual members and, on balance, a
class action is superior to other methods available for adjudicating the
controversy. There is a well defined community of interest in the litigation and the

class is easily ascertainable:

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1 a. Numerosity: The members of the Plaintiffs’ Class are so
2) numerous that the individual joinder of all members is impractical under the
3} circumstances of this case. While the exact number of class members is unknown

4|| to Plaintiffs at this time, Plaintiffs allege that several thousand similarly situated

 

5|| current and former employees did not receive a true and full reimbursement as

| 6|| promised by Defendants in breach of the uniform contract as herein alleged.

7 b. Common questions predominate: The right which is the

8|| subject of this action is common to all of the current SDPD members who have

| 9] completed 12 months as a Police Officer I as of September 1, and who are

10] available for duty assignments on September |. There are questions of law and

11] fact presented herein which are common to the entire class of persons represented
12] by Plaintiffs, and Plaintiffs’ claims, as hereinafter set forth, are typical of the

13|| claims of all class members including, but not limited to:

14 i) Whether Defendants promised and/or represented to its sworn
15 members who have completed 12 months as a Police Officer I
16 as of September I that they would receive a reimbursement for
17 uniforms from Defendants;

18 ii) Whether Plaintiffs in fact received an adequate and timely

19 reimbursement as promised.

20 c. Typicality: Plaintiffs’ claims are typical of the claims of the

 

21}, class members. Plaintiffs and the members of the class sustained damages arising
22], out of Defendants’ breach of uniform contract as described above.

23 d. Adequacy: Plaintiffs are qualified to, and will, fairly and

24|| adequately protect the interests of each class member. Plaintiffs have no interests
25], that are adverse to the interests of the other class members.

26 e. Public Policy Consideration: Employers throughout the United

27|| States often fail to follow through on contracts and/or promises made to their

 

 

28|| employees. Current employees are often afraid to assert their rights out of fear of

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direct or indirect retaliation. Former employees are fearful of bringing actions
because they perceive their former employers can damage their future endeavors
through negative references and other means. Class actions provide the class
members who are not named in the complaint with a type of anonymity that allows
for the vindication of their rights.

1170. Plaintiffs request that absent class members be notified by the best
notice practicable under the circumstances, including individual notice to all
members who can be identified through reasonable effort.

SEVENTH CLAIM FOR RELIEF
FOR VIOLATION OF THE COVENANT OF GOOD
FAITH AND FAIR DEALING
(Against All Defendants)

1171. Plaintiffs reassert and reallege the above paragraphs as though
fully set forth herein and incorporates said paragraphs herein by reference.

1172. Plaintiffs and each similarly situated member of Plaintiffs’ Class,
were or are employed by Defendants under a contract that is or was partly written,
partly oral and partly implied.

1173. Asaresult of the employment relationship which existed between
Plaintiffs and Defendants, among the expressed and implied promises made in
connection with that relationship, and the acts, conduct and communications
resulting in these implied promises, Defendants promised to act in good faith
toward and deal fairly with Plaintiffs members of Plaintiffs’ Class. The implied
covenant of good faith and fair dealing requires, among other things, that:

a) each party in the relationship must act with good faith toward the
other concerning all matters related to the employment;

b) each party in the relationship must act with fairness toward the
other concerning all matters related to the employment;

C) neither party would take any action to unfairly prevent the other

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from obtaining the benefits of the employment relationship;

d) Defendants would comply with their own representations, rules,
policies and/or procedures in dealing with Plaintiffs;

e) Defendants would not deny Plaintiffs or the members of the
Plaintiffs’ Class their wages, commissions, bonus wages, and/or business expenses
without a fair and honest cause, regulated by good faith on Defendants’ part; and

f) Defendants would give Plaintiffs’ and Plaintiffs Class’ interests as
much consideration as they gave their own interests.

1174. Defendants’s denial of overtime wages and denial of
indemnification for necessary expenditures was wrongful, in bad faith, and unfair,
and therefore was a violation of Defendants’ legal duties.

1175. Plaintiffs allege that Defendants breached the covenant of good
faith and fair dealing as alleged herein, and that each Plaintiff and each member of
Plaintiffs’ class discovered such breach within the relevant statutory period.

1176. Defendants’ breach of the covenant of good faith and fair dealing
breached the employment and/or compensation plan contract and was a substantial
factor in causing damage and injury to the Plaintiffs and all other members of
Plaintiffs’ Class. As a direct and proximate result of Defendants’ unlawful
conduct alleged in this Complaint, the Plaintiffs have lost substantial employment
benefits, the precise amount of which will be proven at trial.

1177. — Plaintiffs allege that, at all times herein mentioned, Defendants
were advised by skilled lawyers and other professionals, employees, and advisors
knowledgeable about the relevant laws and human resources practices.

Defendants had and/or has the financial ability to follow through on their promises
and/or representations at issue herein, but willfully, knowingly and intentionally
failed to do so in order to decrease costs for Defendants.

1178. Thus, Plaintiffs allege that the conduct of Defendants described in

this claim for relief was malicious, oppressive and fraudulent, and intended by

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Defendants to cause injury to Plaintiffs and to large numbers of their employees,
as well as to their competitors, and Defendants’ conduct was despicable, was
engaged in by Defendants with a willful and conscious disregard for the rights of
Plaintiffs and the Class Members, constituted deceit and concealment of material
facts known to Defendants with the intention to deprive Plaintiffs and all Class
Members of property and legal rights and causing them injury. Such acts were
done with the authorization, ratification and/or advance knowledge of the officers
and/or directors of Defendants. Such acts justify the awarding of exemplary and
punitive damages to the Plaintiffs and each member of Plaintiffs’ Class similarly

situated in an amount according to proof.

CLASS ALLEGATIONS

 

1179, Plaintiffs also bring this action on behalf of themselves, as weil as
each and all other persons similarly situated, and thus seeks class certification
under Rule 23 of the Federal Rules of Civil Procedure with respect to the violation
of the covenant of good faith and fair dealing claims herein alleged for all
similarly situated persons residing in any state that Defendants reside and/or
operate business in the United States of America during the relevant statutory
period.

'1180. Plaintiffs are members of the class they represent. The class
includes all current and former members of the San Diego Police Department who
were damaged by Defendants’ violation of the covenant of good faith and fair
dealing as herein alleged.

1181. This action is maintainable by Plaintiffs under Rule 23(b)(3) as a
class action because the questions of law and fact common to the class members
predominate over any questions affecting individual members and, on balance, a
class action is superior to other methods available for adjudicating the
controversy. There is a well defined community of interest in the litigation and the

class is easily ascertainable:

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a. Numerosity: The members of the Plaintiffs’ Class are so
numerous that the individual joinder of all members is impractical under the
circumstances of this case. While the exact number of class members is unknown
to Plaintiffs at this time, Plaintiffs allege that several thousand current and former
employees who were not dealt with fairly or in good faith;

b. Common questions predominate: The right which is the
subject of this action is common to all all current and former members of the San
Diego Police Department who were damaged by Defendants’ violation of the
covenant of good faith and fair dealing. There are questions of law and fact
presented herein which are common to the entire class of persons represented by
Plaintiffs, and Plaintiffs’ claims, as hereinafter set forth, are typical of the claims
of all class members including, but not limited to:

i) Whether Defendants violated the covenant of good faith
and fair dealing by representing to its employees that
they would be paid overtime;

ii) | Whether Defendants violated the covenant of good faith
and fair dealing by representing to its employees that
they would be indemnified for necessary expenditures.

c. Typicality: Piaintiffs’ claims are typical of the claims of the
class members. Plaintiffs and the members of the class sustained damages arising
out of Defendants’ violation of the covenant of good faith and fair dealing as
described above.

d. Adequacy: Plaintiffs are qualified to, and will, fairly and
adequately protect the interests of each class member. Plaintiffs have no interests
that are adverse to the interests of the other class members.

e. Public Policy Consideration: Employers throughout the United
States often violate the covenant of good faith and fair dealing with respect to their

employees. Current employees are often afraid to assert their rights out of fear of

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direct or indirect retaliation. Former employees are fearful of bringing actions
because they perceive their former employers can damage their future endeavors
through negative references and other means. Class actions provide the class
members who are not named in the complaint with a type of anonymity that allows
for the vindication of their rights.

1182. Plaintiffs request that absent class members be notified by the best
notice practicable under the circumstances, including individual notice to all
members who can be identified through reasonable effort.

EIGHTH CLAIM FOR RELIEF
FOR FAILURE TO PROVIDE MEAL PERIODS
IN VIOLATION OF CALIFORNIA LABOR CODE SECTION 226.7
(Against All Defendants)

1183. Plaintiffs reassert and reallege the above paragraphs, as if fully set
forth and incorporates said paragraphs herein by reference.

1184. The applicable California Wage Order provides that no employer
shall employ any person for a work period of more than five hours without a meal
period of not less than 30 minutes in which the employee is relieved of all duty.

1185. Defendants, and each of them, employed Plaintiffs and other class
members for work periods in excess of five hours, yet failed to provide to
Plaintiffs and other class members a meal period of at least 30 minutes’ duration in
which they were relieved of all duty.

1186. California Labor Code § 226.7 provides that if an employer fails to
provide such a lawful meal period, the employer shall pay the employee one
additional hour of pay for each workday that the meal period was not provided.

1187. Therefore, Plaintiffs and other class members are entitled to
recover from defendants one additional hour of pay for each meal period was not

provided according to law.

CLASS ALLEGATIONS

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1188. Plaintiffs also brings this action on behalf of themselves, as well
as each and all other persons similarly situated, and thus seeks class certification
under Rule 23 of the Federal Rules of Civil Procedure with respect to the state law
claims for all similarly situated persons residing in the State of California during
the relevant statutory period.

1189. | The class consists of all current and former members of the SDPD,
who are either now, or have been in the past four years not provided meal periods
in violation of California Labor Code § 226.7. Plaintiffs allege that several
thousands of such persons reside or resided in California during their employment
with Defendant and therefore are so numerous as to make it impracticable to bring
them all before the Court. The right which is the subject of this action is common
to all of the current and former employees who worked for defendants. There are
questions of law and fact presented herein which are common to the entire class of
persons represented by Plaintiffs, and Plaintiffs’ claims, as hereinafter set forth,
are typical of the claims of all class members. Plaintiffs are qualified to, and will,
fairly and adequately protect the interests of each class member.

1190. This action is maintainable by Plaintiffs under Rule 23(b)(3) as a
class action because the questions of law and fact common to the class members
predominate over any questions affecting individual members and, on balance, a
class action is superior to other methods available for adjudicating the
controversy. There is a well defined community of interest in the litigation and the
class is easily ascertainable:

a. Numerosity: The Plaintiff class is so numerous that the
individual joinder of all members is impractical under the circumstances of this
case. While the exact number of class members is unknown to Plaintiffs at this
time, Plaintiffs allege that several thousand current and former Defendant
employees resided in California during their employment by Defendant, and were

subject to California state law;

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b. Common questions predominate: The right which is the
subject of this action is common to all of the current and former employees who
worked for defendant. There are questions of law and fact presented herein which
are common to the entire class of persons represented by Plaintiffs, and Plaintiffs’
claims, as hereinafter set forth, are typical of the claims of all class members
including, but not limited to whether defendants failed to provide meal periods in
violation for California Labor Code § 226.7; and

c. Typicality: Plaintiffs’ claims are typical of the claims of the
class members. Plaintiffs and the members of the class sustained damages arising
out of defendants’ common practice which violated California Labor Code §
226.7.

d. Adequacy: Plaintiffs are qualified to, and will, fairly and
adequately protect the interests of each class member. Plaintiffs have no interest
that is adverse to the interests of the other class members.

e. Superiority: Class action adjudication is superior to other
available methods because class action will achieve economies of time, effort, and
expense as compared to separate lawsuits, and avoid inconsistent outcomes,
because the same issues can be adjudicated in the same manner for the entire class.
Plaintiffs are currently unaware of any pending litigation commenced by any class
member involving the same issues in this Complaint.

f, Public Policy Consideration: Employers throughout the United
States as well as California violate wage and hour laws every day. Current
employees are often afraid to assert their rights out of fear of direct or indirect
retaliation. Former employees are fearful of bringing actions because they
perceive their former employers can damage their future endeavors through
negative references and other means. Class actions provide the class members
who are not named in the complaint with a type of anonymity that allows for the

vindication of their rights.

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1191. Plaintiffs request that absent class members be notified by the best
notice practicable under the circumstances, including individual notice to all
members who can be identified through reasonable effort.

NINTH CLAIM FOR RELIEF
FOR BREACH OF EMPLOYMENT CONTRACT
(Against All Defendants)

1192.  Plaintiffs/class members reassert and reallege the above
paragraphs as though fully set forth herein and are incorporated herein by
reference.

1193. On July 1, 2003 and July 1, 2000 a contract known as the
Memorandum of Understanding (“MOU) was entered into by and between the
City of San Diego and San Diego Police Officers Association. Article 32, section
“4" of the MOU states that “[w]hen an employee’s shift is extended beyond its
normal ending time, he/she shall receive premium pay for the time of the shift
extension.” Article 33, section “F” states that “[i]n the case that an officer is
unable to take a total of thirty minutes for a meal break during the assigned shift,
the officer will be paid premium rate overtime for this thirty minute period.”
Article 32 states that “[i]t is agreed that premium compensation [is] at the rate of
one and one-half times the base rate...”

1194. In breach of the MOU, Defendant failed to compensate
Plaintiffs/class members at one and one-half times the base rate for hours worked
beyond the normal ending time and in cases where an officer is unable to take a
total of thirty minutes for a meal break - for failure to properly calculate the base
rate.

1195.  Asaresult of the unlawful acts of Defendant and injuries suffered
by Plaintiffs/class members herein, Plaintiffs/class members are entitled to actual,
consequential, liquidated, and incidental losses according to proof and reasonable

attorneys’ fees and costs pursuant to Code of Civil Procedure §1021.5, including

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all overtime wages for the four years last past and three years under the FLSA.
CLASS ALLEGATIONS

1196. Plaintiffs bring this action on behalf of themselves, as well as each
and all other persons similarly situated, and thus seeks class certification under
Rule 23 of the Federal Rules of Civil Procedure with respect to the breach of
employment contract claims herein alleged for all similarly situated persons during
the relevant statutory period.

1197. Plaintiffs are members of the class they represent. The class
includes all employees who worked for Defendants as Police Recruits, Police
Officer I, Police Officer II, Police Agent, Community Relations to the Police Chief
, Police Sergeant, and Lieutenant in any state that Defendants reside and/or operate
business in the United States of America during the relevant statutory period who
were not provided premium compensation for overtime hours worked in breach of
the MOU as herein alleged.

1198. This action is maintainable by Plaintiffs under Rule 23(b)(3) as a
class action because the questions of law and fact common to the class members
predominate over any questions affecting individual members and, on balance, a
class action is superior to other methods available for adjudicating the
controversy. There is a well defined community of interest in the litigation and the
class is easily ascertainable:

a. Numerosity: The members of the Plaintiffs” Class are so
numerous that the individual joinder of all members is impractical under the
circumstances of this case. While the exact number of class members is unknown
to Plaintiffs at this time, Plaintiffs allege that several thousand similarly situated
current and former employees were titled Police Recruit, Police Officer I, Police
Officer II, Police Agent, Community Relations to the Police Chief, Police
Sergeant, and Lieutenant.

b. Common questions predominate: The right which is the

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subject of this action is common to all of the current and former Police Recruits,
Police Officer I’s, Police Officer II’s, Police Agents, Community Relations to the
Police Chief , Police Sergeant, and Lieutenants who worked for Defendant. There
are questions of law and fact presented herein which are common to the entire
class of persons represented by Plaintiffs, and Plaintiffs’ claims, as hereinafter set
forth, are typical of the claims of all class members including, but not limited to:

i) Whether Defendants contracted and/or represented to those

titled Police Recruit, Police Officer I, Police Officer II, Police
Agent, Community Relations to the Police Chief, Police
Sergeant, and Lieutenant that they would receive overtime
premium pay in the aforementioned situations;

ii) Whether Defendants failed to provide the proper overtime pay.

c. Typicality: Plaintiffs’ claims are typical of the claims of the
class members. Plaintiffs and the members of the class sustained damages arising
out of Defendants’ breach of employment contract failure to pay overtime as
described above.

d. Adequacy: Plaintiffs are qualified to, and will, fairly and
adequately protect the interests of each class member. Plaintiffs have no interests
that are adverse to the interests of the other class members.

e. Public Policy Consideration: Employers throughout the United
States often fail to follow through on contracts and/or promises made to their
employees. Current employees are often afraid to assert their rights out of fear of
direct or indirect retaliation. Former employees are fearful of bringing actions
because they perceive their former employers can damage their future endeavors
through negative references and other means. Class actions provide the class
members who are not named in the complaint with a type of anonymity that allows
for the vindication of their rights.

1199. Plaintiffs request that absent class members be notified by the best

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notice practicable under the circumstances, including individual notice to all
members who can be identified through reasonable effort.
TENTH CLAIM FOR RELIEF
FOR FRAUD AND DECEIT
(Against All Defendants)

1200. Plaintiffs reassert and reallege the above paragraphs as if fully set
forth herein, and incorporate said paragraphs herein by reference.

1201. Plaintiffs allege that Defendants engaged in fraud and/or deceit
against Plaintiffs, and each similarly situated Class Member, and that Plaintiffs
and each Class Member discovered that such acts were fraudulent within the last
three years.

1202. Plaintiffs allege that Defendants have known that Plaintiffs and
Class Members did not meet the legal requirements of exempt employees, and
knew that Plaintiffs and others similarly situated, could not be ordered and/or
permitted to work beyond the normal ending time of a shift without receiving
premium pay for the time of the shift extension.

1203. Specifically, as to Police Recruits, Police Officer I’s, Police
Officer II’s, Police Agents, Community Relations Assistants to the Police Chief,
and Police Sergeant:

a. Defendants regularly observed, encouraged, and/or required these

Plaintiffs and Class Members to perform non-exempt work such as pre and post
shift report writing, preparing for court appearances, driving to and from court,
cleaning weapons, maintaining and furnishing required uniforms and gear, and in
the case of Sergeants: roll call/briefing preparation and reviewing late reports;

b. Defendants knew that the Plaintiffs and Class regularly spent
much of their work time and time at home and outside of the department
performing the above duties.

1204. Despite having this knowledge, Defendants suppressed the facts

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and did not disclose them to the Plaintiffs and all other similarly situated Class
Members, while having a legal duty under the Labor Code and the applicable IWC
Wage Orders to disclose same to the Class Members.

1205. Defendant, through hiring interviews, meetings, inter-office
memos, employment forms, paycheck enclosures, e-mails, job descriptions, etc.,
have continuously represented to the Plaintiffs and to all other similarly situated
Class Members, that as Police Recruits, Police Officer [’s, Police Officer II’s,
Police Agents, Community Relations Assistants to the Police Chief, and Police
Sergeant, they can be required to work hours outside of their regular shift, with no
overtime compensation.

1206. | When Defendants made these statements and/or encouraged or
required Plaintiffs and Class Members to work under these conditions, it knew the
assertions that no overtime pay was required to be paid to the Class Members were
false.

1207. The assertions were made as a fact and were made for the purpose
of inducing the Plaintiffs and Class Members to work hours outside of shift hours
and not request compensation for overtime worked.

1208. The Plaintiffs and all others similarly situated, reasonably believed
and relied upon Defendants’ assertions that they could be required to work
overtime without compensation.

1209. In reliance on the assertions and to the detriment and prejudice of
the Plaintiffs and each Class Member, the Plaintiffs and similarly situated Class
Members have worked hours beyond regular shift hours, in violation of the MOU,
the FLSA, and applicable IWC Wage Orders and the Labor Code, without being
paid overtime. Accordingly, the statute of limitations has been tolled for all
periods of employment on all claims set forth herein.

1210. Asadirect result of the assertions and concealment by

Defendants, the Plaintiffs have earned, but have not been paid, overtime wages

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Complaint

 
 

 

 

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plus interest thereon, according to proof.

1211. Plaintiffs are informed and believe and thereon allege that, at all
times herein mentioned, Defendants were knowledgeable about Federal, State, and
Contract (MOU) labor and wage laws and human resource practices and about the
requirements of California law to record and pay for all overtime hours worked by
Class Members. Defendants had the financial ability to pay such overtime
compensation, but willfully, knowingly and intentionally failed to do so, and
falsely represented to the Plaintiffs and others similarly situated that they were not
entitled to overtime pay, in order to decrease labor costs for Defendants.

1212. Thus, Plaintiffs allege that the conduct of Defendants described in
the claim for relief was malicious, oppressive and fraudulent, and intended by
Defendants to cause injury to Plaintiffs, and to large numbers of its employees, as
well as to its competitors, and Defendants’ conduct was despicable and was
engaged in by Defendants with a willful and conscious disregard for the rights of
the Plaintiffs and others similarly situated, subjected the Plaintiffs and others
similarly situated to illegal work conditions (long hours without pay) that did not
protect their health, safety and welfare, and was cruel and unjust conduct which
also constituted deceit and concealment of material facts known to Defendants
with the intention of depriving Plaintiffs and all Class Members of property and
legal rights and causing them injury. Such acts were done with the authorization,
ratification and/or advance knowledge of the Defendants. Such acts justify the
awarding of exemplary and punitive damages to the Plaintiffs and each similarly

situated Class Member, in an amount according to proof.

CLASS ALLEGATIONS

 

1213. Plaintiffs bring this action on behalf of themselves, as well as each
and all other persons similarly situated, and thus seeks class certification under
Rule 23 of the Federal Rules of Civil Procedure with respect to the fraud claims

herein alleged for all similarly situated persons during the relevant statutory

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Complaint
 

 

 

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period.

1214. Plaintiffs are members of the class they represent. The class
includes all employees who worked for Defendants as Police Recruits, Police
Officer I, Police Officer II, Police Agent, Community Relations to the Police
Chief, Police Sergeant in any state that Defendants reside and/or operate business
in the United States of America during the relevant statutory period who were not
provided premium compensation for overtime hours worked as herein alleged.

1215. This action is maintainable by Plaintiffs under Rule 23(b)(3) as a
class action because the questions of law and fact common to the class members
predominate over any questions affecting individual members and, on balance, a
class action is superior to other methods available for adjudicating the
controversy. There is a well defined community of interest in the litigation and the
class is easily ascertainable:

a. Numerosity: The members of the Plaintiffs’ Class are so
numerous that the individual joinder of all members is impractical under the
circumstances of this case. While the exact number of class members is unknown
to Plaintiffs at this time, Plaintiffs allege that several thousand similarly situated
current and former employees were titled Police Recruit, Police Officer I, Police
Officer IT, Police Agent, Community Relations to the Police Chief , Police
Sergeant.

b. Common questions predominate: The right which is the
subject of this action is common to all of the current and former Police Recruits,
Police Officer I’s, Police Officer II’s, Police Agents, Community Relations to the
Police Chief, and Police Sergeant who worked for Defendant. There are questions
of law and fact presented herein which are common to the entire class of persons
represented by Plaintiffs, and Plaintiffs’ claims, as hereinafter set forth, are typical
of the claims of all class members including, but not limited to:

i) Whether Defendants falsely represented to those titled Police

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Recruit, Police Officer I, Police Officer II, Police Agent, Community Relations to
the Police Chief, Police Sergeant, and that they would receive overtime premium
pay in the aforementioned situations;

ii) Whether Defendants failed to provide the proper overtime pay.

c. Typicality: Plaintiffs’ claims are typical of the claims of the
class members. Plaintiffs and the members of the class sustained damages arising
out of Defendants’ fraudulent acts as described above.

d. Adequacy: Plaintiffs are qualified to, and will, fairly and

adequately protect the interests of each class member. Plaintiffs have no interests

that are adverse to the interests of the other class members.

e. Public Policy Consideration: Employers throughout the United
States often fail to follow through on contracts and/or promises made to their
employees. Current employees are often afraid to assert their rights out of fear of
direct or indirect retaliation. Former employees are fearful of bringing actions
because they perceive their former employers can damage their future endeavors
through negative references and other means. Class actions provide the class
members who are not named in the complaint with a type of anonymity that allows
for the vindication of their nights.

1216. Plaintiffs request that absent class members be notified by the best
notice practicable under the circumstances, including individual notice to all
members who can be identified through reasonable effort.

ELEVENTH CLAIM FOR RELIEF
FOR NEGLIGENT MISREPRESENTATION
(Against All Defendants)

1217. Plaintiffs reassert and reallege the above paragraphs as if fully set
forth herein, and incorporate said paragraphs herein by reference.

1218. Defendants represented to the Plaintiffs and each Class Member

similarly situated, through hiring interviews, meetings, inter-office memos, e-

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mails, paycheck stubs, employment forms, job descriptions, etc., that they were not
entitled to overtime wages for hours worked beyond their regularly scheduled
shift. These statements were made with the knowledge and consent of
Defendants, without any reasonable basis to believe the statements were true.

1219. The Plaintiffs, and each Class Member similarly situated,
discovered that such acts were misrepresentations within the last three years.

1220. Despite having this knowledge, Defendants suppressed facts and
did not disclose them to the Class Members, while having a legal duty under the
Federal laws, State law, and Contract (MOU) to disclose same to the Class
Members.

1221. | When Defendants authorized these statements to be made to the
Plaintiffs and each Class Member, they had no reasonable grounds to believe the
statements were true, as they had no knowledge and/or understanding of the
Federal and State law and/or Contract law (MOU) regulating the payment of
overtime to Class Members when they made the assertions as being fact, and yet
held themselves out as having such knowledge and/or understanding.

1222. | When Defendants authorized these statements to be made to the
Plaintiffs and each Class Member, they had no reasonable grounds to believe the
statements were true since they failed to conduct a proper inquiry to determine
whether the Class Members positions qualified for overtime hours under the
Federal and/or California labor laws and the applicable IWC Wage Orders, and/or
MOU.

1223. The assertions that the Plaintiffs and others similarly situated were
not eligible for overtime for the activities above were made for the purpose of
inducing Class Members to work in excess of scheduled shifts and not request
compensation for overtime worked.

1224. The Plaintiffs, and each Class Member similarly situated,

reasonably believed and relied upon Defendants’ assertions that Class Members

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were could be required to work overtime without compensation, and thus did not
ask for overtime compensation.

1225. In reliance on the assertions, and to the detriment and prejudice of
Plaintiffs and others similarly situated, the Plaintiffs and similarly situated Class
Members have worked overtime hours, in violated of the FLSA and State laws,
and MOU without being paid overtime. Accordingly, the statute of limitations has
been tolled for all periods of employment on all claims set forth herein.

1226. Asadirect result of the assertions and concealment by
Defendants, the Plaintiffs and each similarly situated Class Member have earned,
but have not been paid, overtime pay plus interest thereon, according to proof.

CLASS ALLEGATIONS

1227, Plaintiffs bring this action on behalf of themselves, as well as each
and all other persons similarly situated, and thus seeks class certification under
Rule 23 of the Federal Rules of Civil Procedure with respect to the negligent
misrepresentation claims herein alleged for all similarly situated persons during
the relevant statutory period.

1228. Plaintiffs are members of the class they represent. The class
includes all employees who worked for Defendants as Police Recruits, Police
Officer I, Police Officer II, Police Agent, Community Relations to the Police
Chief, and Police Sergeant in any state that Defendants reside and/or operate
business in the United States of America during the relevant statutory period who
were not provided premium compensation for overtime hours worked as herein
alleged. This action is maintainable by Plaintiffs under Rule 23(b)(3) as a class
action because the questions of law and fact common to the class members
predominate over any questions affecting individual members and, on balance, a
class action is superior to other methods available for adjudicating the
controversy. There is a well defined community of interest in the litigation and the

class is easily ascertainable:

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a. Numerosity: The members of the Plaintiffs’ Class are so
numerous that the individual joinder of all members is impractical under the
circumstances of this case. While the exact number of class members is unknown
to Plaintiffs at this time, Plaintiffs allege that several thousand similarly situated
current and former employees were titled Police Recruit, Police Officer I, Police
Officer II, Police Agent, Community Relations to the Police Chief, Police
Sergeant.

b. Common questions predominate: The right which is the
subject of this action is common to all of the current and former Police Recruits,
Police Officer I’s, Police Officer II’s, Police Agents, Community Relations to the
Police Chief, Police Sergeants who worked for Defendant. There are questions of
law and fact presented herein which are common to the entire class of persons
represented by Plaintiffs, and Plaintiffs’ claims, as hereinafter set forth, are typical
of the claims of all class members including, but not limited to:

i) Whether Defendants negligently represented to those titled

Police Recruit, Police Officer I, Police Officer II, Police Agent,
Community Relations to the Police Chief , Police Sergeant that
they would receive overtime premium pay in the
aforementioned situations;

ii) Whether Defendants failed to provide the proper overtime pay.

c. Typicality: Plaintiffs’ claims are typical of the claims of the
class members. Plaintiffs and the members of the class sustained damages arising
out of Defendants’ negligent acts as described above.

d. Adequacy: Plaintiffs are qualified to, and will, fairly and
adequately protect the interests of each class member. Plaintiffs have no interests
that are adverse to the interests of the other class members.

e. Public Policy Consideration: Employers throughout the United

States often fail to follow through on contracts and/or promises made to their

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Complaint
 

 

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employees. Current employees are often afraid to assert their rights out of fear of
direct or indirect retaliation. Former employees are fearful of bringing actions
because they perceive their former employers can damage their future endeavors
through negative references and other means. Class actions provide the class
members who are not named in the complaint with a type of anonymity that allows
for the vindication of their rights.

1229. Plaintiffs request that absent class members be notified by the best
notice practicable under the circumstances, including individual notice to all

members who can be identified through reasonable effort.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray, on behalf of themselves and all other
similarly situated persons, for relief and judgment against defendants, jointly and

severally, as follows:

Class Certification

L. That these actions be certified as a class actions;

2. That a representative(s) of the class(es) be appointed; and
3. That Counsel for Plaintiffs be appointed as class counsel.

As to the First and Second Causes of Action

l. All actual, consequential, liquidated and incidental losses and
damages, according to proof at trial;

2. Such other damages as may be allowed in accordance with the
Federal Rules of Civil Procedure, Rule 54(c), and 29 U.S.C. §
216(b) according to proof at trial;

3. Liquidated damages, attorney fees, and costs pursuant to 29 U.S.C,
§ 216(b); and
4, Any and all other relief, including equitable relief, as the Court

may deem just and proper.

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As to the Third Cause of Action

l.

For general unpaid wages at overtime rates, and such general and
special damages as may be appropriate;

For pre-judgment interest on any unpaid overtime compensation
due from the day such amounts were due;

For statutory penalties pursuant to California Labor Code §
558(a);

For reasonable attorney fees pursuant to California Labor Code §
1194;

For costs of suit incurred herein; and

For such other and further relief as the Court may deem

appropriate.

As to the Fourth Cause of Action

l.

All actual, compensatory, consequential, interest, and incidental
damages according to proof at trial;

Such other damages and/or penalties as may be allowed in
accordance with California Labor Code;

Reasonable attorneys’ fees and costs pursuant to Labor Code
§2802; and

Any and all other relief, including equitable relief, as the Court

may deem just and proper.

As to the Fifth and Ninth Causes of Action

1.

All actual, compensatory, restitutionary and incidental losses
and/or damages, according to proof at trial;

Such other damages as may be allowed in accordance with the
Federal Rules of Civil Procedure, Rule 54 according to proof at
trial;

Prejudgment interest on all losses and/or damages according to

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7.

proof at trial;

For reasonable attorney fees, expenses and costs;

For all overtime wages calculated improperly for the four years
last past;

Declaratory relief directing Defendants for an accounting of all
funds that should have been included for proper calculation of all
wages and benefits as to each employee in the bargaining unit;

For such other and further relief as the court may deem proper.

As to the Sixth Cause of Action

l.

4.
5.

All actual, compensatory, restitutionary and incidental losses
and/or damages, according to proof at trial;

Such other damages as may be allowed in accordance with the
Federal Rules of Civil Procedure, Rule 54 according to proof at
trial;

Prejudgment interest on all losses and/or damages according to
proof at trial;

For reasonable attorney fees, expenses and costs;

For such other and further relief as the court may deem proper.

As to the Seventh Cause of Action

l,

All actual, general and special damages according to proof at trial;
and
For such other and further relief as the Court may deem just and

proper;

As to the Eighth Cause of Action

1.

For one hour of pay for each meal period that was not provided
according to law;
For pre-judgment interest thereon, from the day such amounts

were due;

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For reasonable attorney fees;
For costs of suit incurred herein; and
For such other and further relief as the Court may deem

appropriate.

As to the Tenth Claim for Relief
1.

All actual, general and special damages according to proof at trial;
and for prejudgment interest thereon according to law;

For an award of damages equal to the profit realized from
Defendants’ conduct, as alleged, and for prejudgment interest
thereon according to law;

For attorney fees; and

For such other and further relief as the Court may deem just and

proper.

As to the Eleventh Ciaim for Relief
l.

All actual, general and special damages according to proof at trial;

  

 

and
2. For such other and further relief as the Court may deem just and
proper.
DATED: August /f, 2005 CASTLE, PETERSEN & KRAUSE LLP
Attorneys At L
By:
Gregory &. Petersen”
Attorneys for Plaintiffs
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Case eeewléNS Document 1 Filed 08/16/05 $$. Page 207 of 230

l DEMAND FOR JURY TRIAL

3 Plaintiffs hereby demands a jury trial as provided by Rule 38(a) of the
4|| Federal Rules of Civil Procedure.

6] DATED: August /4 , 2005 CASTLE, PETE

     

regory GW. Petersen
‘0 Attorneys for Plaintiffs
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J3da

sev 07339) CIVIL COVER SHEET

sheet, (SEE INSTRUCTIONS ON THE SECOND PAGE OF THIS FORM.)
I (a) PLAINTIFFS DEFENDANTS

Marcus R. Abbe, individually, and on behalf of all persons City of San Diego, and DDES 1 throuph 191 inqusver a
similarly situated

   
    

 
  

 

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{EXCEPT {N U.S, PLAINTIFF CASES)

 

NOTE: IN LAND CONDEMNATION
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(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER) ATTORNEYS (IF KNOWN) .
Castle, Petersen & Krause LLP, Attomeys at Law 05 cy 1 6 2 9 .

4675 MacArthur Cl, Ste, 1250, Newport Beach, CA 92660 CY... DM S ( J MA
(949) 417-5600/Telephone (949) 417-5610/Facsimile : A
alty@cpk-law.com :

 

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Tv” CAUSE OF ACTION (CITE THE US CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE. DO NOT CITE
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29 U.S.C. 207, 29 U.S.C. 207{a), CA Lab. Code 2802, CA Lab. Code 512, Breach of Contract, CA Lab. Code 226.7, Fraud,

 

 

 

 

 

 

 

 

 

 

 

 

 

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4. Give a description of the injury, property damage or loss incurred so far as is known at the time of
this claim. If there were no injuries, state "no injuries". (If your claim involves a vehicle, include
license, year, make and model.}

Unpaid overtime, unlawful taking of "uniform allowance" as taxes, unpaid uniform/weapons/maintenance expenses, unpaid meal
periods

9. Give the name(s) of the City employee(s) causing the injury, damage or toss, if known:

Agents and/or employees of the City of San Diego

6. Name and address of any other person injured:

 

All of the officers of the San Diego Police Department

7. Name and address of the owner of any damaged property:

 

8. Damages claimed:

a. Amount claimed as of this date: g >$10,000
b. Estimated amount of any future costs: $ >$10,000
c. Total amount claimed: $ >$10,000

d, Basis for computation of amounts claimed (include copies of all bills, invoices, estimates, etc..):

Based on unpaid overtime, unpaid "uniform" expenses, unpaid meal and rest periods

9. Names and addresses of all witnesses, hospitals, doctors, etc.
a.
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d
10. Any additional information that might be helpful in considering claim:

WARNING: IT1S A CRIMINAL OFFENSE TQ FILE A FALSE CLAIMI (Penal Code § 72; Insurance Code § 556.1}

| have read the matters and statements made in the above claim and | know the same to be true of my own knowledge, except as
to those matters stated upon information or belief and as to such matters | believe the same to be true. | certify under penalty of
perjury that the foregoing is TRUE and CORRECT.

signed this le _day of Anaust 2005 a_Nlmsbrort Beach, A

Ly say Petrrnews MBG
CLAIMANTS SIGNATURE

 

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Case 3:05-cv-01629-DMS-RBB Document1 Filed 08/16/05 PageID.210 Page 210 of 230

ATTACHMENT TO CIVIL COVER SHEET

Thomas E. Abbott Jr., individually and on behalf of all others similarly situated; David G.
Abrams, individually and on behalf of all others similarly situated; Sabin M. Abrams,
individually and on behalf of all others similarly situated; James R. Ackley, individually and on
behalf of all others similarly situated; Kristen B. Adams, individually and on behalf of all others
similarly situated; Lori M. Adams, individually and on behalf of all others similarly situated;
Robert W. Adams, individually and on behalf of all others similarly situated; Simon Adams,
individually and on behalf of all others similarly situated; Robert Adauto Jr., individually and on
behalf of all others similarly situated; R. Elizabeth Addington, individually and on behalf of all
others similarly situated; Armando R. Aguilar, individually and on behalf of all others similarly
situated; Edward R. Aguirre, individually and on behalf of all others similarly situated; Michael
A. Aiken, individually and on behalf of all others similarly situated; Leslie A. Albrecht,
individually and on behalf of all others similarly situated; Daniel T. Albright, individually and on
behalf of all others similarly situated; Donald A. Albright, individually and on behalf of all others
similarly situated; Richard Allen, individually and on behalf of all others similarly situated;
Katherine E. Allison, individually and on behalf of all others similarly situated; Cathy N. Allister,
individually and on behalf of ail others similarly situated; Karen A. Almos, individually and on
behalf of all others similarly situated; Jesse R. Almos Jr, individually and on behalf of all others
similarly situated; Alan R. Alvarez, individually and on behalf of all others similarly situated;
Arnolfo B. Ambito, individually and on behalf of all others similarly situated; Carlos A.
Amezcua, individually and on behalf of all others similarly situated; Annette M. Anderson,
individually and on behalf of all others similarly situated; Travis W. Anderson, individually and
on behalf of ali others similarly situated; Mark S. Annis, individually and on behalf of all others
similarly situated; Robert W. Anschick, individually and on behalf of all others similarly
situated; Ricardo Apodaca, individually and on behalf of all others similarly situated; Oscar A.
Armenta, individually and on behalf of all others similarly situated; Scott J. Armstrong,
individually and on behalf of all others similarly situated; James W. Arthur, individually and on
behalf of all others similarly situated; Christopher T. Asbell, individually and on behalf of all
others similarly situated; Frank Ashcraft, individually and on behalf of all others similarly
situated; Anthony A. Atkins, individually and on behalf of all others similarly situated; Robert
W. Atwood, individually and on behalf of all others similarly situated; Edward D. Austin,
individually and on behalf of all others similarly situated; John W. Austin, individually and on
behalf of all others similarly situated; John Autolino, individually and on behalf of all others
similarly situated; Gary Avalos II], individually and on behalf of all others similarly situated;
Lori L. Bach, individually and on behalf of all others similarly situated; Michael J. Bauer,
individually and on behalf of all others similarly situated; Teresa Bailey, individually and on
behalf of all others similarly situated; Robert M. Baird Jr., individually and on behalf of all others
similarly situated; Todd R. Baker, individually and on behalf of all others similarly situated;
James D. Baker Jr., individually and on behalf of all others similarly situated; Vincent J. Bales,
individually and on behalf of all others similarly situated; Joseph P. Bane, individually and on
behalf of all others similarly situated; Sean A. Bannan, individually and on behalf of all others
similarly situated; Kevin S. Barnard, individually and on behalf of all others similarly situated;

 
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pehatl of Snes Michael Bo natty and ores sail ST tran, INGIVE sai othe

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Bradley, individually and on behalf of all others similarly situated; James M. Bradley,
individually and on behalf of all others similarly situated; Julie M. Bradley, individually and on
behalf of all others similarly situated; Tracy D. Braun, individually and on behalf of all others
similarly situated; Glenn A. Breitenstein, individually and on behalf of all others similarly
situated; Daniel G. Brent, individually and on behalf of all others similarly situated; Lisa L.
Bressler, individually and on behalf of all others similarly situated; Robert R. Bressler,
individually and on behalf of all others similarly situated; Daniel M. Brinkerhoff, individually
and on behalf of all others similarly situated; Russell D. Bristol, individually and on behalf of all
others similarly situated; Frank J. Brito, individually and on behalf of all others similarly
situated; Kevin M Brooks, individually and on behalf of all others similarly situated; Ronald
Broussard, individually and on behalf of all others similarly situated; Neal N. Browder Jr.,
individually and on behalf of all others similarly situated; Douglas M. Brown, individually and
on behalf of all others similarly situated; Jon M. Brown, individually and on behalf of all others
similarly situated; Ronald O. Brown, individually and on behalf of all others similarly situated;
Scott H. Brown, individually and on behalf of all others similarly situated; Troy A. Brown,
individually and on behalf of all others similarly situated; Gregory W. Brown Jr., individually
and on behalf of all others similarly situated; Joy M. Brugman, individually and on behalf of all
others similarly situated; Christopher M. Brush, individually and on behalf of al! others similarly
situated; Terrance L. Bryan, individually and on behalf of all others similarly situated; Mark J.
Bua, individually and on behalf of all others similarly situated; Deborah W. Burger, individually
and on behalf of all others similarly situated; Randy P. Burgess, individually and on behalf of all
others similarly situated; Christina D. Burhans, individually and on behalf of all others similarly
situated; Joshua P. Burkhardt, individually and on behalf of all others similarly situated; Timothy
A. Burns, individually and on behalf of all others similarly situated; Daniel A. Burow,
individually and on behalf of all others similarly situated; John D, Buttle, individually and on
behalf of all others similarly situated; Richard A. Butts, individually and on behalf of all others
similarly situated; Bruce T. Byrd, individually and on behalf of all others similarly situated;
Jeanne M. Byrd, individually and on behalf of all others similarly situated; Phillip D. Cady,
individually and on behalf of all others similarly situated; Lawrence B. Cahill, individually and
on behalf of all others similarly situated; William D. Cahill, individually and on behalf of all
others similarly situated; Jene L'Mont Calloway, individually and on behalf of all others similarly
situated; Arthur L. Calvert, individually and on behalf of all others similarly situated; Christen
M. Cameron, individually and on behalf of all others similarly situated; Arturo C. Campa,
individually and on behalf of all others similarly situated; William H. Campbell, individually and
on behalf of all others similarly situated; Frank A. Canson, individually and on behalf of all
others similarly situated; Claudia Canto, individually and on behalf of all others similarly
situated; Ruth §, Cardona, individually and on behalf of all others similarly situated; TheodoreM.
Carignan, individually and on behalf of all others similarly situated; Karrie L. Carlson,
individually and on behalf of all others similarly situated; Mark A. Carlson, individually and on
behalf of all others similarly situated; Thomas J. Carlyon IV, individually and on behalf of all
others similarly situated; Dantel P. Caropreso, individually and on behalf of all others similarly
situated; Frank L. Caropreso Jr, individually and on behalf of all others similarly situated; Javier
Carranza, individually and on behalf of all others similarly situated; Robert T. Carroll,

 

 
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individually and on behalf of all others similarly situated; Scott Carter, individually and on behalf
of all others similarly situated; Tony B. Carter, individually and on behalf of all others similarly
situated; William J. Carter, individually and on behalf of all others similarly situated; Roderick
A. Casey, individually and on behalf of all others similarly situated; Roberto A. Casillas,
individually and on behalf of all others similarly situated; Joseph B. Castillo, individually and on
behalf of all others similarly situated; Clinton E. Castle, individually and on behalf of all others
similarly situated; Cesar Castro, individually and on behalf of all others similarly situated, Ricky
F. Castro, individually and on behalf of all others similarly situated; Rudy P. Castro Jr.,
individually and on behalf of all others similarly situated; Arthur H. Cavada, individually and on
behalf of all others similarly situated; Misty R. Cedrun, individually and on behalf of all others
similarly situated; Daniel E. Cerar, individually and on behalf of all others similarly situated;
George Cesena, individually and on behalf of all others similarly situated, Carlos Chacon,
individually and on behalf of all others similarly situated; John Chaney, individually and on
behalf of all others similarly situated; Mark A. Chavez, individually and on behalf of all others
similarly situated; Blake A. Cheary, individually and on behalf of all others similarly situated;
Jonathan C. Cheng, individually and on behalf of all others similarly situated; Jon P. Cherski,
individually and on behalf of all others similarly situated; James H. Chiles, individually and on
behalf of all others similarly situated; Jeffrey W. Chione, individually and on behalf of all others
similarly situated; Raphael R. Cimmarrusti, individually and on behalf of all others similarly
situated; Dolores M. Cirino, individually and on behalf of all others similarly situated; Brent E.
Cisneros, individually and on behalf of ali others similarly situated; Dale L. Clark, individually
and on behalf of all others similarly situated; John C. Clark, individually and on behalf of all
others similarly situated; Joseph A. Clark, individually and on behalf of all others similarly
situated; Lamont H. Clark, individually and on behalf of all others similarly situated; Robert D.
Clark, individually and on behalf of all others similarly situated; Raymond P. Clark Sr.,
individually and on behalf of all others similarly situated; Deborah A. Clem, individually and on
behalf of all others similarly situated; James H. Clem, individually and on behalf of all others
similarly situated; Michael A. Clippinger, individually and on behalf of all others similarly
situated; Rex Cole Jr., individually and on behalf of all others similarly situated; Christopher P.
Collier, individually and on behalf of all others similarly situated; Kimberly A. Collier,
individually and on behalf of all others similarly situated; James T. Collins, individually and on
behalf of all others similarly situated; Bernie T. Colon, individually and on behalf of all others
similarly situated; Luis M. Colon, individually and on behalf of all others similarly situated,
Victor S. Colvin, individually and on behalf of all others similarly situated; Donald R. Cone,
individually and on behalf of all others similarly situated; Robert D. Connaughy, individually and
on behalf of all others similarly situated; David Contreras, individually and on behalf of all
others similarly situated; Sean R. Conway, individually and on behalf of all others similarly
situated; Lloyd E. Cook, individually and on behalf of all others similarly situated; Robert H.
Cook, individually and on behalf of all others similarly situated; Patrick J. Cooley, individually
and on behalf of all others similarly situated; Phil B. Cooper, individually and on behalf of all
others similarly situated; Noe F. Cordero, individually and on behalf of all others similarly
situated; Brian K. Cornell, individually and on behalf of all others similarly situated; Jeannette L.
Cornell, individually and on behalf of all others similarly situated; Gary F. Corner, individually

 
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and on behalf of all others similarly situated; Robert M. Cornett, individually and on behalf of all
others similarly situated; Henry D. Corrales, individually and on behalf of all others similarly
situated; Deborah A. Cotellessa, individually and on behalf of all others similarly situated; Carol
V. Council, individually and on behalf of all others similarly situated; Chad E. Crenshaw,
individually and on behalf of ail others similarly situated; Marco A. Crisostomo, individually and
on behalf of all others similarly situated; Tyrone H. Crosby, individually and on behalf of all
others similarly situated; Robert P. Cruz, individually and on behalf of all others similarly
situated; Vedasto A. Cruz Jr., individually and on behalf of all others similarly situated, William
L. Cuddy IH, individually and on behalf of all others similarly situated; Celso G. Cueva,
individually and on behalf of all others similarly situated; James P. Culligan, individually and on
behalf of all others similarly situated; Ralph A. Cummings, individually and on behalf of all
others similarly situated; David W. Cupples, individually and on behalf of all others similarly
situated; Christopher P. Curran, individually and on behalf of all others similarly situated; Laurie
J. Curran, individually and on behaif of all others similarly situated; Fenella R. Custer,
individually and on behalf of all others similarly situated; Mariusz Czas, individually and on
behalf of all others similarly situated; Denise F. Dailey, individually and on behalf of all others
similarly situated; Leroy K. Dailey, individually and on behalf of all others similarly situated;
Josephine I. Dains, individually and on behaif of all others similarly situated; Scott W. Daniels,
individually and on behalf of ail others similarly situated; Robert W. Dare, individually and on
behalf of all others similarly situated; Eric C. Davis, individually and on behalf of all others
similarly situated; Garry R. Davis, individually and on behalf of all others similarly situated;
John W. Davis, individually and on behalf of all others similarly situated; Michael J. Davis,
individually and on behalf of all others similarly situated; Richard E. Davis, individually and on
behalf of all others similarly situated; William T. Davis Jr., individually and on behalf of all
others similarly situated; Dean L. Davison, individually and on behalf of all others similarly
situated; Jerome Dawson, individually and on behalf of all others similarly situated; Michael O.
Day, individually and on behalf of all others similarly situated, William J. Day Jr., individually
and on behalf of all others similarly situated; Alexander De Armas, individually and on behalf of
all others similarly situated; Charles De la Cruz, individually and on behalf of all others similarly
situated; Susan M. de la Pena, individually and on behalf of all others similarly situated; Deana
E. De Los Reyes, individually and on behalf of all others similarly situated; Romeo C. De Los
Reyes, individually and on behalf of all others similarly situated; Michael J. Dean, individually
and on behalf of all others similarly situated; Conrado V. Decastro, individually and on behalf of
all others similarly situated; Geoffrey S. Decesari, individually and on behalf of all others
similarly situated; Jonathan M. DeGuzman, individually and on behalf of all others similarly
situated; Raul Delgadillo, individually and on behalf of all others similarly situated; Roberto L.
Delgadillo, individually and on behalf of all others similarly situated; Constandinos A.
Delimitros, individually and on behalf of all others similarly situated; Jovanna R. Derrough,
individually and on behalf of all others similarly situated, Edward A. DeVowe, individually and
on behalf of all others similarly situated; Derek D. Diaz, individually and on behalf of all others
similarly situated; James F. Dickinson, individually and on behalf of all others similarly situated;
John (Jack) R. Didelot, individually and on behalf of all others similarly situated; Jennifer E.
Dishon, individually and on behalf of all others similarly situated; Roy J. Doakes, individually

 

 
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and on behalf of all others similarly situated; Matthew W. Dobbs, individually and on behalf of
all others similarly situated; Wayne R. Doeden, individually and on behalf of all others similarly
situated; Donald J. Dolezal Jr., individually and on behalf of all others similarly situated; James
E. Dollins, individually and on behalf of all others similarly situated; Marianne L. Dougherty,
individually and on behalf of all others similarly situated; Ronald H. Dougherty, individually and
on behalf of all others similarly situated; David F. Douglas, individually and on behalf of all
others similarly situated; Samuel D. Douglas, individually and on behalf of all others similarly
situated; Gregory T. Drilling, individually and on behalf of all others similarly situated; Arthur
W. Dubois III, individually and on behalf of all others similarly situated; Brett A. Dudley,
individually and on behaif of all others similarly situated; Kevin C. Duffy, individually and on
behalf of all others similarly situated; John G. Dunbar, individually and on behalf of all others
similarly situated; Jeffrey Dunn, individually and on behalf of all others similarly situated;
Anthony L. Dupree, individually and on behalf of all others similarly situated; Joseph M.
Durand, individually and on behalf of all others similarly situated; Wende M. Eckard,
individually and on behalf of all others similarly situated; Richard K. Edgil, individually and on
behalf of all others similarly situated; Frederick G. Edwards, individually and on behalf of all
others similarly situated; Michael J. Edwards, individually and on behalf of all others similarly
situated; Sheryl L. Edwards, individually and on behalf of all others similarly situated; Randal
W. Eichmann, individually and on behalf of all others similarly situated; Roland H. Elkins,
individually and on behalf of all others similarly situated; John Elliott, individually and on behalf
of all others similarly situated; Christopher J. Ellis, individually and on behalf of all others
similarly situated; Shari L. Ellithorpe, individually and on behalf of ail others similarly situated;
William Ellithorpe Jr., individually and on behalf of all others similarly situated; Darryl L.
Emerson, individually and on behalf of all others similarly situated; Emesto Encinas, individually
and on behalf of all others similarly situated; Leland English, individually and on behalf of all
others similarly situated; Richard D, Ensign, individually and on behalf of all others similarly
situated; Julie M. Epperson, individually and on behalf of all others similarly situated; Steven S.
Epperson, individually and on behalf of all others similarly situated; Edward G. Erbe,
individually and on behalf of all others similarly situated; Manuel Escalante, individually and on
behalf of all others similarly situated; Christopher C. Escudero, individually and on behalf of all
others similarly situated; Marlon J. Estepa, individually and on behalf of all others similarly
situated; Christopher D. Everett, individually and on behalf of all others similarly situated;
Christine M. Farmer, individually and on behalf of all others similarly situated; Debra L. Farrar,
individually and on behalf of all others similarly situated; Jay P. Farrington, individually and on
behalf of all others similarly situated; Timothy K. Faubel, individually and on behalf of all others
similarly situated; Paul J. Fay, individually and on behalf of all others similarly situated; David
L. Felkins, individually and on behalf of all others similarly situated; Andrew L. Fellows,
individually and on behalf of all others similarly situated; Jeffrey M. Fellows Sr., individually
and on behalf of all others similarly situated; Michael J. Fender, individually and on behalf of all
others similarly situated; Alejandro M. Fernandez, individually and on behalf of al! others
similarly situated; James D. Filley, individually and on behalf of all others similarly situated;
Robert G. Filley, individually and on behalf of all others similarly situated; Rodney W. Fischer,
individually and on behalf of all others similarly situated; Lawanda M. Fisher, individually and

 

 

 
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on behalf of all others similarly situated; Larry E. Fixsen, individually and on behalf of all others
similarly situated; Michael F. Flanagan, individually and on behalf of all others stmilarly
situated; Gregory A. Flood, individually and on behalf of all others similarly situated; Miguel M.
Flores, individually and on behalf of all others similarly situated; Raul Flores, individually and
on behalf of all others similarly situated; Steve T. Flores, individually and on behalf of all others
similarly situated; Gilbert H. Flores Jr., individually and on behalf of all others similarly
situated; Anna M. Ford, individually and on behalf of all others similarly situated; James M.
Ford, individually and on behalf of all others similarly situated; Mark E. Foreman, individually
and on behalf of al! others similarly situated; Colin R. Forsey, individually and on behalf of all
others similarly situated; Kenneth N. Fortier, individually and on behalf of all others similarly
situated; Natalie F. Fortier, individually and on behalf of all others similarly situated; Richard C.
Fortuna, individually and on behalf of all others similarly situated; Robert M. Fowler,
individually and on behalf of all others similarly situated; Charles R. Fox, individually and on
behalf of all others similarly situated; Phillip J. Franchina, individually and on behalf of all others
similarly situated; Reginald F, Frank, individually and on behalf of all others similarly situated;
Hugg French, individually and on behalf of all others similarly situated; Kevin B. French,
individually and on behalf of all others similarly situated; William L. Frew, individually and on
behalf of all others similarly situated; Brian J. Freymueller, individually and on behalf of all
others similarly situated; Kevin B. Friedman, individually and on behalf of all others similarly
situated: Aaron K. Frodente, individually and on behalf of all others similarly situated; Hector E.
Fuentes, individually and on behalf of all others similarly situated; Marco A. Fuentes,
individually and on behalf of all others similarly situated; John P. Fune, individually and on
behalf of al! others similarly situated; Andrea S. Furst, individually and on behalf of all others
similarly situated; Mark S. Gain, individually and on behalf of all others similarly situated; Gerry
D. Gapusan, individually and on behalf of all others similarly situated; David D. Garcia,
individually and on behalf of ail others similarly situated; Ivan Garcia, individually and on behalf
of all others similarly situated; Linda E. Garcia, individually and on behalf of all others similarly
situated; Manuel M. Garcia, individually and on behalf of all others similarly situated; Ronald R.
Garcia, individually and on behalf of all others similarly situated; Ralph J. Garcia Jr.,
individually and on behalf of all others similarly situated; Justin C. Garlow, individually and on
behalf of al! others similarly situated; Edwin R. Garrette, individually and on behalf of all others
similarly situated; Larry D. Gathright, individually and on behalf of all others similarly situated;
James R. Gee, individually and on behalf of all others similarly situated; Paul B. Geis,
individually and on behalf of all others similarly situated; John P. Gener, individually and on
behalf of all others similarly situated; Frank A. Gerbac, individually and on behalf of all others
similarly situated; Frederick R. Gerke, individually and on behalf of all others similarly situated;
Troy A. Gibson, individually and on behalf of all others similarly situated; Robert I. Gilbert,
individually and on behalf of all others similarly situated; David N. Gilligan, individually and on
behalf of all others similarly situated; Casey D. Gini, individually and on behalf of all others
similarly situated; Shannah W. Glazewski, individually and on behalf of all others similarly
situated; Dewayne F. Glazewski I, individually and on behalf of all others similarly situated;
Loretta L. Glick, individually and on behalf of all others similarly situated; Brian M. Goldberg,
individually and on behalf of all others similarly situated; James G. Golembiewski, individually

 

 
 

 

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and on behalf of all others similarly situated; Edward R. Gomez, individually and on behalf of all
others similarly situated; Juan J. Gomez, individually and on behalf of all others similarly
situated; Gary S. Gonzales, individually and on behalf of all others similarly situated; Jordi
Gonzalez, individually and on behalf of all others similarly situated; Gregg I. Goodman,
individually and on behalf of all others similarly situated; Michael V. Gordon, individually and
on behalf of all others similarly situated; Charles M. Graham, individually and on behalf of all
others similarly situated; Richard R. Grano, individually and on behalf of all others similarly
situated; James E. Graves, individually and on behalf of all others similarly situated; Cedric J.
Green, individually and on behalf of all others similarly situated; Scott Y. Greenwood,
individually and on behalf of all others similarly situated; Christine A. Gregg, individually and
on behalf of all others similarly situated; Mary K. Gressel, individually and on behalf of all
others similarly situated; William T. Griffin, individually and on behalf of all others similarly
situated; Eric Groeger, individually and on behalf of all others similarly situated; Mike Gutierrez,
individually and on behalf of all others similarly situated; Mark G. Haas, individually and on
behalf of all others similarly situated; Gregory A. Haisan, individually and on behalf of all others
similarly situated; David C. Hall, individually and on behalf of all others similarly situated;
Lawrence A. Hall, individually and on behalf of all others similarly situated; Patrick S. Hall,
individually and on behalf of all others similarly situated; Ronald G. Hall, individually and on
behalf of all others similarly situated; Timothy C. Hall, individually and on behalf of all others
similarly situated; Kimber L. Hammond, individually and on behalf of all others similarly
situated; Michelle Hansen-Garcta, individually and on behalf of all others similarly situated;
Jerry P. Hara, individually and on behalf of all others similarly situated; John J. Harberth,
individually and on behalf of all others similarly situated; Corinne Hard, individually and on
behalf of all others similarly situated; Joseph P. Harper, individually and on behalf of all others
similarly situated; Jeffrey L. Harrington, individually and on behalf of all others similarly
situated; Paul A. Harris, individually and on behalf of all others similarly situated; Shannon W.
Hart, individually and on behalf of all others similarly situated; Michael A. Hartman, individually
and on behalf of all others similarly situated; J. Aaron Harwick, individually and on behalf of all
others similarly situated; Muhammad A. Hassan, individually and on behalf of all others
similarly situated; Michael R. Hastings, individually and on behalf of all others similarly
situated; Ramona R. Hastings, individually and on behalf of all others similarly situated; Roger
E. Hatch, individually and on behalf of all others similarly situated; Daniel Hatfield, individually
and on behalf of all others similarly situated; Daniel C. Hattler, individually and on behalf of all
others similarly situated; John D. Haugland, individually and on behalf of all others similarly
situated; Robin L. Hayes, individually and on behalf of all others similarly situated; David M.
Headley, individually and on behalf of all others similarly situated; Kathleen F. Healey,
individualiy and on behalf of all others similarly situated; Jennifer P. Hebdon, individually and
on behaif of all others similarly situated; Robert T. Heims, individually and on behalf of all
others similarly situated; Patrick M. Heller, individually and on behalf of all others similarly
situated; Scott Henderson, individually and on behalf of all others similarly situated; Emmitt
Henderson Jr, individually and on behalf of all others similarly situated; Janice L. Hendrickson,
individually and on behalf of all others similarly situated; John S. Hendrix, individually and on
behalf of all others similarly situated; Robert C. Hendrix, individually and on behalf of all others
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similarly situated; Randall T. Henrizi, individually and on behalf of all others similarly situated;
Matthew J. Henry, individually and on behalf of all others similarly situated; Shaun P. Henry,
individually and on behalf of all others similarly situated; James K. Heppell, individually and on
behalf of all others similarly situated; James F. Hergenroeather, individually and on behalf of all
others similarly situated; Daniel Hernandez, individually and on behalf of all others similarly
situated; Israel Hernandez, individually and on behalf of all others similarly situated; Manuel S.
Hernandez, individually and on behalf of all others similarly situated; Nestor Hernandez,
individually and on behalf of all others similarly situated; Ruben C, Hernandez, individually and
on behalf of all others similarly situated; Victor M. Herrera, individually and on behalf of all
others similarly situated; Mark S. Herring, individually and on behalf of all others similarly
situated; Larry R. Hesselgesser Jr., individually and on behalf of all others similarly situated;
Bryan W. Hewitt, individually and on behalf of all others similarly situated; Byron E. Hibshman,
individually and on behalf of all others similarly situated; Matthew P. Hicks, individually and on
behalf of all others similarly situated; Wade High, individually and on behalf of all others
similarly situated; Steven F. Higuera, individually and on behalf of all others similarly situated;
Gary W. Hill, individually and on behalf of all others similarly situated; Jerald Hill, individually
and on behalf of all others similarly situated; Randall B. Hill, individually and on behalf of all
others similarly situated; Renee L. Hill, individually and on behalf of all others similarly situated;
Richard A. Hinzo, individually and on behalf of all others similarly situated; Anne-Marie
Hiskes, individually and on behalf of all others similarly situated; Diana L. Hodges, individually
and on behalf of all others similarly situated; Mark S. Hodges, individually and on behalf of all
others similarly situated; Kenneth P. Hodges Sr., individually and on behalf of all others
similarly situated; Thomas E Hoenes, individually and on behalf of all others similarly situated,
Frank J. Hoerman, individually and on behalf of all others similarly situated; Ken L. Hofer,
individually and on behalf of all others similarly situated; Lloyd J. Hoff Jr., individually and on
behalf of all others similarly situated; Andrew T. Hoffman, individually and on behalf of all
others similarly situated; David A. Hoffman, individually and on behalf of all others similarly
situated; Marc G. Hoffman, individually and on behalf of all others similarly situated; Charles F.
Hogquist, individually and on behalf of all others similarly situated; Mike D. Holden,
individually and on behalf of all others similarly situated; Scott C. Holden, individually and on
behalf of all others similarly situated; Vanessa Holland, individually and on behalf of al! others
similarly situated; Elizabeth R. Holliday, individually and on behalf of all others similarly
situated; Stephen T. Holliday, individually and on behalf of all others similarly situated; Paul T.
Holman, individually and on behalf of all others similarly situated; Wilham B. Holmes,
individually and on behalf of all others similarly situated; Richard E. Holmstrom, individually
and on behalf of all others similarly situated; Scott R. Holslag, individually and on behalf of all
others similarly situated; Christopher J. Holt, individually and on behalf of all others similarly
situated; Paul Hook, individually and on behalf of all others similarly situated; Gregory M.
Hoolihan, individually and on behalf of all others similarly situated; Joel G. Hoolthan,
individually and on behalf of all others simitarly situated, John P. Hoolihan, individually and on
behalf of all others similarly situated; Perry L. Hooper, individually and on behalf of all others
similarly situated; William M. Hoover, individually and on behalf of all others simtlarly situated;
John P. Horvath, individually and on behalf of all others similarly situated; Robert W. Hovey,

 
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individually and on behalf of all others similarly situated; John P. Howard, individually and on
behalf of all others similarly situated; Larry $. Howell, individually and on behalf of all others
similarly situated; Roger G. Howes, individually and on behalf of all others similarly situated;
Lester H. Hubble, individually and on behalf of all others similarly situated; Phillip D. Hubbs,
individually and on behalf of all others similarly situated; Paul D. Hubka, individually and on
behalf of all others similarly situated; Dona Hufford, individually and on behalf of all others
similarly situated; Ty L. Hufford, individually and on behalf of all others similarly situated;
James C. Hunter, individually and on behalf of a!l others similarly situated; David J. Hustad,
individually and on behaif of all others similarly situated; Steven Hutchinson, individually and
on behalf of all others similarly situated; John J. Huys, individually and on behalf of all others
similarly situated; John D. lammarino, individually and on behalf of all others similarly situated,
David M. forillo, individually and on behalf of all others similarly situated; Craig E. Isbell,
individually and on behalf of all others similarly situated; Brian A. Jackson, individually and on
behalf of all others similarly situated; Corinne M. Jackson, individually and on behalf of all
others similarly situated; Danielle J. Jackson, individually and on behalf of all others similarly
situated; Robert F. Jackson, individually and on behalf of all others similarly situated; Jane E.
Jacobsen, individually and on behalf of all others similarly situated; Todd T. Jager, individually
and on behalf of all others similarly situated; Jason S. Jarrells, individually and on behalf of all
others similarly situated; Lynda E. Jarvis, individually and on behalf of all others similarly
situated; Philip T. Jarvis, individually and on behalf of all others similarly situated; Gregory A.
Jebb, individually and on behalf of all others similarly situated; Scott E. Jedlicka, individually
and on behalf of all others similarly situated; Donna L. Jennes, individually and on behalf of all
others similarly situated; David E. Jennings, individually and on behalf of all others similarly
situated; John W. Jillard, individually and on behalf of all others similarly situated; Alejandra D.
Jimenez, individually and on behalf of all others similarly situated; Daniel H. Jimenez,
individually and on behalf of all others similarly situated; Louis B. Johns, individually and on
behalf of all others similarly situated; Anthony K. Johnson, individually and on behalf of all
others similarly situated; Antonio D. Johnson, individually and on behalf of all others similarly
situated; Barry E. Johnson, individually and on behalf of all others similarly situated; Janine N.
Johnson, individually and on behalf of all others similarly situated; Jeffrey M. Johnson,
individually and on behalf of all others similarly situated; John A. Johnson, individually and on
behalf of all others similarly situated; Kelly J. Johnson, individually and on behalf of all others
similarly situated; Luke T. Johnson, individually and on behalf of all others similarly situated;
Matthew J. Johnson, individually and on behalf of all others similarly situated; Rodney C.
Johnson, individually and on behalf of all others similarly situated; Sarah A. Johnson,
individually and on behalf of all others similarly situated; Timothy D. Johnson, individually and
on behalf of all others similarly situated; Buddy L. Johnson I, individually and on behalf of all
others similarly situated; Scott W. Johnston, individually and on behalf of all others similarly
situated; Bennie L. Jo!ly, individually and on behalf of all others similarly situated; Edward V.
Jones, individually and on behalf of ail others similarly situated; James W. Jones, individually
and on behalf of all others similarly situated; Randal L. Jones, individually and on behalf of all
others similarly situated; Thomas R. Jones, individually and on behalf of all others similarly
situated; Jeffrey T. Jordon, individually and on behalf of all others similarly situated; Marc E.

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Jose, individually and on behalf of all others similarly situated; Thomas W. Joy, individually and
on behalf of all others similarly situated; Corey B. Jung, individually and on behalf of all others
similarly situated; Monica E. Kaiser, individually and on behalf of al! others similarly situated;
Alan B. Karsh, individually and on behalf of all others similarly situated; Theodore M. Kasinak,
individually and on behalf of all others similarly situated; Edward E. Kaszycki, individually and
on behalf of all others similarly situated; George C. Kathan, individually and on behalf of all
others similarly situated; Charles Q. Kaye, individually and on behalf of all others similarly
situated; Todd V. Kearns, individually and on behalf of all others similarly situated; Timothy J.
Keating, individually and on behalf of all others similarly situated; Brian L. Keaton, individually
and on behalf of all others similarly situated; Johnny F. Keene Jr., individually and on behalf of
all others similarly situated; David W. Keesling, individually and on behalf of all others similarly
situated; Paul N. Keffer, individually and on behalf of all others similarly situated; Nicholas I.
Kelbaugh, individually and on behalf of ali others similarly situated; Carla A. Keller, individually
and on behalf of all others similarly situated; William L. Kellner, individually and on behalf of
all others similarly situated; Jacob E. Kern, individually and on behalf of all others similarly
situated; David R. Kersch, individually and on behalf of all others similarly situated; Jason L.
Kessel, individually and on behalf of all others similarly situated; Mark L. Keyser, individually
and on behalf of all others similarly situated; Stephen M. Kingkade, individually and on behalf of
all others similarly situated; Theresa L. Kinney, individually and on behalf of all others similarly
situated; Richard S. Kirchhoff, individually and on behalf of all others similarly situated; James
B. Kistner, individually and on behalf of all others similarly situated; William A. Knight,
individually and on behalf of all others similarly situated; Christopher L. Knighten, individually
and on behalf of all others similarly situated; Jack K. Knish, individually and on behalf of all
others similarly situated; Phillip P. Konz, individually and on behalf of all others similarly
situated; Johni Kosugi, individually and on behalf of all others similarly situated; Patricia R.
Krall, individually and on behalf of all others similarly situated; David Kries, individually and on
behalf of all others similarly situated; Michael L. Kroesch, individually and on behalf of all
others similarly situated; Joseph J. Krouss, individually and on behalf of all others similarly
situated; Nancy Kulinski, individually and on behalf of all others similarly situated; Edward P.
Kunold, individually and on behalf of all others similarly situated; James A. Kurupas,
individually and on behalf of all others similarly situated; Demetrios G. Kyres, individually and
on behalf of all others similarly situated; Patrick Laco, individually and on behalf of all others
similarly situated; David Y. Lamaku, individually and on behalf of all others similarly situated;
Michael L. Lambert, individually and on behalf of all others similarly situated; David L.
Landman, individually and on behalf of all others similarly situated; Charles Lara, individually
and on behalf of all others similarly situated; Ronald P. Larmour, individually and on behalf of
all others similarly situated; Daniel P. Lasher, individually and on behalf of all others similarly
situated; Stephen J. Laursen, individually and on behalf of all others similarly situated; Edmund
J. LaValle II, individually and on behalf of all others similarly situated; Scott M. Lawford,
individually and on behalf of all others similarly situated; David J. Lawlor, individually and on
behalf of all others similarly situated; Gary A. Lawrence, individually and on behalf of all others
similarly situated; Brooke P. Lawson, individually and on behalf of all others similarly situated;
Vu A. Le, individually and on behalf of all others similarly situated; Daniel W. Leach,

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Marquez, individually and on behalf of all others similarly situated; David R. Marshall,
individually and on behalf of all others similarly situated; Chrissy L. Martinez, individually and
on behalf of all others similarly situated; Ruben C. Martinez, individually and on behalf of all
others similarly situated; Rudy Martinez, individually and on behalf of all others similarly
situated; Boris Martinez Jr., individually and on behalf of all others similarly situated; Dennis L.
Mason, individually and on behalf of all others similarly situated; Albert M. Massey, mdividually
and on behalf of all others similarly situated; Christian W. Mathews, individually and on behalf
of all others similarly situated; Kathleen M. Mauzy, individually and on behalf of all others
similarly situated; Ralph H Mauzy, individually and on behalf of all others similarly situated;
Melvin D. Maxwell, individually and on behalf of all others similarly situated; Roger W.
McCarvel, individually and on behalf of all others similarly situated; Terry L. McClain,
individually and on behalf of all others similarly situated; Michael C. McCollough, individually
and on behalf of all others similarly situated; Mark F. McCullough, individually and on behalf of
all others similarly situated; Benjamin I. McCurry, individually and on behalf of all others
similarly situated; Allen C. McDonald, individually and on behalf of all others similarly situated;
Robert R. McDonald, individually and on behalf of all others similarly situated; Adam L.
McElroy, individually and on behalf of all others similarly situated; Guy McElroy, individually
and on behalf of all others similarly situated; Sharon A. McFalls, individually and on behalf of
all others similarly situated; James R. McGhee, individually and on behalf of all others similarly
situated; John T. McGill, individually and on behalf of all others similarly situated; Laura L.
McGowan-Minto, individually and on behalf of all others similarly situated; Ed M. McGuire,
individually and on behalf of all others similarly situated; Billy L. McKinney, individually and on
behalf of all others similarly situated; Patrick J. McLarney, individually and on behalf of all
others similarly situated; Scott D. McLellan, individually and on behalf of all others similarly
situated; Jerome R. McManus, individually and on behalf of all others similarly situated; Steve L.
McMillan, individually and on behalf of all others similarly situated; Joel R. McMurrin,
individually and on behalf of all others similarly situated; Kevin D. McNamara, individually and
on behalf of all others similarly situated; Robert M. McQuien, individually and on behalf of all
others similarly situated; Carlos E. Medina, individually and on behalf of all others similarly
situated; Robert N. Meisner, individually and on behalf of all others similarly situated; Maura J.
Mekenas-Parga, individually and on behalf of all others similarly situated; Skip A. Melhorn,
individually and on behalf of all others similarly situated; Jose L. Mercado, individually and on
behalf of all others similarly situated; Leslie C. Merrill, individually and on behalf of ail others
similarly situated; Lisa M. Merzwski, individually and on behalf of all others similarly situated;
Robert W. Metz, individually and on behalf of all others similarly situated; David R. Michalek,
individually and on behalf of all others similarly situated; Debra S. Michalek, individuaily and on
behalf of all others similarly situated; Mark A. Michel, individually and on behalf of all others
similarly situated; William Miles, individually and on behalf of all others similarly situated;
Christina M. Miller, individually and on behalf of all others similarly situated; David W. Miller,
individually and on behalf of all others similarly situated; Derek T. Miller, individually and on
behalf of all others similarly situated; Douglas D. Miller, individually and on behalf of all others
similarly situated; Jeffrey L. Miller, individually and on behalf of all others similarly situated;
Thomas P. Miller III, individually and on behalf of all others similarly situated; Catherine D.

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Millett, individually and on behalf of all others similarly situated; Jerald E. Mills, individually
and on behaif of all others similarly situated; Julie R. Mills, individually and on behalf of all
others similarly situated; John W. Minto III, individually and on behalf of all others similarly
situated; Robert D. Minton, individually and on behalf of all others similarly situated; Nicholas
R. Minx, individually and on behalf of all others similarly situated; Ameilia L. Mitcalf,
individually and on behalf of ail others similarly situated; David L. Mitchell, individually and on
behalf of all others similarly situated; Gary E. Mitrovich, individually and on behalf of all others
similarly situated; Richard A. Moberly, individually and on behalf of all others similarly
situated; Michael J. Mobley, individually and on behalf of all others similarly situated; Joseph W.
Molinoski, individually and on behalf of all others similarly situated; Michael A. Moller,
individually and on behalf of all others similarly situated; Gary F. Mondesir, individually and on
behalf of all others similarly situated; William H. Montejano, individually and on behalf of all
others similarly situated; Charles M. Montierth, individually and on behalf of all others similarly
situated; Diann M. Moody, individually and on behalf of all others similarly situated; Roy D.
Moody, individually and on behalf of all others similarly situated; Holly A. Moore, individually
and on behalf of all others similarly situated; Robert Mora, individually and on behalf of all
others similarly situated; Eric T. Morales, individually and on behalf of all others similarly
situated; Ray A. Morales, individually and on behalf of all others similarly situated; Anthony R.
Morasco, individually and on behalf of all others similarly situated; Victor J. Morel, individually
and on behalf of all others similarly situated; Mario Moreno, individually and on behalf of all
others similarly situated; David L. Morris, individually and on behalf of all others similarly
situated; Cynthia M. Morrison, individually and on behalf of all others similarly situated; James
D. Morrison, individually and on behalf of all others similarly situated; Jay V. Moser,
individually and on behalf of all others similarly situated; Jacob R. Mosteller, individually and on
behalf of all others similarly situated; David A. Moya, individually and on behalf of all others
similarly situated; Kevin B. Moyna, individually and on behalf of all others similarly situated;
Gregory R. Mrvich, individually and on behalf of all others similarly situated; Galen L.
Munholand, individually and on behalf of all others similarly situated; Cynthia L. Munoz,
individually and on behalf of all others similarly situated; Juan M. Munoz, individually and on
behalf of all others similarly situated; Kelene Munro, individually and on behalf of all others
similarly situated; George T. Muren, individually and on behalf of all others similarly situated;
Sean H. Murphy, individually and on behalf of all others similarly situated; William P. Murphy,
individually and on behalf of all others similarly situated; Gregory J. Myers, individually and on
behalf of all others similarly situated; Clint J. Nafey, individually and on behalf of all others
similarly situated; Steve W. Nakanishi, individually and on behalf of all others similarly situated;
Jeffrey T. Napier, individually and on behalf of ali others similarly situated; Raymond A. Natal,
individually and on behalf of all others similarly situated; James H. Needham, individually and
on behalf of all others similarly situated; Adrian Negron, individually and on behalf of all others
similarly situated; Richard B. Nehrich, individually and on behalf of all others similarly situated;
Kenneth E. Nelson, individually and on behalf of all others similarly situated; William M.
Nemec, individually and on behalf of all others similarly situated; Richard E. Nemetz,
individually and on behalf of all others similarly situated; Timothy G. Neuhaus, individually and
on behalf of all others similarly situated; Robert L. Newquist, individually and on behalf of all

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others similarly situated; Alexander Nezgodinsky, individually and on behalf of all others
similarly situated; Jeffrey R. Nichols, individually and on behalf of all others similarly situated;
Ronald W. Nichols, individually and on behalf of all others similarly situated; Robert J. Nicklo,
individually and on behalf of all others similarly situated; Michael C. Nigro, individually and on
behalf of all others similarly situated; Gilbert L. Ninness, individually and on behalf of all others
similarly situated; David S. Nisleit, individually and on behalf of all others similarly situated;
Robert H. Nobbs, individually and on behalf of all others similarly situated; Patrick D. Norris,
individually and on behalf of all others similarly situated; Timothy G. Norris, individually and on
behalf of all others similarly situated; Lee V. Norton, individually and on behalf of all others
similarly situated; Regina Y. Norton, individually and on behalf of all others similarly situated;
Amber G. Nygaard, individually and on behalf of all others similarly situated; Enc I.
Oberndorfer, individually and on behalf of all others similarly situated; Thomas K. O'Connell,
individually and on behalf of all others similarly situated; Thomas A. Odaniell, individually and
on behalf of all others similarly situated; Taerance Oh, individually and on behalf of all others
similarly situated; Richard M. O'Hanlon, individually and on behalf of all others similarly
situated; Gene F. Oliver, individually and on behalf of alt others similarly situated; Rene C.
Oliver, individually and on behalf of all others similarly situated; Jose L. Oliveras, individually
and on behalf of all others similarly situated; Gregory J. Olson, individually and on behalf of all
others similarly situated; Shelly K. Olson, individually and on behalf of all others similarly
situated; Barney C. Olson II, individually and on behalf of all others similarly situated; James F.
O'Neill, individually and on behalf of all others similarly situated; Thomas A. Orden,
individually and on behalf of all others similarly situated; Danny A. Orduno, individually and on
behalf of all others similarly situated; George M. O'Rourke, individually and on behalf of all
others similarly situated; Michael W. Ott, individually and on behalf of all others similarly
situated; Jerry B. Owens Jr., individually and on behalf of all others similarly situated; Troy P.
Owens Sr., individually and on behalf of all others similarly situated; Michael A. Pace,
individually and on behalf of all others similarly situated; Javier Padilla, individually and on
behalf of all others similarly situated; Nori T. Pappert, individually and on behalf of all others
similarly situated; Michael L. Parga, individually and on behalf of all others similarly situated;
Richard A. Parrella, individually and on behalf of all others similarly situated; Kevin S. Patrick,
individually and on behalf of all others similarly situated; Melissa M. Pavlenko, individually and
on behalf of all others similarly situated; Pamela G. Paxton, individually and on behalf of all
others similarly situated; Thomas J. Payne, individually and on behalf of all others similarly
situated; Anthony M. Pellegrino, individually and on behalf of all others similarly situated; Gail
A. Pembleton, individually and on behalf of all others similarly situated; Arthur A. Perea,
individually and on behalf of all others similarly situated; Jennifer L. Perea, individually and on
behalf of all others similarly situated; Jesus G. Perea, individually and on behalf of all others
similarly situated; Efren Peregrina, individually and on behalf of all others similarly situated;
Curtis E. Perkins, individually and on behalf of all others similarly situated; Jeffrey P. Peterson,
individually and on behalf of all others similarly situated; Edward K. Petrick, individually and on
behalf of all others similarly situated; Duane E. Pettitt, individually and on behalf of all others
similarly situated; Heather J. Petty, individually and on behalf of all others similarly situated;
David V. Pham, individually and on behalf of all others similarly situated; Bradley L. Phelps,

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Case 3:05-cv-01629-DMS-RBB Document1 Filed 08/16/05 PagelID.225 Page 225 of 230

individually and on behalf of all others similarly situated; George A. Phillips, individually and on
behalf of all others similarly situated; Bernie A. Piceno, individually and on behalf of all others
similarly situated; E. Michael Pidgeon, individually and on behalf of all others similarly situated;
Ernest J. Pierce, individually and on behalf of all others similarly situated; Greg A. Pinarelli,
individually and on behalf of all others similarly situated; Carl P. Pira, individuaily and on behalf
of all others similarly situated; Dan R. Plein, individually and on behalf of all others similarly
situated; Eric L. Pollom, individually and on behalf of all others similarly situated; Marcelo
Populin, individually and on behalf of all others similarly situated; Lance E. Pound, individually
and on behaif of all others similarly situated; Jason L. Powers, individually and on behalf of all
others similarly situated; Christopher M. Poznanski, individually and on behalf of all others
similarly situated; Wayne J. Pratt, individually and on behalf of all others similarly situated;
Michael L. Pridemore, individually and on behalf of all others similarly situated; Seliza
Prodigalidad, individually and on behalf of all others similarly situated; Bob T. Prutzman,
individually and on behalf of all others similarly situated; Michael J. Prutzman, individually and
on behalf of all others similarly situated; Duane D. Pudgil, individually and on behalf of all
others similarly situated; Jesus W. Puente, individually and on behalf of all others similarly
situated; Bretton J. Punches, individually and on behalf of all others similarly situated; Dalana S.
Pursel, individually and on behalf of all others similarly situated; John A. Queen, individually
and on behalf of all others similarly situated; Colleen L. Quentin-King, individually and on
behalf of all others similarly situated; Tasha K. Quest, individually and on behalf of all others
similarly situated; May B. Quintanilla, individually and on behalf of all others similarly situated;
Yesenia P. Quintos, individually and on behalf of all others similarly situated; Chris J. Raagas,
individually and on behalf of all others similarly situated; Michael J. Rabell, individually and on
behalf of all others similarly situated; Ronald W. Raddetz, individually and on behalf of all
others similarly situated; Fernando Ramirez, individually and on behalf of all others similarly
situated; Minerva Ramos, individually and on behalf of al] others similarly situated; Carlos R.
Real, individually and on behalf of all others similarly situated, Robert M. Redding Jr.,
individually and on behalf of all others similarly situated; Craig R. Reesor, individually and on
behalf of all others similarly situated; Richard H. Reichner WU, individually and on behalf of all
others similarly situated; James H. Renwick, individually and on behalf of all others similarly
situated; Rodolfo V. Reyes, individually and on behalf of all others similarly situated; Julian M.
Rico, individually and on behalf of all others similarly situated; Steven L. Riddle, individually
and on behalf of all others similarly situated; Ricardo M. Rivas, individually and on behalf of all
others similarly situated; Juan Rivera HII, individually and on behalf of all others similarly
situated; Bryan A. Roberts, individually and on behalf of all others similarly situated; Elias
Rodriguez, individually and on behalf of all others similarly situated; Manuel Rodriguez,
individually and on behalf of all others similarly situated; Ramiro O. Rodriguez, individually and
on behalf of all others similarly situated; Gary A. Roesink, individually and on behalf of all
others similarly situated; Daniel G. Roman, individually and on behalf of all others similarly
situated; Luis A. Roman, individually and on behalf of ali others similarly situated; Carlos
Ronquillo, individually and on behalf of all others similarly situated; Jorge A. Rosales,
individually and on behalf of all others similarly situated; Angel D. Rosario, individually and on |
behalf of all others similarly situated; Miguel Rosario, individually and on behalf of all others

 

 

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Baward L. Rosenbloom, indiv idually and on pehalf of all others similarly situated; Angela N.
Rozsa, individually 4 don pehalf of all others similarly situated; Lamar J. Rozsa It.

imi veated: Jefirey R: Ruckle, individually and on
Ruff, individually and on pehalf of all others

’

similarly situated; Mariam Sadr, individually and on. behalf of all others similarly situated; John
J, Saflar, individually and on pehalf of all others similarly aimated, Lem Sainsanoys individually
and on behalf of alt others similarly situated; Paul H. Salas, indivi

others similarly situated, Alfonso Salvauierla, individually and on pehalf of all others similarly
hez, individually and on behalf of all others similarly situated; Juan Sanchez,

similarly situated; Ri bert M. Schenkelbere, sndividually and on pehalf of all others similarly

situated; len R. Scherer, individually and on behalf of all others similarly situated; Cheryl J.

Schack, individually and On pehalf of ail others similarly situated; J oel A. Schmid, individually |
ith : der, individually and on pehalf of |

ated; Steve Dp. Schnick, individually and on pehalf of ali others similarly

all others similarly situ
gituated; paul W. Schwenn, sndividually and on behalf of ali others similarly situated, Jason A

Scott, Indiv ‘dually and on behalf of all others similarly situated; Eri Pp, Seiter, individually and
on behalf of all others samilarly situated; TRomas G. Seiver, andividually and on pehalf of all
others similarly situated; L oyd A. Sentinella, individually and on behalf of all others similarly
situated, obert C. Shands, individually and on pehalf of alt others similarly situated, Patrick J.
Shanley, individually and on pehalf of all others similarly situated; Arthur Hi. Shannon,
individually and on pehatf of all others similarly situated, Christian T- Sharp, individually and on
behalf of all othets similarly situated, Marvin L. Shaw, individually and on behalf of all others

similarly situated; Steven! M. Shaw, individually and of behalf of ali othets similarly situated;
Daniel K- Shepherd, individually and on behalf of all others similarly situated, Damon E.

Sherman, individually and on behalf of all others similarly situated; Mark G. Sherman,

others similarly situated; Dale T. Shockley ST. individually and on behalf of all others similarly
situated, Daniel L. Shore, individually and on behalf of all others sintilarly sirnated; Amalia K.
Sidhu, individually and on pehalf of alll others similarly situated; Jesse D. Simeroth, individually
» Case 3:05-cv-01629-DMS-RBB Document 1 Filed 08/16/05 PagelD.227 Page 227 of 230

and on behalf of all others similarly situated; Thomas G. Simonds, individually and on behalf of
all others similarly situated; Robert E. Simpson, individually and on behalf of all others similarly
situated; Randall J. Skinn, individually and on behalf of all others similarly situated; Charles A.
Sleeper, individually and on behalf of all others similarly situated; Allen T. Sluss, individually
and on behalf of all others similarly situated; James Smith, individually and on behalf of all
others similarly situated; James F. Smith, individually and on behalf of all others similarly
situated; John C, Smith, individually and on behalf of all others similarly situated; Joseph Smith,
individually and on behalf of all others similarly situated; Robert W. Smith, individually and on
behalf of all others similarly situated; Russell Smith, individually and on behalf of all others
similarly situated; Timothy M. Smith, individually and on behalf of all others similarly situated;
William T. Smith, individually and on behalf of all others similarly situated; Daniel J. Smyth,
individually and on behalf of all others similarly situated; Sharon M. Smyth, individually and on
behalf of all others similarly situated; Joseph G. Snarponis, individually and on behalf of all
others similarly situated; Robert W. Snead, individually and on behalf of all others similarly
situated; Cesar A. Solis, individually and on behalf of all others similarly situated; David L.
Soliven, individually and on behalf of all others similarly situated; Andrew Sorbie, individually
and on behalf of all others similarly situated; Brandy A. Sorbie, individually and on behalf of all
others similarly situated; Mark T. Soulia, individually and on behalf of all others similarly
situated; Andrew J. Spagnolo, individually and on behalf of all others similarly situated; Andrew
E. Spear, individually and on behalf of all others similarly situated; David P. Speck, individuaily
and on behalf of all others similarly situated; Edwin P. Speer, individually and on behalf of all
others similarly situated; Wayne R. Spees, individually and on behalf of all others similarly
situated; Scott C. Spillane, individually and on behalf of all others similarly situated; David E.
Spitzer, individually and on behalf of all others similarly situated; Michael L. Stacy, individually
and on behalf of all others similarly situated; John Stadler, individually and on behalf of all
others similarly situated; Eric A. Stafford, individually and on behalf of all others similarly
situated; David W. Stafford Jr., individually and on behalf of all others similarly situated; Daniel
Stanley, individually and on behalf of all others similarly situated; Philip J. Stanley, individually
and on behalf of all others similarly situated; Steven Staton, individually and on behalf of all
others similarly situated; Francis Steffen, individually and on behalf of all others similarly
situated; Neal A. Steffen, individually and on behalf of all others similarly situated; Blair A.
Stephens, individually and on behalf of all others similarly situated; Cyndi L. Stetson,
individually and on behaif of ail others similarly situated; William S. Stetson, individually and on
behalf of all others similarly situated; James A. Stewart, individually and on behalf of all others
similarly situated; Kenneth P. Stewart, individually and on behalf of all others similarly situated;
Elliot §. Stiasny, individually and on behalf of ail others similarly situated; Robert M. Stinson,
individually and on behalf of all others similarly situated; Robert G. Stites, individually and on
behalf of all others similarly situated; Ross E. Stone, individually and on behalf of all others
similarly situated; Roger A. Stonier Jr., individually and on behalf of all others similarly
situated; Jerry G. Stratton, individually and on behalf of all others similarly situated; John J.
Stricklin, individually and on behalf of all others similarly situated; Spencer E. Sturm,
individually and on behalf of all others similarly situated; William F. Stutz, individually and on
behalf of all others similarly situated;

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Patrick L. Sullivan, individually and on behalf of all others similarly situated; Thomas A.
Sullivan, individually and on behalf of all others similarly situated; Robert R. Summers,
individually and on behalf of all others similarly situated; Valari C. Summers, individually and
on behalf of all others similarly situated; Colonel F. Surratt, individually and on behalf of all
others similarly situated; David M. Surwilo, individually and on behalf of all others similarly
situated; Aleksei E. Sviridov, individually and on behalf of all others similarly situated; Michael
J. Swanson, individually and on behalf of all others similarly situated; William S. Sweeney,
individually and on behalf of all others similarly situated; Michael A. Sweet, individually and on
behalf of all others similarly situated; James Sweetser, individually and on behalf of all others
similarly situated; Jeffrey D. Swett, individually and on behalf of all others similarly situated;
John E. Szakara, individually and on behalf of all others similarly situated; Esmeralda Tagaban,
individually and on behalf of all others similarly situated; William D, Taitano, individually and
on behalf of all others similarly situated; Louis A. Tamagni, individually and on behalf of all
others similarly situated; Michael T. Tansey, individually and on behalf of all others similarly
situated; John H. Tate, individually and on behalf of all others similarly situated; Dana D. Taylor,
individually and on behalf of all others similarly situated; James T. Teer, individually and on
behalf of all others similarly situated; Victor J. Tejeda, individually and on behalf of all others
similarly situated; Karen-Anne Tenney, individually and on behalf of all others similarly situated;
Marvin E. Terry, individually and on behalf of all others similarly situated; Christopher M.
Tews, individually and on behalf of all others similarly situated; Alvin Thach, individually and
on behalf of all others similarly situated; Joseph I.T. Thomas, individually and on behalf of all
others similarly situated; Joycelyn S. Thomas, individually and on behalf of all others similarly
situated; George R. Thomas III, individually and on behalf of all others similarly situated;
Freddie B. Thornton Jr., individually and on behalf of all others similarly situated; Johanna M.
Thrasher, individually and on behalf of all others similarly situated; Linda H. Tibbetts,
individually and on behalf of all others similarly situated; Lee D. Timmerman, individually and
on behalf of all others similarly situated; Linda L. Tousley, individually and on behalf of all
others similarly situated; Merrit M. Townsend, individually and on behalf of all others similarly
situated; John M. Tracy, individually and on behalf of all others similarly situated; John A. Trent,
individually and on behalf of all others similarly situated; James F. Tulumello, individually and
on behalf of all others similarly situated; Meghan R. Turi, individually and on behalf of all others
similarly situated; Kimberly K. Ukuzato Easto, individually and on behalf of all others similarly
situated; Thomas G. Underwood, individually and on behalf of all others similarly situated;
Edwin Valentin, individually and on behalf of all others similarly situated; Ramon Valentin,
individually and on behalf of all others similarly situated; Wendy J. Valentin, indtvidually and on
behalf of all others similarly situated; Louis E. Valenzuela, individually and on behalf of all
others similarly situated; Mark A. Van Abel, individually and on behalf of all others similarly
situated; Janine A. Van Antwerp, individually and on behalf of all others similarly situated;
Edward F. Van Laningham, individually and on behalf of all others similarly situated; Rodney L.
Vandiver, individually and on behalf of all others similarly situated; James G. Varonfakis,
individually and on behalf of all others similarly situated; Kevin G. Vasquez, individually and on
behalf of all others similarly situated; Linda G. Vasquez, individually and on behalf of all others
similarly situated; Christopher M. Velovich, individually and on behalf of all others similarly

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situated; Michelle R. Velovich, individually and on behalf of all others similarly situated;
Kenneth J. Verdone, individually and on behalf of alt others similarly situated; Edward M.
Verduzco, individually and on behalf of all others similarly situated; Richard Vergara,
individually and on behalf of all others similarly situated; Daniel R. Vile, individually and on
behalf of all others similarly situated; Patrick T. Vinson, individually and on behalf of all others
similarly situated; John B. Vivoli, individually and on behalf of all others similarly situated;
Duane A. Voss, individually and on behalf of all others similarly situated; Gary R. Voss,
individually and on behalf of all others stmilarly situated; Gerard M. Waclawek, individually and
on behalf of al! others similarly situated; Sylvester Wade Jr., individually and on behalf of all
others similarly situated; Kevin L. Wadhams, individually and on behalf of all others similarly
situated; Elyse S. Wagner, individually and on behalf of all others similarly situated; Gaye D.
Wagner, individually and on behalf of all others similarly situated; Thomas Wagner, individually
and on behalf of all others similarly situated; Kristopher M. Walb, individually and on behalf of
all others similarly situated; Curtis J. Waldecker, individually and on behalf of all others
similarly situated; Steven R. Waldheim, individually and on behalf of ali others similarly
situated; David R. Walker, individually and on behalf of all others similarly situated; Daniel K.
Wall, individually and on behalf of all others similarly situated; Mitchell B. Wallace,
individually and on behalf of all others similarly situated; Gregory H. Walton, individually and
on behalf of al! others similarly situated; Deanna M. Warrick, individually and on behalf of all
others similarly situated; Sean J. Waterman, individually and on behalf of all others similarly
situated; Donald E. Watkins, individually and on behalf of all others similarly situated; Mark S.
Watkins, individually and on behalf of all others similarly situated; Victoria D. Watkins,
individually and on behalf of all others similarly situated; Dean C. Way, individually and on
behalf of all others similarly situated; Matthew E. Weathersby, individually and on behalf of all
others similarly situated; Sedonia B. Weathersby, individually and on behalf of all others
similarly situated; Stephen E. Webb, individually and on behalf of all others similarly situated;
Elizabeth D. Weber, individually and on behalf of all others similarly situated; Carl W. Weber
If, individually and on behalf of all others similarly situated; Arthur L. Weismann, individually
and on behalf of all others similarly situated; Jordan V. Wells, individually and on behalf of all
others similarly situated; Robert D. Wells, individually and on behalf of all others similarly
situated; Diane Wendell, individually and on behalf of all others simtlarly situated; Daniel B.
Westney, individually and on behalf of all others similarly situated; Teofilo Weston, individually
and on behalf of all others similarly situated; Raymond J. Wetzel, individually and on behalf of
all others similarly situated; Scott S. Wilkinson, individually and on behalf of all others similarly
situated; Alphonso Williams, individually and on behalf of all others similarly situated; Brent L.
Williams, individually and on behalf of all others similarly situated; David W. Willtams,
individuaily and on behalf of all others similarly situated; Donald C. Williams, individually and
on behalf of all others similarly situated; Michael D. Williams, individually and on behalf of all
others similarly situated; Michael R. Williams, individually and on behalf of all others similarly
situated; Michael S. Williams, individually and on behalf of all others similarly situated; Timothy
R. Williams, individually and on behalf of all others similarly situated; Darryl L. Willis,
individually and on behalf of all others similariy situated; Jeff D. Willkomm, individually and on
behalf of all others similarly situated; Robert E. Wills, individually and on behalf of all others

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similarly situated; Dan M. Wilson, individually and on behalf of all others similarly situated;
Frederick L. Wilson, individually and on behalf of all others similarly situated; Lawrence E.
Wilson, individually and on behalf of all others similarly situated; David J. Winans, individually
and on behalf of all others similarly situated; Eric A. Wiseman, individually and on behalf of all
others similarly situated; Daniel A. Witt, individually and on behalf of all others similarly
situated; Dawn E. Wolfe, individually and on behalf of all others similarly situated; Karin D.
Wong, individually and on behalf of all others similarly situated; Kevin G. Wong, individually
and on behalf of all others similarly situated; Thomas A. Wood, individually and on behalf of all
others similarly situated; Steven M. Woodrow, individually and on behalf of all others similarly
situated; Judith L. Woods, individually and on behalf of all others similarly situated; William H.
Woods IV, individually and on behalf of all others similarly situated; John M. Wray,
individually and on behalf of all others similarly situated; Stephen W. Wright, individually and
on behalf of all others similarly situated; Jeffrey J. Wuehler, individually and on behalf of all
others similarly situated; Michael V. Yaptangco, individually and on behalf of all others similarly
situated; Rufino Yaptangco, individually and on behalf of all others similarly situated; George A.
Youkhanna, individually and on behalf of all others similarly situated; Adam G. Young,
individually and on behalf of all others similarly situated; Bryan V. Young, individually and on
behalf of all others similarly situated; Mathew T. Zaitz, individually and on behalf of ail others
similarly situated; Peter J. Zajda, individually and on behalf of all others similarly situated;
Steven S. Zasueta, individually and on behalf of all others similarly situated; Felix Zavala,
individually and on behalf of all others similarly situated; Jason P. Zdunich, individually and on
behalf of all others similarly situated; Matthew T. Zdunich, individually and on behalf of all
others similarly situated; Angela M. Zdunich-Goldman, individually and on behalf of all others
similarly situated; Monica Zepeda, individually and on behalf of all others similarly situated,
Timothy P. Zetterlund, individually and on behalf of all others similarly situated; Evan B.
Ziegler, individually and on behalf of all others similarly situated; Jeffrey P. Ziegler, individually
and on behalf of all others similarly situated; James A. Zirpolo, individually and on behalf of all
others similarly situated; Laura M. Zizzo, individually and on behalf of all others similarly
situated; Louis M. Zizzo, individually and on behalf of all others similarly situated; Edward M.
Zwibel

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